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                 ORAL ARGUMENT NOT YET SCHEDULED

               IN THE UNITED STATES COURT OF APPEALS
               FOR THE DISTRICT OF COLUMBIA CIRCUIT


 THE ETHYLENE OXIDE
 STERILIZATION ASSOCIATION, INC.,

               Petitioner,

          v.
                                                Case No. 24-1180
 ENVIRONMENTAL PROTECTION                       (consolidated with 24-1178)
 AGENCY AND MICHAEL S. REGAN,
 ADMINISTRATOR, U.S.
 ENVIRONMENTAL PROTECTION
 AGENCY,

               Respondents,


                 NOTICE OF FILING OF CERTIFIED INDEX
                   TO THE ADMINISTRATIVE RECORD

      Pursuant to Federal Rules of Appellate Procedure 17(b)(1)(B), Respondents

U.S. Environmental Protection Agency and its Administrator, Michael S. Regan

give notice of the filing of the attached Certified Index of Documents Comprising

the Administrative Record for the above-captioned petition for review.

Dated: July 19, 2024                  Respectfully submitted,

                                      TODD KIM
                                      Assistant Attorney General

                                      /s/ Jeffrey Hammons
                                      JEFFREY HAMMONS
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                                       Environment and Natural Resources
                                       Division
                                       U.S. Department of Justice
                                       Post Office Box 7611
                                       Washington, D.C. 20044
                                       (202) 598-6925
                                       Jeffrey.Hammons@usdoj.gov

                                       Counsel for Respondents


                         CERTIFICATE OF SERVICE

      I hereby certify that I served the foregoing on all registered counsel through

the Court’s electronic filing system (CM/ECF).



Dated: July 19, 2024                    s/ Jeffrey Hammons
                                          Jeffrey Hammons
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                 NOT YET SCHEDULED FOR ORAL ARGUMENT

                IN THE UNITED STATES COURT OF APPEALS
                FOR THE DISTRICT OF COLUMBIA CIRCUIT


CALIFORNIA COMMUNITIES
AGAINST TOXICS, ET AL.,
               Petitioners,

          v.
                                                 Case No. 24-1178 (consolidated
ENVIRONMENTAL PROTECTION                         with 24-1180)
AGENCY AND MICHAEL S. REGAN,
ADMINISTRATOR, U.S.
ENVIRONMENTAL PROTECTION
AGENCY,
               Respondents.


         CERTIFIED INDEX TO THE ADMINISTRATIVE RECORD

      I, Penny Lassiter, am the Director of the Sector Policies and Programs

Division, Office of Office of Air Quality Planning and Standards within the Office

of Air and Radiation of the U.S. Environmental Protection Agency (EPA).

      I certify that to the best of my knowledge and belief, and in accordance with

the requirements in Clean Air Act § 307(d)(7)(A) governing the record for judicial

review, the attached index lists the documents constituting the administrative record

for the EPA final rule: “National Emission Standards for Hazardous Air Pollutants:

Ethylene Oxide Emissions Standards for Sterilization Facilities Residual Risk and

Technology Review,” 89 Fed. Reg. 24,090 (April 5, 2024). The documents listed in

the attached index are also available for download at www.regulations.gov under

docket number EPA-HQ-OAR-2019-0178.
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     In witness thereof, I have signed my name this 2nd day of July 2024.

                                                      Digitally signed by
                              PENNY                   PENNY LASSITER
                                                      Date: 2024.07.02
                              LASSITER                09:27:17 -04'00'
                              Penny Lassiter, Director
                              Sector Policies and Programs Division
                              Office of Air and Radiation
                              U.S. Environmental Protection Agency
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Certified Index for "National Emission Standards for Hazardous Air Pollutants:
Ethylene Oxide Emissions Standards for Sterilization Facilities Residual Risk and Technology Review" (89 FR 24090, April 5, 2024)
EPA Docket I.D. No. EPA-HQ-OAR-2019-0178

Document ID    Number of   Title                                                                              Document        Received
               Attachments                                                                                    Type            Date
EPA-HQ-                        National Emission Standards for Hazardous Air Pollutants: Ethylene Oxide       PROPOSED          12/12/2019
OAR-2019-                      Commercial Sterilization and Fumigation Operations                             RULES
0178-0001
EPA-HQ-                        EPA National Air Toxics Assessment                                             SUPPORTING            12/5/2019
OAR-2019-                                                                                                     & RELATED
0178-0002                                                                                                     MATERIALS
EPA-HQ-                        Evaluation of the Inhalation Carcinogenicity of Ethylene Oxide                 SUPPORTING            12/5/2019
OAR-2019-                                                                                                     & RELATED
0178-0003                                                                                                     MATERIALS
EPA-HQ-                        Outdoor Air Monitoring in the Willowbrook Community                            SUPPORTING            12/5/2019
OAR-2019-                                                                                                     & RELATED
0178-0004                                                                                                     MATERIALS
EPA-HQ-                        Public Act 101-0022 and 101-0023                                               SUPPORTING            12/5/2019
OAR-2019-                                                                                                     & RELATED
0178-0005                                                                                                     MATERIALS
EPA-HQ-                        FDA webpage for Ethylene Oxide Sterilization for Medical Devices               SUPPORTING            12/5/2019
OAR-2019-                                                                                                     & RELATED
0178-0006                                                                                                     MATERIALS
EPA-HQ-                        1910.1047 - Ethylene oxide, Occupational Safety and Health Administration      SUPPORTING            12/5/2019
OAR-2019-                                                                                                     & RELATED
0178-0007                                                                                                     MATERIALS




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EPA-HQ-              Revised Calculation of MACT Floors for Major Source Chamber Exhaust Vents      SUPPORTING   12/5/2019
OAR-2019-            at Ethylene Oxide Commercial Sterilization and Fumigation Operations;          & RELATED
0178-0008            National Emissions Standards for Hazardous Air Pollutants (NESHAP)             MATERIALS


EPA-HQ-              Preventing Worker Injuries and Deaths from Explosions in Industrial Ethylene   SUPPORTING   12/5/2019
OAR-2019-            Oxide Sterilization Facilities (Revised Edition)                               & RELATED
0178-0009                                                                                           MATERIALS
EPA-HQ-              Ethylene Oxide Commercial Sterilization and Fumigation Operations NESHAP,      SUPPORTING   12/5/2019
OAR-2019-            Implementation Document                                                        & RELATED
0178-0010                                                                                           MATERIALS
EPA-HQ-              Investigation Report: Sterigenics, Ontario, California. August 19, 2004        SUPPORTING   12/5/2019
OAR-2019-                                                                                           & RELATED
0178-0011                                                                                           MATERIALS
EPA-HQ-              CAA Section 112 Risk and Technology Reviews: Statutory Authority and           SUPPORTING   12/5/2019
OAR-2019-            Methodology                                                                    & RELATED
0178-0012                                                                                           MATERIALS
EPA-HQ-              EtO Actual Use                                                                 SUPPORTING   12/5/2019
OAR-2019-                                                                                           & RELATED
0178-0013                                                                                           MATERIALS
EPA-HQ-              Meeting Minutes for Discussion with Representatives of Advanced Air            SUPPORTING   12/5/2019
OAR-2019-            Technologies in February 2019                                                  & RELATED
0178-0014                                                                                           MATERIALS
EPA-HQ-              Meeting Minutes for Discussion with Representative of LESNI in March 2019      SUPPORTING   12/5/2019
OAR-2019-                                                                                           & RELATED
0178-0015                                                                                           MATERIALS
EPA-HQ-              Meeting Minutes for Discussion with Representatives of the Ethylene Oxide      SUPPORTING   12/5/2019
OAR-2019-            Sterilization Association (EOSA) in March 2019                                 & RELATED
0178-0016                                                                                           MATERIALS




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EPA-HQ-              Meeting Minutes for Discussion with Representatives of AdvaMed in July         SUPPORTING     12/5/2019
OAR-2019-            2019                                                                           & RELATED
0178-0017                                                                                           MATERIALS
EPA-HQ-              Meeting Minutes for Discussion with Representatives of STERIS in August        SUPPORTING     12/5/2019
OAR-2019-            2019                                                                           & RELATED
0178-0018                                                                                           MATERIALS
EPA-HQ-              Meeting Minutes for Discussion with Representatives of STERIS in September     SUPPORTING     12/5/2019
OAR-2019-            2019                                                                           & RELATED
0178-0019                                                                                           MATERIALS
EPA-HQ-              Meeting Minutes for Discussion with Representatives of STERIS in October       SUPPORTING     12/5/2019
OAR-2019-            2019                                                                           & RELATED
0178-0020                                                                                           MATERIALS
EPA-HQ-              Draft Meeting Minutes for Discussion with Representatives of Cosmed in         SUPPORTING     12/5/2019
OAR-2019-            October 2019                                                                   & RELATED
0178-0021                                                                                           MATERIALS
EPA-HQ-              Memorandum to Docket ID No. EPA-HQ-OAR-2019-0178                               SUPPORTING     12/5/2019
OAR-2019-                                                                                           & RELATED
0178-0022                                                                                           MATERIALS
EPA-HQ-              Ethylene Oxide Emissions for Commercial Sterilization Fumigation Operations,   SUPPORTING     12/5/2019
OAR-2019-            Background Information for Proposed Standards                                  & RELATED
0178-0032                                                                                           MATERIALS
EPA-HQ-              Lower Explosive Limit (LEL) for Ethylene Oxide                                 SUPPORTING     12/5/2019
OAR-2019-                                                                                           & RELATED
0178-0042                                                                                           MATERIALS
EPA-HQ-              Anonymous public comment                                                       PUBLIC        12/16/2019
OAR-2019-                                                                                           SUBMISSIONS
0178-0043
EPA-HQ-              Anonymous public comment                                                       PUBLIC        12/16/2019
OAR-2019-                                                                                           SUBMISSIONS
0178-0044


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EPA-HQ-              Anonymous public comment                                             PUBLIC        12/16/2019
OAR-2019-                                                                                 SUBMISSIONS
0178-0045
EPA-HQ-              Anonymous public comment                                             PUBLIC        12/16/2019
OAR-2019-                                                                                 SUBMISSIONS
0178-0046
EPA-HQ-              Anonymous public comment                                             PUBLIC        12/17/2019
OAR-2019-                                                                                 SUBMISSIONS
0178-0047
EPA-HQ-              Anonymous public comment                                             PUBLIC        12/17/2019
OAR-2019-                                                                                 SUBMISSIONS
0178-0048
EPA-HQ-              Anonymous public comment                                             PUBLIC        12/17/2019
OAR-2019-                                                                                 SUBMISSIONS
0178-0049
EPA-HQ-              Anonymous public comment                                             PUBLIC        12/17/2019
OAR-2019-                                                                                 SUBMISSIONS
0178-0050
EPA-HQ-              Anonymous public comment                                             PUBLIC        12/18/2019
OAR-2019-                                                                                 SUBMISSIONS
0178-0051
EPA-HQ-              Anonymous public comment                                             PUBLIC        12/19/2019
OAR-2019-                                                                                 SUBMISSIONS
0178-0052
EPA-HQ-              Anonymous public comment                                             PUBLIC        12/19/2019
OAR-2019-                                                                                 SUBMISSIONS
0178-0053
EPA-HQ-              Anonymous public comment                                             PUBLIC        12/19/2019
OAR-2019-                                                                                 SUBMISSIONS
0178-0054


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EPA-HQ-              Anonymous public comment                                                  PUBLIC        12/18/2019
OAR-2019-                                                                                      SUBMISSIONS
0178-0055
EPA-HQ-              Anonymous public comment                                                  PUBLIC        12/18/2019
OAR-2019-                                                                                      SUBMISSIONS
0178-0056
EPA-HQ-              Anonymous public comment                                                  PUBLIC        12/20/2019
OAR-2019-                                                                                      SUBMISSIONS
0178-0057
EPA-HQ-           1 Comment submitted by Ruey C. Dempsey, Vice President, Technology &         PUBLIC        12/18/2019
OAR-2019-           Regulatory Affairs, Advanced Medical Technology Association (AdvaMed)      SUBMISSIONS
0178-0058
EPA-HQ-           1 Comment submitted by G. Mijarez                                            PUBLIC        12/12/2019
OAR-2019-                                                                                      SUBMISSIONS
0178-0059
EPA-HQ-           1 Comment submitted by Laura Shumow, Executive Director, American Spice      PUBLIC         1/16/2020
OAR-2019-           Trade Association (ASTA)                                                   SUBMISSIONS
0178-0060
EPA-HQ-           2 Comment submitted by Laura Shumow, Executive Director, American Spice      PUBLIC         1/16/2020
OAR-2019-           Trade Association (ASTA)                                                   SUBMISSIONS
0178-0061
EPA-HQ-           3 Comment submitted by Celia Raymond, Project Manager, Woodard & Curran      PUBLIC         1/27/2020
OAR-2019-           on behalf of The Jackson Laboratory                                        SUBMISSIONS
0178-0062
EPA-HQ-           1 Anonymous public comment                                                   PUBLIC         1/31/2020
OAR-2019-                                                                                      SUBMISSIONS
0178-0063
EPA-HQ-              Anonymous public comment                                                  PUBLIC         1/31/2020
OAR-2019-                                                                                      SUBMISSIONS
0178-0064


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EPA-HQ-               Anonymous public comment                                                     PUBLIC        2/5/2020
OAR-2019-                                                                                          SUBMISSIONS
0178-0065
EPA-HQ-            1 Comment submitted by Kurt Martin, Manager/Preventive Controls Qualified       PUBLIC        2/6/2020
OAR-2019-            Individual, Wm. E. Martin & Sons Co., Inc.                                    SUBMISSIONS
0178-0066
EPA-HQ-            1 Comment submitted by Claudio Innocenti, Partner, United Safety Agents LLC     PUBLIC        2/6/2020
OAR-2019-                                                                                          SUBMISSIONS
0178-0067
EPA-HQ-            1 Comment submitted by S D Clemenson, Group Manager – Quality and               PUBLIC        2/7/2020
OAR-2019-            Sustainability, Nedspice US Inc.                                              SUBMISSIONS
0178-0068
EPA-HQ-            5 Comment submitted by Mary Ann Dolehanty, Director, Air Quality Division,      PUBLIC        2/7/2020
OAR-2019-            Michigan Department of Environment, Great Lakes, and Energy (EGLE)            SUBMISSIONS
0178-0069
EPA-HQ-            2 Comment submitted by Earl D. Marcum, Environmental Compliance Manager,        PUBLIC        2/7/2020
OAR-2019-            STERIS AST                                                                    SUBMISSIONS
0178-0070
EPA-HQ-            1 Comment submitted by Jeffery F. Koerner, Director, Division of Air Resource   PUBLIC        2/7/2020
OAR-2019-            Management, Florida Department of Environmental Protection                    SUBMISSIONS
0178-0071
EPA-HQ-            1 Comment submitted by Linda Rouse O'Neill, Vice President, Government          PUBLIC        2/7/2020
OAR-2019-            Affairs, Health Industry Distributors Association (HIDA)                      SUBMISSIONS
0178-0072
EPA-HQ-            1 Comment submitted by Jeffrey Shuren, Director, Center for Devices and         PUBLIC        2/7/2020
OAR-2019-            Radiological Health, United States Food and Drug Administration (FDA)         SUBMISSIONS
0178-0073
EPA-HQ-               Anonymous public comment                                                     PUBLIC        2/7/2020
OAR-2019-                                                                                          SUBMISSIONS
0178-0074


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EPA-HQ-            1 Anonymous public comment                                               PUBLIC        2/7/2020
OAR-2019-                                                                                   SUBMISSIONS
0178-0075
EPA-HQ-               Comment submitted by S. Crawford                                      PUBLIC        2/7/2020
OAR-2019-                                                                                   SUBMISSIONS
0178-0076
EPA-HQ-               Comment submitted by T. Wall                                          PUBLIC        2/7/2020
OAR-2019-                                                                                   SUBMISSIONS
0178-0077
EPA-HQ-               Comment submitted by S. Zingle                                        PUBLIC        2/7/2020
OAR-2019-                                                                                   SUBMISSIONS
0178-0078
EPA-HQ-               Anonymous public comment                                              PUBLIC        2/7/2020
OAR-2019-                                                                                   SUBMISSIONS
0178-0079
EPA-HQ-               Comment submitted by E. Hartman                                       PUBLIC        2/8/2020
OAR-2019-                                                                                   SUBMISSIONS
0178-0080
EPA-HQ-               Comment submitted by L. Woolard                                       PUBLIC        2/8/2020
OAR-2019-                                                                                   SUBMISSIONS
0178-0081
EPA-HQ-            2 Comment submitted by A. Darden                                         PUBLIC        2/8/2020
OAR-2019-                                                                                   SUBMISSIONS
0178-0082
EPA-HQ-               Comment submitted by W. Brisco                                        PUBLIC        2/8/2020
OAR-2019-                                                                                   SUBMISSIONS
0178-0083
EPA-HQ-               Comment submitted by R. Triveline                                     PUBLIC        2/8/2020
OAR-2019-                                                                                   SUBMISSIONS
0178-0084


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EPA-HQ-              Anonymous public comment                                              PUBLIC        2/8/2020
OAR-2019-                                                                                  SUBMISSIONS
0178-0085
EPA-HQ-              Comment submitted by J. M. Johnson                                    PUBLIC        2/8/2020
OAR-2019-                                                                                  SUBMISSIONS
0178-0086
EPA-HQ-              Comment osbmitted by M. Biskus                                        PUBLIC        2/8/2020
OAR-2019-                                                                                  SUBMISSIONS
0178-0087
EPA-HQ-              Comment submitted by J. Pierro                                        PUBLIC        2/8/2020
OAR-2019-                                                                                  SUBMISSIONS
0178-0088
EPA-HQ-              Comment submitted by S. Twichell                                      PUBLIC        2/8/2020
OAR-2019-                                                                                  SUBMISSIONS
0178-0089
EPA-HQ-              Comment submitted by S Litrofsky                                      PUBLIC        2/8/2020
OAR-2019-                                                                                  SUBMISSIONS
0178-0090
EPA-HQ-              Comment submitted by K. O'Hayer                                       PUBLIC        2/8/2020
OAR-2019-                                                                                  SUBMISSIONS
0178-0091
EPA-HQ-              Comment submitted by R. Macwan                                        PUBLIC        2/8/2020
OAR-2019-                                                                                  SUBMISSIONS
0178-0092
EPA-HQ-              Comment submitted by A. R. Money                                      PUBLIC        2/8/2020
OAR-2019-                                                                                  SUBMISSIONS
0178-0093
EPA-HQ-              Comment submitted by L. and P. Goodwin                                PUBLIC        2/8/2020
OAR-2019-                                                                                  SUBMISSIONS
0178-0094


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EPA-HQ-               Comment submitted by A. J. Noonan                                     PUBLIC         2/9/2020
OAR-2019-                                                                                   SUBMISSIONS
0178-0095
EPA-HQ-               Comment submitted by D. Ritter                                        PUBLIC         2/9/2020
OAR-2019-                                                                                   SUBMISSIONS
0178-0096
EPA-HQ-               Comment submitted by J. A. Sanchez Gurnee                             PUBLIC        2/10/2020
OAR-2019-                                                                                   SUBMISSIONS
0178-0097
EPA-HQ-               Comment submitted by Francesca R.                                     PUBLIC        2/10/2020
OAR-2019-                                                                                   SUBMISSIONS
0178-0098
EPA-HQ-               Anonymous public comment                                              PUBLIC        2/10/2020
OAR-2019-                                                                                   SUBMISSIONS
0178-0099
EPA-HQ-           11 Comment submitted by Stop Sterigenics Georgia (SSG)                    PUBLIC         2/9/2020
OAR-2019-                                                                                   SUBMISSIONS
0178-0100
EPA-HQ-               Comment submitted by B. Hernandez                                     PUBLIC         2/9/2020
OAR-2019-                                                                                   SUBMISSIONS
0178-0101
EPA-HQ-               Comment submitted by J. Comiza                                        PUBLIC         2/9/2020
OAR-2019-                                                                                   SUBMISSIONS
0178-0102
EPA-HQ-               Comment submitted by A. Drangsholt                                    PUBLIC         2/9/2020
OAR-2019-                                                                                   SUBMISSIONS
0178-0103
EPA-HQ-               Comment submitted by A. Doherty                                       PUBLIC         2/9/2020
OAR-2019-                                                                                   SUBMISSIONS
0178-0104


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EPA-HQ-               Comment submitted by E. Comiza                                                PUBLIC         2/9/2020
OAR-2019-                                                                                           SUBMISSIONS
0178-0105
EPA-HQ-               Comment submitted by S. Karim                                                 PUBLIC         2/9/2020
OAR-2019-                                                                                           SUBMISSIONS
0178-0106
EPA-HQ-               Comment submitted by A. Moid                                                  PUBLIC        2/10/2020
OAR-2019-                                                                                           SUBMISSIONS
0178-0107
EPA-HQ-            1 Comment submitted by Gail Good, Director, Air Management Program,              PUBLIC        2/10/2020
OAR-2019-            Wisconsin Department of Natural Resources (WDNR)                               SUBMISSIONS
0178-0108
EPA-HQ-            1 Comment submitted by Daniel Kastor, Sr. Director, Regulatory Affairs,          PUBLIC        2/10/2020
OAR-2019-            McCormick & Company, Inc.                                                      SUBMISSIONS
0178-0109
EPA-HQ-            1 Comment submitted by Kenneth Kohler, Vice President and General Manager,       PUBLIC         2/6/2020
OAR-2019-            Applied Sterilization Technologies, STERIS                                     SUBMISSIONS
0178-0110
EPA-HQ-            1 Comment submitted by Antonio M. Romanucci, Founding Partner,                   PUBLIC        2/10/2020
OAR-2019-            Romanucci & Blandin, LLC                                                       SUBMISSIONS
0178-0111
EPA-HQ-            1 Comment submitted by Peter J. (Joe) Jansen, Senior Director, EHSS- Americas,   PUBLIC        2/10/2020
OAR-2019-            Medtronic Inc.                                                                 SUBMISSIONS
0178-0112
EPA-HQ-            1 Comment submitted by Mark B. Leahey, President & Chief Executive Officer,      PUBLIC        2/10/2020
OAR-2019-            Medical Device Manufacturers Association (MDMA)                                SUBMISSIONS
0178-0113
EPA-HQ-               Comment submitted by Amanda (no surname provided)                             PUBLIC        2/10/2020
OAR-2019-                                                                                           SUBMISSIONS
0178-0114


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EPA-HQ-            2 Comment submitted by Kwame Raoul, Attorney General of Illinois, et al.      PUBLIC        2/10/2020
OAR-2019-                                                                                        SUBMISSIONS
0178-0115
EPA-HQ-            1 Comment submitted by Laura Shumow, Executive Director, American Spice       PUBLIC        2/10/2020
OAR-2019-            Trade Association (ASTA)                                                    SUBMISSIONS
0178-0116
EPA-HQ-               Comment submitted by C. Filipovich                                         PUBLIC        2/10/2020
OAR-2019-                                                                                        SUBMISSIONS
0178-0117
EPA-HQ-            1 Comment submitted by Kathleen Hoffman, Senior Vice President of Global      PUBLIC        2/10/2020
OAR-2019-            Environmental, Health & Safety, Sterigenics U.S., LLC                       SUBMISSIONS
0178-0118
EPA-HQ-           13 Anonymous public comment                                                    PUBLIC        2/10/2020
OAR-2019-                                                                                        SUBMISSIONS
0178-0119
EPA-HQ-               Comment submitted by Z. D. Bloom                                           PUBLIC        2/10/2020
OAR-2019-                                                                                        SUBMISSIONS
0178-0120
EPA-HQ-            1 Comment submitted by Toby Baker, Executive Director, Texas Commission on    PUBLIC        2/10/2020
OAR-2019-            Environmental Quality (TCEQ)                                                SUBMISSIONS
0178-0121
EPA-HQ-            1 Comment submitted by Karen Hays, Chief, Air Protection Branch, Georgia      PUBLIC        2/10/2020
OAR-2019-            Environmental Protection Division (EPD)                                     SUBMISSIONS
0178-0122
EPA-HQ-               Anonymous public comment                                                   PUBLIC        2/10/2020
OAR-2019-                                                                                        SUBMISSIONS
0178-0123
EPA-HQ-            1 Comment submitted by Ruey C. Dempsey, Vice President, Technology and        PUBLIC        2/10/2020
OAR-2019-            Regulatory Affairs, Advanced Medical Technology Association (AdvaMed)       SUBMISSIONS
0178-0124


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EPA-HQ-               Comment submitted by C. Sanchez                                             PUBLIC        2/10/2020
OAR-2019-                                                                                         SUBMISSIONS
0178-0125
EPA-HQ-            3 Comment submitted by B. Braun Medical Inc.                                   PUBLIC        2/10/2020
OAR-2019-                                                                                         SUBMISSIONS
0178-0126
EPA-HQ-            1 Comment submitted by Richard Warburton Ph.D., Chief Technology Officer       PUBLIC        2/10/2020
OAR-2019-            (CTO) and General Counsel, ChemDAQ Inc.                                      SUBMISSIONS
0178-0127
EPA-HQ-            3 Comment submitted by Patrick McDonnell, Secretary, Pennsylvania              PUBLIC        2/10/2020
OAR-2019-            Department of Environmental Protection (DEP)                                 SUBMISSIONS
0178-0128
EPA-HQ-            1 Comment submitted by Jake Vandevort, Executive Director, The Ethylene        PUBLIC        2/10/2020
OAR-2019-            Oxide Sterilization Association, Inc. (EOSA)                                 SUBMISSIONS
0178-0129
EPA-HQ-            1 Comment submitted by George Meyer, Plant Manager, Elite Spice, Inc.          PUBLIC        2/10/2020
OAR-2019-                                                                                         SUBMISSIONS
0178-0130
EPA-HQ-           11 Anonymous public comment                                                     PUBLIC        2/10/2020
OAR-2019-                                                                                         SUBMISSIONS
0178-0131
EPA-HQ-            1 Comment submitted by Nancy C. Loeb et al., Northwestern Pritzker School of   PUBLIC        2/10/2020
OAR-2019-            Law, Bluhm Legal Clinic's Environmental Advocacy Center on behalf of Stop    SUBMISSIONS
0178-0132            EtO in Lake County
EPA-HQ-            1 Comment submitted by U. Tanouye                                              PUBLIC        2/10/2020
OAR-2019-                                                                                         SUBMISSIONS
0178-0133
EPA-HQ-            2 Comment submitted by B. H. Solka                                             PUBLIC        2/10/2020
OAR-2019-                                                                                         SUBMISSIONS
0178-0134


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EPA-HQ-            2 Comment submitted by Sean Maamari, Sales Director, LESNI                       PUBLIC        2/11/2020
OAR-2019-                                                                                           SUBMISSIONS
0178-0135
EPA-HQ-            2 Comment submitted by Randi Walker, Research Scientist, Division of Air         PUBLIC        2/10/2020
OAR-2019-            Resources, New York State Department of Environmental Conservation             SUBMISSIONS
0178-0136
EPA-HQ-            2 Comment submitted by Gershon Schlussel, President, Pacific Spice Company       PUBLIC        2/14/2020
OAR-2019-                                                                                           SUBMISSIONS
0178-0137
EPA-HQ-            2 Comment submitted by George Martinez, President, Tampico Spice Co., Inc.       PUBLIC         3/2/2020
OAR-2019-                                                                                           SUBMISSIONS
0178-0138
EPA-HQ-            1 Comment submitted by Bradley S. Schneider, Member of Congress, Co-Chair,       PUBLIC        3/20/2020
OAR-2019-            ETO Task Force et al.                                                          SUBMISSIONS
0178-0139
EPA-HQ-               Agency Information Collection Activities; Proposals, Submissions, and         NOTICES       6/12/2020
OAR-2019-             Approvals: Effort for Ethylene Oxide Commercial Sterilization Facilities
0178-0140
EPA-HQ-               Supporting Statement for Public Comment, EPA ICR No. 2623.01, Information     SUPPORTING     6/4/2020
OAR-2019-             Collection Effort for Ethylene Oxide Commercial Sterilization Facilities      & RELATED
0178-0141                                                                                           MATERIALS
EPA-HQ-            4 Ethylene Oxide (EtO) Commercial Sterilization CAA Section 114 Information      SUPPORTING     6/4/2020
OAR-2019-            Collection Request (ICR)                                                       & RELATED
0178-0142                                                                                           MATERIALS
EPA-HQ-            1 Comment submitted by Emma Cheuse, Staff Attorney, Earthjustice et al.          PUBLIC        8/11/2020
OAR-2019-                                                                                           SUBMISSIONS
0178-0143
EPA-HQ-               Agency Information Collection Activities; Proposals, Submissions, and         NOTICES       5/10/2021
OAR-2019-             Approvals: Ethylene Oxide Commercial Sterilization Facilities National
0178-0144             Emission Standards for Hazardous Air Pollutants Technology Review


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EPA-HQ-               EtO 114ICR Supplement 3                                                            SUPPORTING     5/5/2021
OAR-2019-                                                                                                & RELATED
0178-0145                                                                                                MATERIALS
EPA-HQ-               EtO 114ICR Supplement 1                                                            SUPPORTING     5/5/2021
OAR-2019-                                                                                                & RELATED
0178-0146                                                                                                MATERIALS
EPA-HQ-               EtO 114ICR Supplement 2                                                            SUPPORTING     5/5/2021
OAR-2019-                                                                                                & RELATED
0178-0147                                                                                                MATERIALS
EPA-HQ-               EtO 114ICR Main                                                                    SUPPORTING     5/5/2021
OAR-2019-                                                                                                & RELATED
0178-0148                                                                                                MATERIALS
EPA-HQ-               2623t01                                                                            SUPPORTING     5/5/2021
OAR-2019-                                                                                                & RELATED
0178-0149                                                                                                MATERIALS
EPA-HQ-               2623ss01                                                                           SUPPORTING     5/5/2021
OAR-2019-                                                                                                & RELATED
0178-0150                                                                                                MATERIALS
EPA-HQ-               EtO 114ICR Instructions Doc                                                        SUPPORTING     5/5/2021
OAR-2019-                                                                                                & RELATED
0178-0151                                                                                                MATERIALS
EPA-HQ-               0062.5 EtO ICR FRN 1 RTC v.5                                                       SUPPORTING    5/18/2021
OAR-2019-                                                                                                & RELATED
0178-0152                                                                                                MATERIALS
EPA-HQ-            1 Comment submitted by Earthjustice et al.                                            PUBLIC         6/9/2021
OAR-2019-                                                                                                SUBMISSIONS
0178-0153
EPA-HQ-               National Emission Standards for Hazardous Air Pollutants: Ethylene Oxide           PROPOSED      4/13/2023
OAR-2019-             Emissions Standards for Sterilization Facilities Residual Risk and Technology      RULES
0178-0154             Review


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EPA-HQ-            9 2019 ICR - Index of CBI Facilities                                             SUPPORTING   11/21/2022
OAR-2019-                                                                                           & RELATED
0178-0155                                                                                           MATERIALS
EPA-HQ-           13 Response to 2019 Section 114 ICR from CENTURI0N MEDICAL PRODUCTS in            SUPPORTING   11/21/2022
OAR-2019-            YUMA, AZ                                                                       & RELATED
0178-0156                                                                                           MATERIALS
EPA-HQ-            2 Response to 2019 Section 114 ICR from STERIS AST in Temecula, CA               SUPPORTING   11/21/2022
OAR-2019-                                                                                           & RELATED
0178-0157                                                                                           MATERIALS
EPA-HQ-            3 Response to 2019 Section 114 ICR from Steris in San Diego, CA                  SUPPORTING   11/21/2022
OAR-2019-                                                                                           & RELATED
0178-0158                                                                                           MATERIALS
EPA-HQ-           10 Response to 2019 Section 114 ICR from Sterigenics US LLC Ontario in Ontario,   SUPPORTING   11/21/2022
OAR-2019-            CA                                                                             & RELATED
0178-0159                                                                                           MATERIALS
EPA-HQ-            9 Response to 2019 Section 114 ICR from Cosmed Group Inc. in Franklin, NJ        SUPPORTING   11/21/2022
OAR-2019-                                                                                           & RELATED
0178-0160                                                                                           MATERIALS
EPA-HQ-           18 Response to 2019 Section 114 ICR from Sterigenics US LLC, Los Angeles 50th     SUPPORTING   11/21/2022
OAR-2019-            St in Los Angeles, CA                                                          & RELATED
0178-0161                                                                                           MATERIALS
EPA-HQ-           16 Response to 2019 Section 114 ICR from Sterigenics US LLC, Los Angeles -        SUPPORTING   11/21/2022
OAR-2019-            Gifford Ave in Los Angeles, CA                                                 & RELATED
0178-0162                                                                                           MATERIALS
EPA-HQ-            9 Response to 2019 Section 114 ICR from Cosmed Group Inc. dba ETO                SUPPORTING   11/21/2022
OAR-2019-            Sterilization in Linden, NJ                                                    & RELATED
0178-0163                                                                                           MATERIALS
EPA-HQ-            3 Response to 2019 Section 114 ICR from STERIS AST South Plainfield NJ in        SUPPORTING   11/21/2022
OAR-2019-            South Plainfield, NJ                                                           & RELATED
0178-0164                                                                                           MATERIALS


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EPA-HQ-            9 Response to 2019 Section 114 ICR from MPROC-Juncos in Juncos , PR            SUPPORTING    11/21/2022
OAR-2019-                                                                                         & RELATED
0178-0165                                                                                         MATERIALS
EPA-HQ-            2 Response to 2019 Section 114 ICR from Rice Creek in Fridley, MN              SUPPORTING    11/21/2022
OAR-2019-                                                                                         & RELATED
0178-0166                                                                                         MATERIALS
EPA-HQ-            2 Response to 2019 Section 114 ICR from Physiological Research Laboratory in   SUPPORTING    11/21/2022
OAR-2019-            Coon Rapids, MN                                                              & RELATED
0178-0167                                                                                         MATERIALS
EPA-HQ-           11 Response to 2019 Section 114 ICR from Elite Spice Inc. in Sparks, NV         SUPPORTING    11/21/2022
OAR-2019-                                                                                         & RELATED
0178-0168                                                                                         MATERIALS
EPA-HQ-            5 Response to 2019 Section 114 ICR from Medtronic PLC (MPROC) - Villalba in    SUPPORTING    11/21/2022
OAR-2019-            Villalba, PR                                                                 & RELATED
0178-0169                                                                                         MATERIALS
EPA-HQ-           11 Response to 2019 Section 114 ICR from Sterigenics US LLC Queensbury in       SUPPORTING    11/22/2022
OAR-2019-            Queensbury, NY                                                               & RELATED
0178-0170                                                                                         MATERIALS
EPA-HQ-           34 Response to 2019 Section 114 ICR from North Haven in North Haven, CT         SUPPORTING    11/22/2022
OAR-2019-                                                                                         & RELATED
0178-0171                                                                                         MATERIALS
EPA-HQ-               Response to 2019 Section 114 ICR from Cosmed Group Inc., dba Cosmed of      SUPPORTING    11/22/2022
OAR-2019-             PA in Erie , PA                                                             & RELATED
0178-0172                                                                                         MATERIALS
EPA-HQ-           16 Response to 2019 Section 114 ICR from Elite Spice in Hanover, MD             SUPPORTING    11/22/2022
OAR-2019-                                                                                         & RELATED
0178-0173                                                                                         MATERIALS
EPA-HQ-           17 Response to 2019 Section 114 ICR from Elite Spice Inc. in Jessup, MD         SUPPORTING    11/22/2022
OAR-2019-                                                                                         & RELATED
0178-0174                                                                                         MATERIALS


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EPA-HQ-            3 Response to 2019 Section 114 ICR from Northborough in Northborough, MA            SUPPORTING    11/22/2022
OAR-2019-                                                                                              & RELATED
0178-0175                                                                                              MATERIALS
EPA-HQ-               Response to 2019 Section 114 ICR from Sterilization Services of Virginia in      SUPPORTING    11/22/2022
OAR-2019-             Richmond, VA                                                                     & RELATED
0178-0176                                                                                              MATERIALS
EPA-HQ-            5 Response to 2019 Section 114 ICR from Madison Sterilization in Madison, GA        SUPPORTING    11/22/2022
OAR-2019-                                                                                              & RELATED
0178-0177                                                                                              MATERIALS
EPA-HQ-           13 Response to 2019 Section 114 ICR from Covington Sterilization in Covington,       SUPPORTING    11/22/2022
OAR-2019-            GA                                                                                & RELATED
0178-0178                                                                                              MATERIALS
EPA-HQ-           17 Response to 2019 Section 114 ICR from Centurion Medical Products in               SUPPORTING    11/22/2022
OAR-2019-            Salisbury, NC                                                                     & RELATED
0178-0179                                                                                              MATERIALS
EPA-HQ-            2 Response to 2019 Section 114 ICR from Heartware in Miami Lakes, FL                SUPPORTING    11/22/2022
OAR-2019-                                                                                              & RELATED
0178-0180                                                                                              MATERIALS
EPA-HQ-            3 Response to 2019 Section 114 ICR from Spartanburg in Spartanburg, SC              SUPPORTING    11/22/2022
OAR-2019-                                                                                              & RELATED
0178-0181                                                                                              MATERIALS
EPA-HQ-           11 Response to 2019 Section 114 ICR from Jacksonville in Jacksonville, FL            SUPPORTING    11/22/2022
OAR-2019-                                                                                              & RELATED
0178-0182                                                                                              MATERIALS
EPA-HQ-           10 Response to 2019 Section 114 ICR from Sterigenics US LLC Charlotte in             SUPPORTING    11/22/2022
OAR-2019-            Charlotte, NC                                                                     & RELATED
0178-0183                                                                                              MATERIALS
EPA-HQ-            8 Response to 2019 Section 114 ICR from Sterigenics US LLC Atlanta in Atlanta,      SUPPORTING    11/22/2022
OAR-2019-            GA                                                                                & RELATED
0178-0184                                                                                              MATERIALS


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EPA-HQ-            1 Response to 2019 Section 114 ICR from Sterilization Services of Tennessee in   SUPPORTING    11/22/2022
OAR-2019-            Memphis, TN                                                                    & RELATED
0178-0185                                                                                           MATERIALS
EPA-HQ-           18 Response to 2019 Section 114 ICR from Centurion Medical Products in            SUPPORTING    11/22/2022
OAR-2019-            Howell, MI                                                                     & RELATED
0178-0186                                                                                           MATERIALS
EPA-HQ-            3 Response to 2019 Section 114 ICR from STERIS AST in Coon Rapids, MN            SUPPORTING    11/22/2022
OAR-2019-                                                                                           & RELATED
0178-0187                                                                                           MATERIALS
EPA-HQ-           23 Response to 2019 Section 114 ICR from Medline North Point Services (NPS) in    SUPPORTING    11/22/2022
OAR-2019-            Waukegan, IL                                                                   & RELATED
0178-0188                                                                                           MATERIALS
EPA-HQ-            3 Response to 2019 Section 114 ICR from Grand Prairie in Grand Prairie, TX       SUPPORTING    11/22/2022
OAR-2019-                                                                                           & RELATED
0178-0189                                                                                           MATERIALS
EPA-HQ-            4 Response to 2019 Section 114 ICR from El Paso I in El Paso, TX                 SUPPORTING    11/22/2022
OAR-2019-                                                                                           & RELATED
0178-0190                                                                                           MATERIALS
EPA-HQ-            3 Response to 2019 Section 114 ICR from STERIS Corporation in El Paso, TX        SUPPORTING    11/22/2022
OAR-2019-                                                                                           & RELATED
0178-0191                                                                                           MATERIALS
EPA-HQ-            2 Response to 2019 Section 114 ICR from Midwest Sterilization Corporation in     SUPPORTING    11/22/2022
OAR-2019-            Laredo, TX                                                                     & RELATED
0178-0192                                                                                           MATERIALS
EPA-HQ-           10 Response to 2019 Section 114 ICR from Sterigenics, LLC - Grand Prairie in      SUPPORTING    11/22/2022
OAR-2019-            Grand Prairie, TX                                                              & RELATED
0178-0193                                                                                           MATERIALS
EPA-HQ-           10 Response to 2019 Section 114 ICR from Sterigenics US LLC Santa Teresa in       SUPPORTING    11/22/2022
OAR-2019-            Santa Teresa, NM                                                               & RELATED
0178-0194                                                                                           MATERIALS


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EPA-HQ-           16 Response to 2019 Section 114 ICR from BD Pharmaceuticals Systems in             SUPPORTING   11/22/2022
OAR-2019-            Columbus, NE                                                                    & RELATED
0178-0195                                                                                            MATERIALS
EPA-HQ-            2 Response to 2019 Section 114 ICR from Midwest Sterilization Corporation in      SUPPORTING   11/22/2022
OAR-2019-            Jackson, MO                                                                     & RELATED
0178-0196                                                                                            MATERIALS
EPA-HQ-            7 Response to 2019 Section 114 ICR from BD Medical Sandy in Sandy, UT             SUPPORTING   11/22/2022
OAR-2019-                                                                                            & RELATED
0178-0197                                                                                            MATERIALS
EPA-HQ-            7 Response to 2019 Section 114 ICR from Sterigenics Salt Lake City in Salt Lake   SUPPORTING   11/22/2022
OAR-2019-            City, UT                                                                        & RELATED
0178-0198                                                                                            MATERIALS
EPA-HQ-               2021 ICR Letters                                                               SUPPORTING   11/22/2022
OAR-2019-                                                                                            & RELATED
0178-0199                                                                                            MATERIALS
EPA-HQ-               2021 ICR - Index of CBI Facilities                                             SUPPORTING     2/3/2023
OAR-2019-                                                                                            & RELATED
0178-0200                                                                                            MATERIALS
EPA-HQ-            5 Response to 2021 Section 114 ICR from Terumo BCT in Lakewood, CO                SUPPORTING     2/3/2023
OAR-2019-                                                                                            & RELATED
0178-0201                                                                                            MATERIALS
EPA-HQ-           15 Response to 2021 Section 114 ICR from Abbott Cardiovascular Systems in          SUPPORTING     2/3/2023
OAR-2019-            Temecula, CA                                                                    & RELATED
0178-0202                                                                                            MATERIALS
EPA-HQ-           33 Response to 2021 Section 114 ICR from Blue Line Sterilization Services in       SUPPORTING     2/9/2023
OAR-2019-            Novato, CA                                                                      & RELATED
0178-0203                                                                                            MATERIALS
EPA-HQ-           13 Response to 2021 Section 114 ICR from Centurion Medical Products in YUMA,       SUPPORTING     2/9/2023
OAR-2019-            AZ                                                                              & RELATED
0178-0204                                                                                            MATERIALS


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EPA-HQ-            2 Response to 2021 Section 114 ICR from STERIS AST in Temecula, CA                 SUPPORTING   2/9/2023
OAR-2019-                                                                                             & RELATED
0178-0205                                                                                             MATERIALS
EPA-HQ-            2 Response to 2021 Section 114 ICR from Steris in San Diego, CA                    SUPPORTING   2/9/2023
OAR-2019-                                                                                             & RELATED
0178-0206                                                                                             MATERIALS
EPA-HQ-            7 Response to 2021 Section 114 ICR from NASA Ames Research Center in               SUPPORTING   2/9/2023
OAR-2019-            Mountain View, CA                                                                & RELATED
0178-0207                                                                                             MATERIALS
EPA-HQ-            1 Response to 2021 Section 114 ICR from Parter Sterilization Services in Carson,   SUPPORTING   2/9/2023
OAR-2019-            CA                                                                               & RELATED
0178-0208                                                                                             MATERIALS
EPA-HQ-           12 Response to 2021 Section 114 ICR from Sterigenics US LLC Ontario in Ontario,     SUPPORTING   2/9/2023
OAR-2019-            CA                                                                               & RELATED
0178-0209                                                                                             MATERIALS
EPA-HQ-            9 Response to 2021 Section 114 ICR from Cosmed Group Inc. in Franklin, NJ          SUPPORTING   2/9/2023
OAR-2019-                                                                                             & RELATED
0178-0210                                                                                             MATERIALS
EPA-HQ-           20 Response to 2021 Section 114 ICR from Sterigenics US LLC                         SUPPORTING   2/9/2023
OAR-2019-                                                                                             & RELATED
0178-0211                                                                                             MATERIALS
EPA-HQ-           18 Response to 2021 Section 114 ICR from Sterigenics US LLC                         SUPPORTING   2/9/2023
OAR-2019-                                                                                             & RELATED
0178-0212                                                                                             MATERIALS
EPA-HQ-           11 Response to 2021 Section 114 ICR from Cardiac Pacemakers Inc/Boston              SUPPORTING   2/9/2023
OAR-2019-            Scientific in Arden Hills, MN                                                    & RELATED
0178-0213                                                                                             MATERIALS
EPA-HQ-            9 Response to 2021 Section 114 ICR from Customed, Inc. in Fajardo, PR              SUPPORTING   2/9/2023
OAR-2019-                                                                                             & RELATED
0178-0214                                                                                             MATERIALS


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EPA-HQ-            4 Response to 2021 Section 114 ICR from Edwards Lifesciences Technology Sàrl   SUPPORTING     2/9/2023
OAR-2019-            in Añasco, PR                                                                & RELATED
0178-0215                                                                                         MATERIALS
EPA-HQ-            9 Response to 2021 Section 114 ICR from Cosmed Group Inc. dba ETO              SUPPORTING     2/9/2023
OAR-2019-            Sterilization in Linden, NJ                                                  & RELATED
0178-0216                                                                                         MATERIALS
EPA-HQ-            7 Response to 2021 Section 114 ICR from Guidant Puerto Rico, B.V. dba Boston   SUPPORTING    2/12/2023
OAR-2019-            Scientific Puerto Rico in Dorado, PR                                         & RELATED
0178-0217                                                                                         MATERIALS
EPA-HQ-            2 Response to 2021 Section 114 ICR from STERIS AST South Plainfield NJ in      SUPPORTING    2/12/2023
OAR-2019-            South Plainfield, NJ                                                         & RELATED
0178-0218                                                                                         MATERIALS
EPA-HQ-           15 Response to 2021 Section 114 ICR from Boston Scientific Corporation in       SUPPORTING    2/12/2023
OAR-2019-            Coventry, RI                                                                 & RELATED
0178-0219                                                                                         MATERIALS
EPA-HQ-           10 Response to 2021 Section 114 ICR from MPROC-Juncos in Juncos, PR             SUPPORTING    2/12/2023
OAR-2019-                                                                                         & RELATED
0178-0220                                                                                         MATERIALS
EPA-HQ-            3 Response to 2021 Section 114 ICR from Rice Creek in Fridley, MN              SUPPORTING    2/12/2023
OAR-2019-                                                                                         & RELATED
0178-0221                                                                                         MATERIALS
EPA-HQ-            3 Response to 2021 Section 114 ICR from Physiological Research Laboratory in   SUPPORTING    2/12/2023
OAR-2019-            Coon Rapids, MN                                                              & RELATED
0178-0222                                                                                         MATERIALS
EPA-HQ-           11 Response to 2021 Section 114 ICR from Elite Spice Inc. in Sparks, NV         SUPPORTING    2/12/2023
OAR-2019-                                                                                         & RELATED
0178-0223                                                                                         MATERIALS
EPA-HQ-            6 Response to 2021 Section 114 ICR from MPROC - Villalba in Villalba, PR       SUPPORTING    2/12/2023
OAR-2019-                                                                                         & RELATED
0178-0224                                                                                         MATERIALS


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EPA-HQ-           11 Response to 2021 Section 114 ICR from Sterigenics US LLC, Queensbury in        SUPPORTING    2/12/2023
OAR-2019-            Queensbury, NY                                                                 & RELATED
0178-0225                                                                                           MATERIALS
EPA-HQ-               Response to 2021 Section 114 ICR from Steri-Tech, Inc. in Salinas, PR         SUPPORTING    2/12/2023
OAR-2019-                                                                                           & RELATED
0178-0226                                                                                           MATERIALS
EPA-HQ-            7 Response to 2021 Section 114 ICR from Alcon - Advanced Optic Device Center     SUPPORTING    2/12/2023
OAR-2019-            (AODC) North in Lesage, WV                                                     & RELATED
0178-0227                                                                                           MATERIALS
EPA-HQ-           11 Response to 2021 Section 114 ICR from Stryker Sustainability Solutions in      SUPPORTING    2/12/2023
OAR-2019-            Phoenix, AZ                                                                    & RELATED
0178-0228                                                                                           MATERIALS
EPA-HQ-           48 Response to 2021 Section 114 ICR from Genentech, Inc. in South San             SUPPORTING    2/12/2023
OAR-2019-            Francisco, CA                                                                  & RELATED
0178-0229                                                                                           MATERIALS
EPA-HQ-            1 Response to 2021 Section 114 ICR from Auris Health in San Jose, CA             SUPPORTING    2/12/2023
OAR-2019-                                                                                           & RELATED
0178-0230                                                                                           MATERIALS
EPA-HQ-            1 Response to 2021 Section 114 ICR from Oscor in Palm Harbor, FL                 SUPPORTING    2/12/2023
OAR-2019-                                                                                           & RELATED
0178-0231                                                                                           MATERIALS
EPA-HQ-            1 Response to 2021 Section 114 ICR from Interventional Cardiology in Maple       SUPPORTING    2/12/2023
OAR-2019-            Grove, MN                                                                      & RELATED
0178-0232                                                                                           MATERIALS
EPA-HQ-            1 Response to 2021 Section 114 ICR from Boulder BioMed in Boulder, CO            SUPPORTING    2/12/2023
OAR-2019-                                                                                           & RELATED
0178-0233                                                                                           MATERIALS
EPA-HQ-           10 Response to 2021 Section 114 ICR from The Jackson Laboratory in Ellsworth,     SUPPORTING    2/12/2023
OAR-2019-            ME                                                                             & RELATED
0178-0234                                                                                           MATERIALS


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EPA-HQ-           26 Response to 2021 Section 114 ICR from Microvention in Aliso Viejo, CA           SUPPORTING    2/12/2023
OAR-2019-                                                                                            & RELATED
0178-0235                                                                                            MATERIALS
EPA-HQ-           13 Response to 2021 Section 114 ICR from St. Jude Medical CRMD in Sylmar, CA       SUPPORTING    2/12/2023
OAR-2019-                                                                                            & RELATED
0178-0236                                                                                            MATERIALS
EPA-HQ-           17 Response to 2021 Section 114 ICR from LifeNet Health in Virginia Beach, VA      SUPPORTING    2/12/2023
OAR-2019-                                                                                            & RELATED
0178-0237                                                                                            MATERIALS
EPA-HQ-            8 Response to 2021 Section 114 ICR from The Jackson Laboratory (JAX)              SUPPORTING    2/12/2023
OAR-2019-            Sacramento in Sacramento, CA                                                    & RELATED
0178-0238                                                                                            MATERIALS
EPA-HQ-           35 Response to 2021 Section 114 ICR from North Haven in North Haven, CT            SUPPORTING    2/13/2023
OAR-2019-                                                                                            & RELATED
0178-0239                                                                                            MATERIALS
EPA-HQ-               Response to 2021 Section 114 ICR from Central Virginia Health Network in       SUPPORTING    2/13/2023
OAR-2019-             Richmond, VA                                                                   & RELATED
0178-0240                                                                                            MATERIALS
EPA-HQ-               Response to 2021 Section 114 ICR from Cosmed Group Inc., dba Cosmed of         SUPPORTING    2/13/2023
OAR-2019-             PA in Erie , PA                                                                & RELATED
0178-0241                                                                                            MATERIALS
EPA-HQ-           16 Response to 2021 Section 114 ICR from Elite Spice in Hanover, MD                SUPPORTING    2/13/2023
OAR-2019-                                                                                            & RELATED
0178-0242                                                                                            MATERIALS
EPA-HQ-           16 Response to 2021 Section 114 ICR from Elite Spice Inc. in                       SUPPORTING    2/13/2023
OAR-2019-            Jessup, MD                                                                      & RELATED
0178-0243                                                                                            MATERIALS
EPA-HQ-            2 Response to 2021 Section 114 ICR from Northborough in Northborough, MA          SUPPORTING    2/13/2023
OAR-2019-                                                                                            & RELATED
0178-0244                                                                                            MATERIALS


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EPA-HQ-           18 Response to 2021 Section 114 ICR from LifeNet Health in Virginia Beach, VA        SUPPORTING    2/13/2023
OAR-2019-                                                                                              & RELATED
0178-0245                                                                                              MATERIALS
EPA-HQ-               Response to 2021 Section 114 ICR from Sterilization Services of Virginia in      SUPPORTING    2/13/2023
OAR-2019-             Richmond, VA                                                                     & RELATED
0178-0246                                                                                              MATERIALS
EPA-HQ-               Cover Letter                                                                     SUPPORTING    2/13/2023
OAR-2019-                                                                                              & RELATED
0178-0247                                                                                              MATERIALS
EPA-HQ-            4 Response to 2021 Section 114 ICR from Trinity Sterile in Salisbury, MD            SUPPORTING    2/13/2023
OAR-2019-                                                                                              & RELATED
0178-0248                                                                                              MATERIALS
EPA-HQ-            5 Response to 2021 Section 114 ICR from Arthrex Manufacturing Inc. Finishing        SUPPORTING    2/13/2023
OAR-2019-            Facility in Ave Maria, FL                                                         & RELATED
0178-0249                                                                                              MATERIALS
EPA-HQ-            7 esponse to 2021 Section 114 ICR from Madison Sterilization in Madison, GA         SUPPORTING    2/13/2023
OAR-2019-                                                                                              & RELATED
0178-0250                                                                                              MATERIALS
EPA-HQ-           14 Response to 2021 Section 114 ICR from Covington Sterilization in Covington,       SUPPORTING    2/13/2023
OAR-2019-            GA                                                                                & RELATED
0178-0251                                                                                              MATERIALS
EPA-HQ-           17 Response to 2021 Section 114 ICR from Centurion Medical Products in               SUPPORTING    2/13/2023
OAR-2019-            Salisbury, NC                                                                     & RELATED
0178-0252                                                                                              MATERIALS
EPA-HQ-            3 Response to 2021 Section 114 ICR from Heartware in Miami Lakes, FL                SUPPORTING    2/13/2023
OAR-2019-                                                                                              & RELATED
0178-0253                                                                                              MATERIALS
EPA-HQ-            2 Response to 2021 Section 114 ICR from Spartanburg in Spartanburg, SC              SUPPORTING    2/13/2023
OAR-2019-                                                                                              & RELATED
0178-0254                                                                                              MATERIALS


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EPA-HQ-            6 Response to 2021 Section 114 ICR from KPR U.S., LLC dba Kendall Patient          SUPPORTING    2/13/2023
OAR-2019-            Recovery U.S., LLC in Augusta, GA                                                & RELATED
0178-0255                                                                                             MATERIALS
EPA-HQ-           14 Response to 2021 Section 114 ICR from Jacksonville in Jacksonville, FL           SUPPORTING    2/13/2023
OAR-2019-                                                                                             & RELATED
0178-0256                                                                                             MATERIALS
EPA-HQ-            6 Response to 2021 Section 114 ICR from Royal Sterilization Systems in New         SUPPORTING    2/13/2023
OAR-2019-            Tazewell, TN                                                                     & RELATED
0178-0257                                                                                             MATERIALS
EPA-HQ-           12 Response to 2021 Section 114 ICR from Sterigenics US LLC Charlotte in            SUPPORTING    2/13/2023
OAR-2019-            Charlotte, NC                                                                    & RELATED
0178-0258                                                                                             MATERIALS
EPA-HQ-           10 Response to 2021 Section 114 ICR from Sterigenics US LLC Atlanta in Atlanta,     SUPPORTING    2/13/2023
OAR-2019-            GA                                                                               & RELATED
0178-0259                                                                                             MATERIALS
EPA-HQ-               Response to 2021 Section 114 ICR from Sterilization Services of Tennessee in    SUPPORTING    2/13/2023
OAR-2019-             Memphis, TN                                                                     & RELATED
0178-0260                                                                                             MATERIALS
EPA-HQ-               Response to 2021 Section 114 ICR from Sterilization Services of Georgia in      SUPPORTING    2/13/2023
OAR-2019-             Atlanta, GA                                                                     & RELATED
0178-0261                                                                                             MATERIALS
EPA-HQ-           10 Response to 2021 Section 114 ICR from The Jackson Laboratory in Bar Harbor,      SUPPORTING    2/13/2023
OAR-2019-            ME                                                                               & RELATED
0178-0262                                                                                             MATERIALS
EPA-HQ-           24 Response to 2021 Section 114 ICR from Cook Inc. Ellettsville North Facility in   SUPPORTING    2/13/2023
OAR-2019-            Ellettsville, IN                                                                 & RELATED
0178-0263                                                                                             MATERIALS
EPA-HQ-            2 Response to 2021 Section 114 ICR from STERIS AST in Coon Rapids, MN              SUPPORTING    2/13/2023
OAR-2019-                                                                                             & RELATED
0178-0264                                                                                             MATERIALS


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EPA-HQ-           20 Response to 2021 Section 114 ICR from Medline North Point Services (NPS) in      SUPPORTING    2/13/2023
OAR-2019-            Waukegan, IL                                                                     & RELATED
0178-0265                                                                                             MATERIALS
EPA-HQ-           11 Response to 2021 Section 114 ICR from Baxter Healthcare Corporation in           SUPPORTING    2/13/2023
OAR-2019-            Mountain Home, AR                                                                & RELATED
0178-0266                                                                                             MATERIALS
EPA-HQ-           19 Response to 2021 Section 114 ICR from Dynatec Scientific Laboratories in El      SUPPORTING    2/13/2023
OAR-2019-            Paso, TX                                                                         & RELATED
0178-0267                                                                                             MATERIALS
EPA-HQ-            1 Response to 2021 Section 114 ICR from Ethicon in San Angelo, TX                  SUPPORTING    2/13/2023
OAR-2019-                                                                                             & RELATED
0178-0268                                                                                             MATERIALS
EPA-HQ-            2 Response to 2021 Section 114 ICR from Grand Prairie in Grand Prairie, TX         SUPPORTING    2/13/2023
OAR-2019-                                                                                             & RELATED
0178-0269                                                                                             MATERIALS
EPA-HQ-            2 Response to 2021 Section 114 ICR from El Paso I in El Paso, TX                   SUPPORTING    2/13/2023
OAR-2019-                                                                                             & RELATED
0178-0270                                                                                             MATERIALS
EPA-HQ-            2 Response to 2021 Section 114 ICR from STERIS Corporation in El Paso, TX          SUPPORTING    2/13/2023
OAR-2019-                                                                                             & RELATED
0178-0271                                                                                             MATERIALS
EPA-HQ-            3 Response to 2021 Section 114 ICR from Midwest Sterilization Corporation in       SUPPORTING    2/13/2023
OAR-2019-            Laredo, TX                                                                       & RELATED
0178-0272                                                                                             MATERIALS
EPA-HQ-               Response to 2021 Section 114 ICR from NovoSci in Conroe, TX                     SUPPORTING    2/13/2023
OAR-2019-                                                                                             & RELATED
0178-0273                                                                                             MATERIALS
EPA-HQ-           12 Response to 2021 Section 114 ICR from Sterigenics US LLC Santa Teresa in         SUPPORTING    2/18/2023
OAR-2019-            Santa Teresa, NM                                                                 & RELATED
0178-0274                                                                                             MATERIALS


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EPA-HQ-               Response to 2021 Section 114 ICR from Steritec, Inc. in Athens, TX                 SUPPORTING   2/18/2023
OAR-2019-                                                                                                & RELATED
0178-0275                                                                                                MATERIALS
EPA-HQ-           18 Response to 2021 Section 114 ICR from BD Pharmaceuticals Systems in                 SUPPORTING   2/18/2023
OAR-2019-            Columbus, NE                                                                        & RELATED
0178-0276                                                                                                MATERIALS
EPA-HQ-            3 Response to 2021 Section 114 ICR from Midwest Sterilization Corporation in          SUPPORTING   2/18/2023
OAR-2019-            Jackson, MO                                                                         & RELATED
0178-0277                                                                                                MATERIALS
EPA-HQ-            8 Response to 2021 Section 114 ICR from BD Medical Sandy in Sandy, UT                 SUPPORTING   2/18/2023
OAR-2019-                                                                                                & RELATED
0178-0278                                                                                                MATERIALS
EPA-HQ-            9 Response to 2021 Section 114 ICR from Sterigenics Salt Lake City in Salt Lake       SUPPORTING   2/18/2023
OAR-2019-            City, UT                                                                            & RELATED
0178-0279                                                                                                MATERIALS
EPA-HQ-           10 Response to 2021 Section 114 ICR from St. Jude Medical dba Abbott in                SUPPORTING   2/18/2023
OAR-2019-            Arecebo, PR                                                                         & RELATED
0178-0280                                                                                                MATERIALS
EPA-HQ-            4 Summary of 2021 EtO Emissions with New Control Equipment (STERIS Ltd)               SUPPORTING    3/3/2023
OAR-2019-                                                                                                & RELATED
0178-0281                                                                                                MATERIALS
EPA-HQ-               Summary of EtO Facilities in Maryland                                              SUPPORTING    3/3/2023
OAR-2019-                                                                                                & RELATED
0178-0282                                                                                                MATERIALS
EPA-HQ-               Emissions data for commercial ethylene oxide sterilization facilities located in   SUPPORTING    3/3/2023
OAR-2019-             California                                                                         & RELATED
0178-0283                                                                                                MATERIALS
EPA-HQ-            1 GEPD Comments on USEPA EtO Modeling Files                                           SUPPORTING    3/3/2023
OAR-2019-                                                                                                & RELATED
0178-0284                                                                                                MATERIALS


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EPA-HQ-               IDEM Information on commercial ethylene oxide sterilization facilities located     SUPPORTING   3/3/2023
OAR-2019-             in Indiana                                                                         & RELATED
0178-0285                                                                                                MATERIALS
EPA-HQ-            1 Emissions Data for Commercial Ethylene Oxide Sterilization Fcilities Located in     SUPPORTING   3/3/2023
OAR-2019-            Illinois                                                                            & RELATED
0178-0286                                                                                                MATERIALS
EPA-HQ-            1 Emissions Data for Commercial Ethylene Oxide Sterilization Facilities Located       SUPPORTING   3/3/2023
OAR-2019-            in New Jersey                                                                       & RELATED
0178-0287                                                                                                MATERIALS
EPA-HQ-               E-mail between VDEQ, USEPA Region 3, and USEPA from January 13 through             SUPPORTING   3/3/2023
OAR-2019-             February 8, 2021                                                                   & RELATED
0178-0288                                                                                                MATERIALS
EPA-HQ-               Emissions data for commercial ethylene oxide sterilization facilities located in   SUPPORTING   3/3/2023
OAR-2019-             Florida                                                                            & RELATED
0178-0289                                                                                                MATERIALS
EPA-HQ-            3 Emissions Data for the Terumo BCT, Inc. facility in Lakewood, CO                    SUPPORTING   3/3/2023
OAR-2019-                                                                                                & RELATED
0178-0290                                                                                                MATERIALS
EPA-HQ-            2 Stack Test Report (05/21/2020) for Abbott Laboratories (Temecula, CA)               SUPPORTING   3/3/2023
OAR-2019-                                                                                                & RELATED
0178-0291                                                                                                MATERIALS
EPA-HQ-            5 2018 Emissions Inventory for ACS (Chandler, AZ)                                     SUPPORTING   3/3/2023
OAR-2019-                                                                                                & RELATED
0178-0292                                                                                                MATERIALS
EPA-HQ-            2 Stack Test Report (02/20/2020) for STERIS, Ltd. (Temecula, CA)                      SUPPORTING   3/3/2023
OAR-2019-                                                                                                & RELATED
0178-0293                                                                                                MATERIALS
EPA-HQ-               Cosmed (San Diego, CA) Health Risk Assessment Review                               SUPPORTING   3/3/2023
OAR-2019-                                                                                                & RELATED
0178-0294                                                                                                MATERIALS


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EPA-HQ-            3 LSOCA (Brea, CA) Application Form for Permit or Plan Approval                      SUPPORTING    3/3/2023
OAR-2019-                                                                                               & RELATED
0178-0295                                                                                               MATERIALS
EPA-HQ-               NASA - Ames Research Center (Mountain View, CA) Synthetic Minor                   SUPPORTING    3/3/2023
OAR-2019-             Operating Permit Evaluation Report                                                & RELATED
0178-0296                                                                                               MATERIALS
EPA-HQ-            3 Stack Test Report (10/03/2006) for Parter Sterilization Services (Carson, CA)      SUPPORTING    3/3/2023
OAR-2019-                                                                                               & RELATED
0178-0297                                                                                               MATERIALS
EPA-HQ-            5 Stack Test Report (11/08/2015) for Sotera Health (Ontario, CA)                     SUPPORTING    3/3/2023
OAR-2019-                                                                                               & RELATED
0178-0298                                                                                               MATERIALS
EPA-HQ-            5 Stack Test Report (09/17/2004) for Cosmed Group, Inc. (Franklin, NJ)               SUPPORTING    3/3/2023
OAR-2019-                                                                                               & RELATED
0178-0299                                                                                               MATERIALS
EPA-HQ-            6 Stack Test Report (02/02/2012) for Sotera Health (Los Angeles, CA)                 SUPPORTING    3/3/2023
OAR-2019-                                                                                               & RELATED
0178-0300                                                                                               MATERIALS
EPA-HQ-               Sterigenics (Gifford Ave - Los Angeles, CA) Permit to Operate G44884              SUPPORTING    3/6/2023
OAR-2019-             (02/08/2017)                                                                      & RELATED
0178-0301                                                                                               MATERIALS
EPA-HQ-               Customed (Fajardo, PR) Permit to Operate (09/30/2016)                             SUPPORTING    3/6/2023
OAR-2019-                                                                                               & RELATED
0178-0302                                                                                               MATERIALS
EPA-HQ-               Stack Test Report (01/18/2000) for Cosmed Group, Inc. (Linden, NJ)                SUPPORTING    3/6/2023
OAR-2019-                                                                                               & RELATED
0178-0303                                                                                               MATERIALS
EPA-HQ-               Stack Test Report (07/29/2019) for Boston Scientific Corporation (Dorado, PR)     SUPPORTING    3/6/2023
OAR-2019-                                                                                               & RELATED
0178-0304                                                                                               MATERIALS


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EPA-HQ-            1 STERIS (South Polainfield, NJ) Air Pollution Control Pre-Construction Permit      SUPPORTING    3/6/2023
OAR-2019-            Compliance Plan Change (03/01/2007)                                               & RELATED
0178-0305                                                                                              MATERIALS
EPA-HQ-            6 Stack Test Report (07/11/2019) for Busse Hospital Disposables (Hauppauge,         SUPPORTING    3/6/2023
OAR-2019-            NY) - COPYRIGHTED                                                                 & RELATED
0178-0306                                                                                              MATERIALS
EPA-HQ-               Elite Spice (Sparks, NV) EtO Reno Scrubber Efficiency Calculations               SUPPORTING    3/6/2023
OAR-2019-                                                                                              & RELATED
0178-0307                                                                                              MATERIALS
EPA-HQ-            7 Stack Test Report (12/01/2015) for Sotera Health (Queensbury, NY)                 SUPPORTING    3/6/2023
OAR-2019-                                                                                              & RELATED
0178-0308                                                                                              MATERIALS
EPA-HQ-            3 637.0-23-0-20000207-SteriTechPR-StackTest-Part1                                   SUPPORTING    3/6/2023
OAR-2019-                                                                                              & RELATED
0178-0309                                                                                              MATERIALS
EPA-HQ-            3 Stack Test Report (06/21/2019) for Alcon, Inc. (Lesage, WV)                       SUPPORTING    3/6/2023
OAR-2019-                                                                                              & RELATED
0178-0310                                                                                              MATERIALS
EPA-HQ-            1 Stack Test Report (01/07/2020) for Stryker Corporation (Phoenix, AZ)              SUPPORTING    3/6/2023
OAR-2019-                                                                                              & RELATED
0178-0311                                                                                              MATERIALS
EPA-HQ-               Genentech (South San Francisco, CA) Synthetic Minor Operating Permit             SUPPORTING    3/6/2023
OAR-2019-             Evaluation Report (12/04/2012)                                                   & RELATED
0178-0312                                                                                              MATERIALS
EPA-HQ-            1 Stack Test Report (07/10/2015) for Johnson & Johnson (San Jose, CA)               SUPPORTING    3/6/2023
OAR-2019-                                                                                              & RELATED
0178-0313                                                                                              MATERIALS
EPA-HQ-            5 Air Pollution Emission Notice (Sept 19, 2018) for LivaNova PLC                    SUPPORTING    3/6/2023
OAR-2019-                                                                                              & RELATED
0178-0314                                                                                              MATERIALS


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EPA-HQ-            2 Air Pollution Emission Notice (May 22, 2012) for Jorgensen Laboratories          SUPPORTING   3/6/2023
OAR-2019-                                                                                             & RELATED
0178-0315                                                                                             MATERIALS
EPA-HQ-               Boston Scientific (Maple Grove, MN) Response to Request for Information         SUPPORTING   3/6/2023
OAR-2019-             from Minnesota Pollution Control Agency                                         & RELATED
0178-0316                                                                                             MATERIALS
EPA-HQ-               The Jackson Laboratory (Ellsworth, ME) ME DEP Findings of Fact (05/09/2018)     SUPPORTING   3/6/2023
OAR-2019-                                                                                             & RELATED
0178-0317                                                                                             MATERIALS
EPA-HQ-            1 Stack Test Report (08/20/2019) for Microvention Inc. (Aliso Viejo, CA), Part 1   SUPPORTING   3/6/2023
OAR-2019-            of 2                                                                             & RELATED
0178-0318                                                                                             MATERIALS
EPA-HQ-            2 ACS (Riverside, CA) Permit to Operate G62611 (08/21/2020)                        SUPPORTING   3/6/2023
OAR-2019-                                                                                             & RELATED
0178-0319                                                                                             MATERIALS
EPA-HQ-               St. Jude Medical (Sylmar, CA) Permit to Operate G22028 (12/13/2012)             SUPPORTING   3/6/2023
OAR-2019-                                                                                             & RELATED
0178-0320                                                                                             MATERIALS
EPA-HQ-            5 Stack Test Report (03/12/2019) for LifeNet Health (Virginia Beach, VA)           SUPPORTING   3/6/2023
OAR-2019-                                                                                             & RELATED
0178-0321                                                                                             MATERIALS
EPA-HQ-            2 Stack Test Report (01/21/2021) for Medtronic PLC (North Haven, CT)               SUPPORTING   3/6/2023
OAR-2019-                                                                                             & RELATED
0178-0322                                                                                             MATERIALS
EPA-HQ-            2 Central Virginia Health Network (CVHN) (Richmond, VA) Letter re: Ethylene        SUPPORTING   3/6/2023
OAR-2019-            Oxide Sterilizer Move/Modification (04/26/2005)                                  & RELATED
0178-0323                                                                                             MATERIALS
EPA-HQ-            2 Stack Test Report for the Cosmed Group, Inc. facility in Erie, PA                SUPPORTING   3/6/2023
OAR-2019-                                                                                             & RELATED
0178-0324                                                                                             MATERIALS


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EPA-HQ-            2 Stack Test Report (01/19/2016) for Elite Spice, Inc. (Hanover, MD)            SUPPORTING    3/6/2023
OAR-2019-                                                                                          & RELATED
0178-0325                                                                                          MATERIALS
EPA-HQ-            1 2020 TRI for Elite Spice Inc. (Jessup, MD)                                    SUPPORTING    3/6/2023
OAR-2019-                                                                                          & RELATED
0178-0326                                                                                          MATERIALS
EPA-HQ-            1 Fuchs (Hampstead, MD) Emissions Certification Report (2018)                   SUPPORTING    3/6/2023
OAR-2019-                                                                                          & RELATED
0178-0327                                                                                          MATERIALS
EPA-HQ-            3 Stack Test Report (09/20/2006) for STERIS, Ltd. (Northborough, MA)            SUPPORTING    3/6/2023
OAR-2019-                                                                                          & RELATED
0178-0328                                                                                          MATERIALS
EPA-HQ-            2 Stack Test Report (03/19/2019) for LifeNet Health (Virginia Beach, VA)        SUPPORTING    3/6/2023
OAR-2019-                                                                                          & RELATED
0178-0329                                                                                          MATERIALS
EPA-HQ-            1 2020 TRI for Sterilization Services of Virginia (Richmond, VA)                SUPPORTING    3/6/2023
OAR-2019-                                                                                          & RELATED
0178-0330                                                                                          MATERIALS
EPA-HQ-            1 MDE Inspection of Trinity Sterile (Salisbury, MD) on 08/02/2010               SUPPORTING    3/6/2023
OAR-2019-                                                                                          & RELATED
0178-0331                                                                                          MATERIALS
EPA-HQ-            1 ACS (Fort Myers, FL) Air General Permit Re-Registration (07/09/2021)          SUPPORTING    3/6/2023
OAR-2019-                                                                                          & RELATED
0178-0332                                                                                          MATERIALS
EPA-HQ-            3 ACS (Temple Terrace, FL) Air General Permit Re-Registration (07/09/2021)      SUPPORTING    3/6/2023
OAR-2019-                                                                                          & RELATED
0178-0333                                                                                          MATERIALS
EPA-HQ-               Stack Test Report (01/15/2018) for Arthrex, Inc. (Ave Maria, FL)             SUPPORTING    3/6/2023
OAR-2019-                                                                                          & RELATED
0178-0334                                                                                          MATERIALS


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EPA-HQ-            5 Stack Test Report (01/25/2018) for Becton, Dickinson and Company (Madison,     SUPPORTING    3/6/2023
OAR-2019-            GA)                                                                            & RELATED
0178-0335                                                                                           MATERIALS
EPA-HQ-            9 Stack Test Report (10/01/2019) for Becton, Dickinson and Company               SUPPORTING    3/6/2023
OAR-2019-            (Covington, GA)                                                                & RELATED
0178-0336                                                                                           MATERIALS
EPA-HQ-            2 Stack Test Report (06/07/2006) for International Sterilization Laboratory      SUPPORTING    3/6/2023
OAR-2019-            (Groveland, FL)                                                                & RELATED
0178-0337                                                                                           MATERIALS
EPA-HQ-            1 Stack Test Report (10/14/2009) for STERIS, Ltd. (Spartanburg, SC)              SUPPORTING    3/6/2023
OAR-2019-                                                                                           & RELATED
0178-0338                                                                                           MATERIALS
EPA-HQ-            3 Stack Test Report (07/23/2020) for Cardinal Health, Inc. (Augusta, GA)         SUPPORTING    3/6/2023
OAR-2019-                                                                                           & RELATED
0178-0339                                                                                           MATERIALS
EPA-HQ-            2 Stack Test Report for the Medtronic PLC facility in Jacksonville, FL -         SUPPORTING    3/6/2023
OAR-2019-            COPYRIGHTED                                                                    & RELATED
0178-0340                                                                                           MATERIALS
EPA-HQ-            5 Stack Test Report (12/27/2000) for Deroyal Industries, Inc. (New Tazewell, TN) SUPPORTING    3/6/2023
OAR-2019-                                                                                           & RELATED
0178-0341                                                                                           MATERIALS
EPA-HQ-            6 Stack Test Report (11/13/2015) for Sotera Health (Charlotte, NC)               SUPPORTING    3/6/2023
OAR-2019-                                                                                           & RELATED
0178-0342                                                                                           MATERIALS
EPA-HQ-            1 Stack Test Report (03/17/2016) for Sotera Health (Atlanta, GA)                 SUPPORTING    3/6/2023
OAR-2019-                                                                                           & RELATED
0178-0343                                                                                           MATERIALS
EPA-HQ-            4 Stack Test Report (11/12/2015) for Altair Corporation (Memphis , TN)           SUPPORTING    3/7/2023
OAR-2019-                                                                                           & RELATED
0178-0344                                                                                           MATERIALS


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EPA-HQ-            4 Stack Test Report (07/23/2020) for Altair Corporation (Atlanta, GA)             SUPPORTING     3/7/2023
OAR-2019-                                                                                            & RELATED
0178-0345                                                                                            MATERIALS
EPA-HQ-            2 Stack Test Report (03/07/2022) for American Contract Systems Inc. (Tiffin,      SUPPORTING     3/7/2023
OAR-2019-            OH)                                                                             & RELATED
0178-0346                                                                                            MATERIALS
EPA-HQ-               E-mail between USEPA and Woodard & Curren from August 5 to 7, 2022             SUPPORTING     3/7/2023
OAR-2019-                                                                                            & RELATED
0178-0347                                                                                            MATERIALS
EPA-HQ-            3 Stack Test Report (10/02/2018) for STERIS, Ltd. (Coon Rapids, MN)               SUPPORTING     3/7/2023
OAR-2019-                                                                                            & RELATED
0178-0348                                                                                            MATERIALS
EPA-HQ-            2 Stack Test Report (03/24/2020) for Medline Industries, Inc. (Waukegan, IL)      SUPPORTING    3/10/2023
OAR-2019-                                                                                            & RELATED
0178-0349                                                                                            MATERIALS
EPA-HQ-            2 J-Pac Medical (Somersworth, NH) Regulated Toxic Air Pollutant Analysis          SUPPORTING    3/10/2023
OAR-2019-                                                                                            & RELATED
0178-0350                                                                                            MATERIALS
EPA-HQ-            2 2021 TRI for AMRC (Irvine, CA)                                                  SUPPORTING    3/10/2023
OAR-2019-                                                                                            & RELATED
0178-0351                                                                                            MATERIALS
EPA-HQ-            3 Stack Test Report (06/24/2013) for American Contract Systems Incorporated       SUPPORTING    3/10/2023
OAR-2019-            (Houston, TX)                                                                   & RELATED
0178-0352                                                                                            MATERIALS
EPA-HQ-            6 Stack Test Report (09/06/2016) for Baxter International Inc. (Mountain Home,    SUPPORTING    3/10/2023
OAR-2019-            AR)                                                                             & RELATED
0178-0353                                                                                            MATERIALS
EPA-HQ-            5 Stack Test Report (11/17/2003) for Johnson & Johnson (San Angelo, TX)           SUPPORTING    3/10/2023
OAR-2019-                                                                                            & RELATED
0178-0354                                                                                            MATERIALS


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EPA-HQ-            1 STERIS (Grand Prairie, TX) Air Permit No. 38690 Amendment Additional            SUPPORTING    3/10/2023
OAR-2019-            Information - Copyrighted                                                       & RELATED
0178-0355                                                                                            MATERIALS
EPA-HQ-            3 Stack Test Report (07/02/2020) for STERIS, Ltd. (El Paso, TX)                   SUPPORTING    3/10/2023
OAR-2019-                                                                                            & RELATED
0178-0356                                                                                            MATERIALS
EPA-HQ-            2 Lemco (Ardmore, OK) 2017 Emissions Inventory Report                             SUPPORTING    3/10/2023
OAR-2019-                                                                                            & RELATED
0178-0357                                                                                            MATERIALS
EPA-HQ-            4 Stack Test Report (07/28/2005) for Midwest Sterilization Corporation (Laredo,   SUPPORTING    3/10/2023
OAR-2019-            TX)                                                                             & RELATED
0178-0358                                                                                            MATERIALS
EPA-HQ-               Becton, Dickinson and Company (Tucson, AZ) BD Class II Permit Application      SUPPORTING    3/10/2023
OAR-2019-             (04/09/2021)                                                                   & RELATED
0178-0359                                                                                            MATERIALS
EPA-HQ-            5 Stack Test Report for the Sotera Health facility in Grand Prairie, TX           SUPPORTING    3/10/2023
OAR-2019-                                                                                            & RELATED
0178-0360                                                                                            MATERIALS
EPA-HQ-            7 Stack Test Report (01/02/2013) for Sotera Health (Santa Teresa, NM)             SUPPORTING    3/10/2023
OAR-2019-                                                                                            & RELATED
0178-0361                                                                                            MATERIALS
EPA-HQ-               Permit correspondence from TCEQ to Steritec, Inc. dated May 14, 2013           SUPPORTING    3/10/2023
OAR-2019-                                                                                            & RELATED
0178-0362                                                                                            MATERIALS
EPA-HQ-            3 Stack Test Report (04/22/2022) for American Contract Systems Inc. (Grimes,      SUPPORTING    3/10/2023
OAR-2019-            IA)                                                                             & RELATED
0178-0363                                                                                            MATERIALS




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EPA-HQ-            4 Stack Test Report (04/19/2022) for American Contract Systems Inc. (North            SUPPORTING   3/10/2023
OAR-2019-            Kansas City, MO). eport of Air Pollution Source Testing of an Ethylene Oxide        & RELATED
0178-0364            Emission-control System Operated by American Contract Systems, Inc. In              MATERIALS
                     North Kansas City, MO On April 18-19, 2022
EPA-HQ-            1 Stack Test Report (07/22/2020) for Becton, Dickinson and Company                    SUPPORTING   3/10/2023
OAR-2019-            (Columbus, NE)                                                                      & RELATED
0178-0365                                                                                                MATERIALS
EPA-HQ-            4 Stack Test Report for the Midwest Sterilization Corporation facility in Jackson,    SUPPORTING   3/10/2023
OAR-2019-            MO                                                                                  & RELATED
0178-0366                                                                                                MATERIALS
EPA-HQ-            1 Inspection report from SDDA for 3M (Brookings, SD) on 05/16/2019                    SUPPORTING   3/10/2023
OAR-2019-                                                                                                & RELATED
0178-0367                                                                                                MATERIALS
EPA-HQ-            2 Stack Test Report (10/02/2017) for Becton, Dickinson and Company (Sandy,            SUPPORTING   3/10/2023
OAR-2019-            UT)                                                                                 & RELATED
0178-0368                                                                                                MATERIALS
EPA-HQ-            1 Stack Test Report for the Sotera Health facility in Salt Lake City, UT              SUPPORTING   3/10/2023
OAR-2019-                                                                                                & RELATED
0178-0369                                                                                                MATERIALS
EPA-HQ-               Permit Documents for the Abbott Laboratories facility in Arecebo, PR               SUPPORTING   3/10/2023
OAR-2019-             (01/15/2016)                                                                       & RELATED
0178-0370                                                                                                MATERIALS
EPA-HQ-               E-mail between USEPA staff re: NAMSA (Northwood, OH) on June 22, 2022              SUPPORTING   3/10/2023
OAR-2019-                                                                                                & RELATED
0178-0371                                                                                                MATERIALS
EPA-HQ-            1 Sterigenics (Marion, AR) PUBLIC - Initial Air Permit Application for New Facility   SUPPORTING   3/10/2023
OAR-2019-            (06/05/2022)                                                                        & RELATED
0178-0372                                                                                                MATERIALS




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EPA-HQ-            5 Stack Test Report (09/19/2003) for Cook, Inc. (Ellettsville, IN)              SUPPORTING    3/10/2023
OAR-2019-                                                                                          & RELATED
0178-0373                                                                                          MATERIALS
EPA-HQ-               Correspondence between USEPA and Andersen Scientific on October 25, 2021     SUPPORTING    3/10/2023
OAR-2019-                                                                                          & RELATED
0178-0374                                                                                          MATERIALS
EPA-HQ-            1 B. Braun (Allentown, PA) Air Quality Modeling Protocol                        SUPPORTING    3/10/2023
OAR-2019-                                                                                          & RELATED
0178-0375                                                                                          MATERIALS
EPA-HQ-            2 Stack Test Report (10/06/2022) for American Contract Systems Inc.             SUPPORTING    3/10/2023
OAR-2019-            (Zelienople, PA)                                                              & RELATED
0178-0376                                                                                          MATERIALS
EPA-HQ-            1 3M (Maplewood, MN) Draft Air Individual Permit Part 70 Reissuance             SUPPORTING    3/10/2023
OAR-2019-            (06/16/2020)                                                                  & RELATED
0178-0377                                                                                          MATERIALS
EPA-HQ-               Initial Performance Test and CMS Performance Evaluation (August 2000) for    SUPPORTING    3/10/2023
OAR-2019-             Medtronic PLC (Villalba, PR)                                                 & RELATED
0178-0378                                                                                          MATERIALS
EPA-HQ-            2 E-mail correspondence between USEPA and Medtronic from February 5 to 12,      SUPPORTING    3/10/2023
OAR-2019-            2021                                                                          & RELATED
0178-0379                                                                                          MATERIALS
EPA-HQ-               E-mail correspondence between Medtronic and MNPCA from August 6, 2019        SUPPORTING    3/10/2023
OAR-2019-             to February 5, 2021                                                          & RELATED
0178-0380                                                                                          MATERIALS
EPA-HQ-            3 Stack Test Report (03/17/2021) for Edward Lifesciences Corp (Añasco, PR)      SUPPORTING    3/10/2023
OAR-2019-                                                                                          & RELATED
0178-0381                                                                                          MATERIALS
EPA-HQ-            5 Stack Test Report (10/10/2017) for Blue Line Sterilization Services LLC       SUPPORTING    3/10/2023
OAR-2019-            (Novato, CA)                                                                  & RELATED
0178-0382                                                                                          MATERIALS


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EPA-HQ-            1 E-mail between MPCA and USEPA from February 10, 2021                           SUPPORTING    3/10/2023
OAR-2019-                                                                                           & RELATED
0178-0383                                                                                           MATERIALS
EPA-HQ-           13 Response to 2021 Section 114 ICR from B. Braun Medical Inc. Allentown in       SUPPORTING    3/10/2023
OAR-2019-            Allentown, PA                                                                  & RELATED
0178-0384                                                                                           MATERIALS
EPA-HQ-            6 Response to 2021 Section 114 ICR from International Sterilization Laboratory   SUPPORTING    3/10/2023
OAR-2019-            in Groveland, FL                                                               & RELATED
0178-0385                                                                                           MATERIALS
EPA-HQ-           44 Response to 2021 Section 114 ICR from Arrow International, Inc. - Asheboro     SUPPORTING    3/10/2023
OAR-2019-            in Asheboro, NC                                                                & RELATED
0178-0386                                                                                           MATERIALS
EPA-HQ-           13 Response to 2021 Section 114 ICR from Sterigenics, LLC - Grand Prairie in      SUPPORTING    3/10/2023
OAR-2019-            Grand Prairie, TX                                                              & RELATED
0178-0387                                                                                           MATERIALS
EPA-HQ-           12 Memorandum - Test Data for Sterilization Chamber Vents, Proposal               SUPPORTING    3/20/2023
OAR-2019-            (11/16/2022)                                                                   & RELATED
0178-0388                                                                                           MATERIALS
EPA-HQ-            1 Memorandum - Test Data for Room Air Emission Sources, Proposal                 SUPPORTING    3/20/2023
OAR-2019-            (11/16/2022)                                                                   & RELATED
0178-0389                                                                                           MATERIALS
EPA-HQ-            2 MACT Floor Analysis for Ethylene Oxide Commercial Sterilization – Chamber      SUPPORTING    3/20/2023
OAR-2019-            Exhaust Vents and Fugitive Room Air Emission Sources Emissions - Proposal      & RELATED
0178-0390                                                                                           MATERIALS
EPA-HQ-               Limited Dataset Memorandum (11/28/2022)                                       SUPPORTING    3/20/2023
OAR-2019-                                                                                           & RELATED
0178-0391                                                                                           MATERIALS
EPA-HQ-               Memorandum to Project File. Declassification of Ethylene Oxide Emitted        SUPPORTING    3/20/2023
OAR-2019-             from Various Emission Points at Commercial Sterilization Facilities.          & RELATED
0178-0392                                                                                           MATERIALS


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EPA-HQ-               Ethylene Oxide Sterilization Chamber Concentration at Commercial               SUPPORTING   3/20/2023
OAR-2019-             Sterilization Facilities                                                       & RELATED
0178-0393                                                                                            MATERIALS
EPA-HQ-               Engineering Studies Report (BD Georgia, 4/30/2020)                             SUPPORTING   3/20/2023
OAR-2019-                                                                                            & RELATED
0178-0394                                                                                            MATERIALS
EPA-HQ-               EPA-SAB-10-007 Risk and Technology Review Risk Assessment Methodologies        SUPPORTING   3/20/2023
OAR-2019-                                                                                            & RELATED
0178-0395                                                                                            MATERIALS
EPA-HQ-            1 EPA's Air Toxics Risk Assessment Library. Volume 1, Appendix D Methodology      SUPPORTING   3/20/2023
OAR-2019-            for Identifying PB-HAP Compounds                                                & RELATED
0178-0396                                                                                            MATERIALS
EPA-HQ-            1 Broadly Applicable Approved Alternative Methods (Alt) 114 for HCl Standards     SUPPORTING   3/20/2023
OAR-2019-            Memorandum (02/22/2016)                                                         & RELATED
0178-0397                                                                                            MATERIALS
EPA-HQ-               Electronic Reporting Requirements for New Source Performance Standards         SUPPORTING   3/20/2023
OAR-2019-             (NSPS) and National Emission Standards for Hazardous Air Pollutants            & RELATED
0178-0398             (NESHAP) Rules                                                                 MATERIALS
EPA-HQ-               Literature Search for Ethylene Oxide Commercial Sterilization Facilities       SUPPORTING   3/20/2023
OAR-2019-                                                                                            & RELATED
0178-0399                                                                                            MATERIALS
EPA-HQ-            2 Startup, Shutdown, and Malfunction Review Memorandum                            SUPPORTING   3/20/2023
OAR-2019-                                                                                            & RELATED
0178-0402                                                                                            MATERIALS
EPA-HQ-               Appendix 1 to the Risk Assessment Report for the Sterigenics Facility in       SUPPORTING   3/20/2023
OAR-2019-             Willowbrook, Illinois                                                          & RELATED
0178-0403                                                                                            MATERIALS
EPA-HQ-               Email from M. Biondi, AAT, to A. Hawkins, EPA. Information on control system   SUPPORTING   3/20/2023
OAR-2019-             media costs. November 8, 2018.                                                 & RELATED
0178-0404                                                                                            MATERIALS


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EPA-HQ-               Email from R.Nicolli, AAT, to G.Queiroz, EPA. Information on dry bed             SUPPORTING    3/20/2023
OAR-2019-             scrubbers. January 03, 2020.                                                     & RELATED
0178-0405                                                                                              MATERIALS
EPA-HQ-               Email from D.Howe, Cosmed, to K.Schaffner, RTI. Responses to RTI                 SUPPORTING    3/20/2023
OAR-2019-             clarification questions. December 12, 2019.                                      & RELATED
0178-0406                                                                                              MATERIALS
EPA-HQ-               Email from J.Witt, EPA, to G.Queiroz, EPA. Information on Midwest Sterilizers    SUPPORTING    3/20/2023
OAR-2019-             Corp. March 17, 2021.                                                            & RELATED
0178-0407                                                                                              MATERIALS
EPA-HQ-               Letter from M.Zhuang, EOSA, to M.Koerber, EPA. Inputs on emission fractions SUPPORTING         3/20/2023
OAR-2019-             for fugitive/room air emissions. February, 08, 2022.                        & RELATED
0178-0408                                                                                         MATERIALS
EPA-HQ-               Meeting Minutes for Discussion with Sterigenics Representatives on April 8,      SUPPORTING    3/20/2023
OAR-2019-             2021                                                                             & RELATED
0178-0409                                                                                              MATERIALS
EPA-HQ-               Meeting Minutes for Discussion with AdvaMed Representatives on April 20,         SUPPORTING    3/20/2023
OAR-2019-             2021                                                                             & RELATED
0178-0410                                                                                              MATERIALS
EPA-HQ-               Meeting Minutes for Discussion with AdvaMed Representatives on July 27,          SUPPORTING    3/20/2023
OAR-2019-             2021                                                                             & RELATED
0178-0411                                                                                              MATERIALS
EPA-HQ-            1 Meeting Minutes for Discussion with AdvaMed Representatives on March 8,           SUPPORTING    3/20/2023
OAR-2019-            2022                                                                              & RELATED
0178-0412                                                                                              MATERIALS
EPA-HQ-               Meeting Minutes for Discussion with Medline Representatives on April 13,         SUPPORTING    3/20/2023
OAR-2019-             2021                                                                             & RELATED
0178-0413                                                                                              MATERIALS
EPA-HQ-               Meeting Minutes for Discussion with Medline Representatives on July 15,          SUPPORTING    3/20/2023
OAR-2019-             2021                                                                             & RELATED
0178-0414                                                                                              MATERIALS


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EPA-HQ-               Meeting Minutes for Discussion with STERIS Representatives on April 26, 2021           SUPPORTING    3/20/2023
OAR-2019-                                                                                                    & RELATED
0178-0415                                                                                                    MATERIALS
EPA-HQ-               Site Visit Request Letter for Sterigenics in Charlotte, NC                             SUPPORTING    3/20/2023
OAR-2019-                                                                                                    & RELATED
0178-0416                                                                                                    MATERIALS
EPA-HQ-               Site Visit Request Letter for Sterilization Services of Virginia in Richmond, VA       SUPPORTING    3/20/2023
OAR-2019-                                                                                                    & RELATED
0178-0417                                                                                                    MATERIALS
EPA-HQ-               Site Visit Report for Sterigenics facility in Charlotte, NC                            SUPPORTING    3/20/2023
OAR-2019-                                                                                                    & RELATED
0178-0418                                                                                                    MATERIALS
EPA-HQ-               Site Visit Report for Sterilization Services of Virginia facility in Richmond, VA      SUPPORTING    3/20/2023
OAR-2019-                                                                                                    & RELATED
0178-0419                                                                                                    MATERIALS
EPA-HQ-               Email from Banon, Y., EPA Region 2, to J.Witt, U.S. EPA. Release parameters            SUPPORTING    3/20/2023
OAR-2019-             for Long Island Sterilization facility. February 11, 2021. EtO Usage and stack         & RELATED
0178-0420             parameters for Cosmed NJ facility and Steris NJ facility.                              MATERIALS
EPA-HQ-            2 Memorandum - In-stack Method Detection Limits of Optically Enhanced FTIR                SUPPORTING    3/20/2023
OAR-2019-                                                                                                    & RELATED
0178-0421                                                                                                    MATERIALS
EPA-HQ-            3 Small Business Advocacy Review Panel - Final Report                                     SUPPORTING    3/20/2023
OAR-2019-                                                                                                    & RELATED
0178-0422                                                                                                    MATERIALS
EPA-HQ-               WebFIRE Template Version 1.0 (July 14, 2016)                                           SUPPORTING    3/20/2023
OAR-2019-                                                                                                    & RELATED
0178-0423                                                                                                    MATERIALS
EPA-HQ-               ATSDR 2022. Toxicological Profile for Ethylene Oxide. (August 2022)                    SUPPORTING    3/23/2023
OAR-2019-                                                                                                    & RELATED
0178-0424                                                                                                    MATERIALS


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EPA-HQ-              ASTA 2009. Ethylene Oxide White Paper. (2009)                                     SUPPORTING    3/23/2023
OAR-2019-                                                                                              & RELATED
0178-0425                                                                                              MATERIALS
EPA-HQ-              Aron-Dine et al. 2013. The RAND Health Insurance Experiment, Three Decades        SUPPORTING    3/23/2023
OAR-2019-            Later. (2013)                                                                     & RELATED
0178-0426                                                                                              MATERIALS
EPA-HQ-              Arrow et al. 2013. Benefit-Cost Analysis in Environmental, Health, and Safety     SUPPORTING    3/23/2023
OAR-2019-            Regulation. (1996)                                                                & RELATED
0178-0427                                                                                              MATERIALS
EPA-HQ-              CDC 2016. Low-Temperature Sterilization Technologies Guideline for                SUPPORTING    3/23/2023
OAR-2019-            Disinfection and Sterilization in Healthcare Facilities (2008). (09/18/2016)      & RELATED
0178-0428                                                                                              MATERIALS
EPA-HQ-              CRS 2015. The Medical Device Excise Tax: Economic Analysis. (6/18/2015)           SUPPORTING    3/23/2023
OAR-2019-                                                                                              & RELATED
0178-0429                                                                                              MATERIALS
EPA-HQ-              Donahoe 2021. Estimates of Medical Device Spending in the United States.          SUPPORTING    3/23/2023
OAR-2019-            (June 2021)                                                                       & RELATED
0178-0430                                                                                              MATERIALS
EPA-HQ-              Dvorak 2015. Validating Sterilization Processes by Ethylene Oxide.                SUPPORTING    3/23/2023
OAR-2019-            (10/18/2015)                                                                      & RELATED
0178-0431                                                                                              MATERIALS
EPA-HQ-              Ellis et al. 2017. Health Care Demand Elasticities by Type of Service.            SUPPORTING    3/23/2023
OAR-2019-            (September 2017)                                                                  & RELATED
0178-0432                                                                                              MATERIALS
EPA-HQ-              EOSA 2018. The Benefits of Ethylene Oxide Sterilization. (2018)                   SUPPORTING    3/23/2023
OAR-2019-                                                                                              & RELATED
0178-0433                                                                                              MATERIALS




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EPA-HQ-              EOSA 2022. Comments on Reconsideration of the 2020 National Emission    SUPPORTING               3/23/2023
OAR-2019-            Standards for Hazardous Air Pollutants (NESHAP): Miscellaneous Organic  & RELATED
0178-0434            Chemical (MON) Manufacturing Residual Risk and Technology Review for    MATERIALS
                     Ethylene Oxide (EtO) (Docket Number EPA-HQ-OAR-2018-0746). (03/24/2022)


EPA-HQ-              FDA 2014. Sterilization Process Controls. (2014)                                   SUPPORTING    3/23/2023
OAR-2019-                                                                                               & RELATED
0178-0435                                                                                               MATERIALS
EPA-HQ-              FDA 2019a. FDA Executive Summary Prepared for the November 6-7, 2019               SUPPORTING    3/23/2023
OAR-2019-            Meeting of the General Hospital and Personal Use Devices Panel of the              & RELATED
0178-0436            Medical Devices Advisory Committee on Reduction of Ethylene Oxide                  MATERIALS
                     Sterilization Emissions for Medical Devices and Potential for Utilizing Other
                     Sterilization Modalities. (11/07/2019)
EPA-HQ-              FDA 2019b. Ethylene Oxide Sterilization for Medical Devices. (2019)                SUPPORTING    3/23/2023
OAR-2019-                                                                                               & RELATED
0178-0437                                                                                               MATERIALS
EPA-HQ-              FDA 2019c. Center for Devices and Radiological Health Ethylene Oxide               SUPPORTING    3/23/2023
OAR-2019-            Sterilization Master File Pilot Program. (11/26/2019)                              & RELATED
0178-0438                                                                                               MATERIALS
EPA-HQ-              FDA 2022. Sterilization for Medical Devices (2022)                                 SUPPORTING    3/23/2023
OAR-2019-                                                                                               & RELATED
0178-0439                                                                                               MATERIALS
EPA-HQ-              GIPA 2017. A Comparison of Gamma, E-beam, X-ray and Ethylene Oxide                 SUPPORTING    3/23/2023
OAR-2019-            Technologies for the Industrial Sterilization of Medical Devices and Healthcare    & RELATED
0178-0440            Products. (8/31/2017)                                                              MATERIALS
EPA-HQ-              ITA 2016. 2016 Top Markets Report – Medical Devices. (May 2016)                    SUPPORTING    3/23/2023
OAR-2019-                                                                                               & RELATED
0178-0441                                                                                               MATERIALS




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EPA-HQ-              Lambert & Martin 2013. Sterilization of implants and devices. (2013)             SUPPORTING    3/23/2023
OAR-2019-                                                                                             & RELATED
0178-0442                                                                                             MATERIALS
EPA-HQ-              Liu 2006. Price and income elasticity of the demand for health insurance and     SUPPORTING    3/23/2023
OAR-2019-            health care services: a critical review of the literature. (3/24/2006)           & RELATED
0178-0443                                                                                             MATERIALS
EPA-HQ-              MDDI 1998. EtO sterilization: Principles of process design. (December 1998)      SUPPORTING    3/23/2023
OAR-2019-                                                                                             & RELATED
0178-0444                                                                                             MATERIALS
EPA-HQ-              MDDI 2001. Optimizing EtO sterilization. (August 2001)                           SUPPORTING    3/23/2023
OAR-2019-                                                                                             & RELATED
0178-0445                                                                                             MATERIALS
EPA-HQ-              Medpac 2017. Chapter 7: An overview of the medical device industry. Report       SUPPORTING    3/23/2023
OAR-2019-            to the Congress: Medicare and the Health Care Delivery System. (June 2017)       & RELATED
0178-0446                                                                                             MATERIALS
EPA-HQ-              OSHA 2002. OSHA fact sheet on ethylene oxide. (2002)                             SUPPORTING    3/23/2023
OAR-2019-                                                                                             & RELATED
0178-0447                                                                                             MATERIALS
EPA-HQ-              OSHA 2005. Regulatory review of the Occupational Safety and Health               SUPPORTING    3/23/2023
OAR-2019-            Administration's ethylene oxide standard [29 CFR 1910.1047]. (March 2005)        & RELATED
0178-0448                                                                                             MATERIALS
EPA-HQ-              OMB 2015. 2015 Report to Congress on the Benefits and Costs of Federal           SUPPORTING    3/23/2023
OAR-2019-            Regulations and Agency Compliance with the Unfunded Mandates Reform              & RELATED
0178-0449            Act. (2015)                                                                      MATERIALS
EPA-HQ-              Schmalansee & Stavins 2011. A guide to economic and policy analysis of EPA's     SUPPORTING    3/23/2023
OAR-2019-            Transport Rule. (March 2011)                                                     & RELATED
0178-0450                                                                                             MATERIALS
EPA-HQ-              Scoogins & Weinberg 2017. Healthcare Coinsurance Elasticity Coefficient          SUPPORTING    3/23/2023
OAR-2019-            Estimation Using Monthly Cross‐sectional, Time‐series Claims Data.               & RELATED
0178-0451            (3/30/2016)                                                                      MATERIALS


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EPA-HQ-              Shintani 2017. Ethylene oxide gas sterilization of medical devices. (3/25/2015)   SUPPORTING   3/23/2023
OAR-2019-                                                                                              & RELATED
0178-0452                                                                                              MATERIALS
EPA-HQ-              Sterigenics 2018. Stored Energy Device Safety Assessment for Ethylene Oxide       SUPPORTING   3/23/2023
OAR-2019-            Sterilization. (August 2018)                                                      & RELATED
0178-0453                                                                                              MATERIALS
EPA-HQ-              Sterigenics 2019. Ethylene Oxide Sterilization. (2019)                            SUPPORTING   3/23/2023
OAR-2019-                                                                                              & RELATED
0178-0454                                                                                              MATERIALS
EPA-HQ-              Steris 2019. Anatomy of an ethylene oxide sterilizer. (June 2020)                 SUPPORTING   3/23/2023
OAR-2019-                                                                                              & RELATED
0178-0455                                                                                              MATERIALS
EPA-HQ-              Steris 2019b. Anatomy of an ethylene oxide sterilization process. (February       SUPPORTING   3/23/2023
OAR-2019-            2020)                                                                             & RELATED
0178-0456                                                                                              MATERIALS
EPA-HQ-              EPA 2005. Supplemental Guidance for Assessing Susceptibility from Early-Life      SUPPORTING   3/23/2023
OAR-2019-            Exposure to Carcinogens. (March 2005)                                             & RELATED
0178-0457                                                                                              MATERIALS
EPA-HQ-              EPA 2016. Evaluation of the Inhalation Carcinogenicity of Ethylene Oxide          SUPPORTING   3/23/2023
OAR-2019-            (CASRN 75-21-8) In Support of Summary Information on the Integrated Risk          & RELATED
0178-0458            Information System (IRIS). National Center for Environmental Assessment,          MATERIALS
                     Office of Research and Development. (December 2016)
EPA-HQ-              EPA 2018. Ethylene Oxide. Health Effects Notebook for Hazardous Air               SUPPORTING   3/23/2023
OAR-2019-            Pollutants. (December 2018)                                                       & RELATED
0178-0459                                                                                              MATERIALS
EPA-HQ-              Meeting Minutes for Discussion with Becton Dickinson Representatives on           SUPPORTING   3/29/2023
OAR-2019-            June 8, 2021                                                                      & RELATED
0178-0460                                                                                              MATERIALS




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EPA-HQ-              EtO Compliance Report Draft Template - Initial Compliance Report                SUPPORTING    3/29/2023
OAR-2019-                                                                                            & RELATED
0178-0462                                                                                            MATERIALS
EPA-HQ-              EtO Compliance Report Draft Template - Summary Report                           SUPPORTING    3/29/2023
OAR-2019-                                                                                            & RELATED
0178-0463                                                                                            MATERIALS
EPA-HQ-              User's Guide for the AMS/EPA Regulatory Model (AERMOD)                          SUPPORTING    3/29/2023
OAR-2019-                                                                                            & RELATED
0178-0464                                                                                            MATERIALS
EPA-HQ-              AERMOD Implementation Guide                                                     SUPPORTING    3/29/2023
OAR-2019-                                                                                            & RELATED
0178-0465                                                                                            MATERIALS
EPA-HQ-              Prioritized Chronic Dose-Response Values (9/29/2021)                            SUPPORTING    3/29/2023
OAR-2019-                                                                                            & RELATED
0178-0466                                                                                            MATERIALS
EPA-HQ-              Acute Dose-Response Values for Screening Risk Assessments (8/31/2021)           SUPPORTING    3/29/2023
OAR-2019-                                                                                            & RELATED
0178-0467                                                                                            MATERIALS
EPA-HQ-              Performance Specification 19 Appendix B - Preparation and Certification of      SUPPORTING    3/30/2023
OAR-2019-            Ethylene Oxide Gas Standards                                                    & RELATED
0178-0468                                                                                            MATERIALS
EPA-HQ-              Technical Support Document for Proposed Rule - Industry Profile, Review of    SUPPORTING      3/30/2023
OAR-2019-            Unregulated Emissions, CAA Section 112(d)(6) Technology Review, and CAA       & RELATED
0178-0469            Section 112(f) Risk Assessment for the Ethylene Oxide Emissions Standards for MATERIALS
                     Sterilization Facilities NESHAP
EPA-HQ-              Costing Workbook for Ethylene Oxide Emissions Standards for Sterilization       SUPPORTING    3/30/2023
OAR-2019-            Facilities Rule Proposal                                                        & RELATED
0178-0470                                                                                            MATERIALS




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EPA-HQ-               Risk and Technology Review – Analysis of Demographic Factors for                  SUPPORTING   3/30/2023
OAR-2019-             Populations Living Near Commercial Sterilization Facilities (12/11/2022)          & RELATED
0178-0471                                                                                               MATERIALS
EPA-HQ-               Cost Memorandum Workbook                                                          SUPPORTING   3/30/2023
OAR-2019-                                                                                               & RELATED
0178-0472                                                                                               MATERIALS
EPA-HQ-            6 Memorandum - In-stack Method Detection Limits of Ethylene Oxide for Cavity         SUPPORTING   3/30/2023
OAR-2019-            Ringdown Spectroscopy Instrument (11/7/2023)                                       & RELATED
0178-0473                                                                                               MATERIALS
EPA-HQ-            1 Memorandum - In-stack Method Detection Limits of Method 18/CARB 431 in             SUPPORTING   3/30/2023
OAR-2019-            Commercial Sterilization (11/4/2022)                                               & RELATED
0178-0474                                                                                               MATERIALS
EPA-HQ-               Test Report - Sterigenics Willowbrook, IL (10/18/2018)                            SUPPORTING   3/30/2023
OAR-2019-                                                                                               & RELATED
0178-0475                                                                                               MATERIALS
EPA-HQ-               Memorandum - Approaches for Determining Compliance with Proposed                  SUPPORTING    4/7/2023
OAR-2019-             Subpart O, Ethylene Oxide (EtO) Emission Standards for Sterilization Facilities   & RELATED
0178-0476             (3/20/2023)                                                                       MATERIALS
EPA-HQ-            2 Evaluation of the Inhalation Carcinogenicity of Ethylene Oxide                     SUPPORTING   3/20/2023
OAR-2019-                                                                                               & RELATED
0178-0477                                                                                               MATERIALS
EPA-HQ-            2 EPA's Final Plan for Periodic Retrospective Reviews, August 2011                   SUPPORTING   3/20/2023
OAR-2019-                                                                                               & RELATED
0178-0478                                                                                               MATERIALS
EPA-HQ-            1 Memorandum - Building downwash for Ethylene Oxide Commercial Sterilizers           SUPPORTING   3/24/2023
OAR-2019-            Source Category (2/15/2022)                                                        & RELATED
0178-0479                                                                                               MATERIALS
EPA-HQ-            1 Development of Ethylene Oxide Usage Fractions for Ethylene Oxide                   SUPPORTING   3/30/2023
OAR-2019-            Commercial Sterilization - Proposal                                                & RELATED
0178-0480                                                                                               MATERIALS


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EPA-HQ-            1 Supporting Statement and Burden Estimate for Subpart O rule proposal              SUPPORTING    3/30/2023
OAR-2019-                                                                                              & RELATED
0178-0481                                                                                              MATERIALS
EPA-HQ-            3 "Residual Risk Assessment for the Commercial Sterilization Facilities Source      SUPPORTING    3/30/2023
OAR-2019-            Category in Support of the 2022 Risk and Technology Review Proposed Rule          & RELATED
0178-0482            Appendix 1 (pg. 41, 226). Appendix 10 (pg. 137). Appendix 11 - Site-Specific      MATERIALS
                     Human Health Multipathway Residual Risk Assessment Report (?) (pg. 56)"


EPA-HQ-            1 Regulatory Impact Analysis for the Proposed National Emission Standards for       SUPPORTING    3/30/2023
OAR-2019-            Hazardous Air Pollutants: Ethylene Oxide Commercial Sterilization and             & RELATED
0178-0483            Fumigation Operations                                                             MATERIALS
EPA-HQ-            6 December 2019 Questionnaire Survey Instructions, Response Form, and               SUPPORTING    3/20/2023
OAR-2019-            Company Letters                                                                   & RELATED
0178-0484                                                                                              MATERIALS
EPA-HQ-            6 September 2021 Section 114 ICR Letter to Ethylene Oxide Commercial                SUPPORTING    3/20/2023
OAR-2019-            Sterilization Facilities                                                          & RELATED
0178-0485                                                                                              MATERIALS
EPA-HQ-               Redline/Strikeout for proposed amendments to 40 CFR 63 Subpart O:                SUPPORTING    4/13/2023
OAR-2019-             Ethylene Oxide Emissions Standards for Sterilization Facilities                  & RELATED
0178-0486                                                                                              MATERIALS
EPA-HQ-            2 Section 114 Database and Documentation Memorandum                                 SUPPORTING    3/20/2023
OAR-2019-                                                                                              & RELATED
0178-0487                                                                                              MATERIALS
EPA-HQ-           12 Memorandum - Test Data for Aeration Room Vents and Chamber Exhaust                SUPPORTING    3/20/2023
OAR-2019-            Vents, Proposal (11/22/2022)                                                      & RELATED
0178-0488                                                                                              MATERIALS
EPA-HQ-               Performance Specification 19 - Performance Specifications and Test               SUPPORTING    4/14/2023
OAR-2019-             Procedures for Ethylene Oxide (EtO) Continuous Monitoring Systems                & RELATED
0178-0490                                                                                              MATERIALS




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EPA-HQ-               Performance Specification 19 (PS-19) Appendix A - Standard Addition         SUPPORTING    4/14/2023
OAR-2019-             Procedures                                                                  & RELATED
0178-0491                                                                                         MATERIALS
EPA-HQ-               Procedure 7 Quality Assurance Requirements for Gaseous Ethylene Oxide       SUPPORTING    4/14/2023
OAR-2019-             (EtO) Continuous Monitoring Systems Used for Compliance Determination       & RELATED
0178-0492                                                                                         MATERIALS
EPA-HQ-            1 Comment submitted by American Spice Trade Association (ASTA)                 PUBLIC        4/18/2023
OAR-2019-                                                                                         SUBMISSIONS
0178-0494
EPA-HQ-            1 Comment submitted by Advanced Medical Technology Association                 PUBLIC        4/17/2023
OAR-2019-            (AdvaMed)                                                                    SUBMISSIONS
0178-0495
EPA-HQ-            1 Comment submitted by The Ethylene Oxide Sterilization Association, Inc.      PUBLIC        4/21/2023
OAR-2019-            (EOSA)                                                                       SUBMISSIONS
0178-0496
EPA-HQ-            1 Comment submitted by Elite Spice, Inc.                                       PUBLIC        4/21/2023
OAR-2019-                                                                                         SUBMISSIONS
0178-0497
EPA-HQ-            1 Comment submitted by Sterigenics U.S., LLC                                   PUBLIC        4/24/2023
OAR-2019-                                                                                         SUBMISSIONS
0178-0498
EPA-HQ-               Comment submitted by Martha Lynne                                           PUBLIC        4/19/2023
OAR-2019-                                                                                         SUBMISSIONS
0178-0499
EPA-HQ-            1 Comment submitted by Joseph Payne                                            PUBLIC        4/28/2023
OAR-2019-                                                                                         SUBMISSIONS
0178-0500
EPA-HQ-            1 Comment submitted by Michael Gomski                                          PUBLIC        4/28/2023
OAR-2019-                                                                                         SUBMISSIONS
0178-0501


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EPA-HQ-            1 Comment submitted by Baxter Healthcare Corporation                        PUBLIC         5/1/2023
OAR-2019-                                                                                      SUBMISSIONS
0178-0502
EPA-HQ-            1 Comment submitted by Michael Gomski                                       PUBLIC         5/1/2023
OAR-2019-                                                                                      SUBMISSIONS
0178-0503
EPA-HQ-            1 Comment submitted by Dave Arndt                                           PUBLIC         5/3/2023
OAR-2019-                                                                                      SUBMISSIONS
0178-0504
EPA-HQ-            1 Comment submitted by Raul Garza                                           PUBLIC         5/5/2023
OAR-2019-                                                                                      SUBMISSIONS
0178-0505
EPA-HQ-            1 Comment submitted by Health Industry Distributors Association (HIDA)      PUBLIC         5/5/2023
OAR-2019-                                                                                      SUBMISSIONS
0178-0506
EPA-HQ-            1 Comment submitted by Lynn Gedvilas                                        PUBLIC         5/3/2023
OAR-2019-                                                                                      SUBMISSIONS
0178-0507
EPA-HQ-            1 Comment submitted by Amy Frantz                                           PUBLIC         5/8/2023
OAR-2019-                                                                                      SUBMISSIONS
0178-0508
EPA-HQ-            1 Comment submitted by Alliance of Nurses for Healthy Environments (ANHE)   PUBLIC         5/9/2023
OAR-2019-                                                                                      SUBMISSIONS
0178-0509
EPA-HQ-            1 Comment submitted by Marilyn Oser                                         PUBLIC        5/15/2023
OAR-2019-                                                                                      SUBMISSIONS
0178-0510
EPA-HQ-            1 Comment submitted by J. Barry Gurdin                                      PUBLIC        5/15/2023
OAR-2019-                                                                                      SUBMISSIONS
0178-0511


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EPA-HQ-               National Emission Standards for Hazardous Air Pollutants: Ethylene Oxide           PROPOSED       6/1/2023
OAR-2019-             Emissions Standards for Sterilization Facilities Residual Risk and Technology      RULES
0178-0512             Review; Extension of Comment Period
EPA-HQ-            1 Comment submitted by Ethylene Oxide Sterilization Association, Inc. (EOSA)          PUBLIC        5/31/2023
OAR-2019-                                                                                                SUBMISSIONS
0178-0513
EPA-HQ-            1 Comment submitted by Daniel Wolk                                                    PUBLIC         6/3/2023
OAR-2019-                                                                                                SUBMISSIONS
0178-0514
EPA-HQ-            2 Comment submitted by Jeffco EDC                                                     PUBLIC         6/1/2023
OAR-2019-                                                                                                SUBMISSIONS
0178-0515
EPA-HQ-            9 Comment submitted by Climate Change Truth Research Inc.                             PUBLIC        5/25/2023
OAR-2019-                                                                                                SUBMISSIONS
0178-0516
EPA-HQ-            2 Comment submitted by Linda E. O'Kelley                                              PUBLIC        5/30/2023
OAR-2019-                                                                                                SUBMISSIONS
0178-0517
EPA-HQ-            1 Comment submitted by Senator Pamela Beidle                                          PUBLIC         6/7/2023
OAR-2019-                                                                                                SUBMISSIONS
0178-0518
EPA-HQ-            1 Comment submitted by Alabama Department of Environmental Management                 PUBLIC         6/7/2023
OAR-2019-            (ADEM)                                                                              SUBMISSIONS
0178-0519
EPA-HQ-            1 Comment submitted by Alex Plotkin                                                   PUBLIC         6/7/2023
OAR-2019-                                                                                                SUBMISSIONS
0178-0520
EPA-HQ-            1 Comment submitted by Airgas Exploratory Products                                    PUBLIC         6/9/2023
OAR-2019-                                                                                                SUBMISSIONS
0178-0521


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EPA-HQ-            1 Comment submitted by Healthcare Industry Resilience Collaborative (HIRC)      PUBLIC         6/9/2023
OAR-2019-                                                                                          SUBMISSIONS
0178-0522
EPA-HQ-            1 Comment submitted by National Tribal Air Association (NTAA)                   PUBLIC         6/9/2023
OAR-2019-                                                                                          SUBMISSIONS
0178-0523
EPA-HQ-            1 Comment submitted by American College of Occupational and Environmental       PUBLIC        6/12/2023
OAR-2019-            Medicine (ACOEM)                                                              SUBMISSIONS
0178-0524
EPA-HQ-            1 Comment submitted by East Metro for Social Justice (EM4SJ)                    PUBLIC        6/13/2023
OAR-2019-                                                                                          SUBMISSIONS
0178-0525
EPA-HQ-            1 Comment submitted by Webb County, Texas                                       PUBLIC        6/14/2023
OAR-2019-                                                                                          SUBMISSIONS
0178-0526
EPA-HQ-            1 Comment submitted by Sustainable Newton (SN)                                  PUBLIC        6/15/2023
OAR-2019-                                                                                          SUBMISSIONS
0178-0527
EPA-HQ-            1 Comment submitted by Katie Owens                                              PUBLIC         6/8/2023
OAR-2019-                                                                                          SUBMISSIONS
0178-0528
EPA-HQ-            2 Comment submitted by Colorado Women's Alliance                                PUBLIC         6/9/2023
OAR-2019-                                                                                          SUBMISSIONS
0178-0529
EPA-HQ-            1 Comment submitted by East Metro for Social Justice (EM4SJ)                    PUBLIC        6/15/2023
OAR-2019-                                                                                          SUBMISSIONS
0178-0530
EPA-HQ-            2 Comment submitted by Joseph Payne                                             PUBLIC        6/18/2023
OAR-2019-                                                                                          SUBMISSIONS
0178-0531


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EPA-HQ-            1 Comment submitted by Society of Interventional Radiology (SIR)               PUBLIC        6/19/2023
OAR-2019-                                                                                         SUBMISSIONS
0178-0532
EPA-HQ-            1 Comment submitted by BioPhorum EtO Response Team (BioPhorum)                 PUBLIC        6/15/2023
OAR-2019-                                                                                         SUBMISSIONS
0178-0533
EPA-HQ-            1 Comment submitted by Georgia Environmental Protection Division               PUBLIC        6/21/2023
OAR-2019-                                                                                         SUBMISSIONS
0178-0534
EPA-HQ-            1 Comment submitted by Thomas Hesterley                                        PUBLIC        6/22/2023
OAR-2019-                                                                                         SUBMISSIONS
0178-0535
EPA-HQ-            1 Comment submitted by National Association of Clean Air Agencies (NACAA)      PUBLIC        6/22/2023
OAR-2019-                                                                                         SUBMISSIONS
0178-0536
EPA-HQ-            1 Comment submitted by Theodosia Wade                                          PUBLIC        6/22/2023
OAR-2019-                                                                                         SUBMISSIONS
0178-0537
EPA-HQ-            1 Comment submitted by Farah Zuberi                                            PUBLIC        6/23/2023
OAR-2019-                                                                                         SUBMISSIONS
0178-0538
EPA-HQ-            1 Comment submitted by Federation of American Scientists (FAS)                 PUBLIC        6/23/2023
OAR-2019-                                                                                         SUBMISSIONS
0178-0539
EPA-HQ-            1 Comment submitted by Colorado Small Business Alliance et al                  PUBLIC        6/19/2023
OAR-2019-                                                                                         SUBMISSIONS
0178-0540
EPA-HQ-            1 Comment submitted by Office of Advocacy, U.S. Small Business                 PUBLIC        6/23/2023
OAR-2019-            Administration (SBA)                                                         SUBMISSIONS
0178-0541


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EPA-HQ-            1 Comment submitted by Colleen McGowan                                   PUBLIC        6/24/2023
OAR-2019-                                                                                   SUBMISSIONS
0178-0543
EPA-HQ-            1 Comment submitted by Chris Martin                                      PUBLIC        6/25/2023
OAR-2019-                                                                                   SUBMISSIONS
0178-0544
EPA-HQ-            1 Comment submitted by Rebecca Falce                                     PUBLIC        6/27/2023
OAR-2019-                                                                                   SUBMISSIONS
0178-0545
EPA-HQ-            1 Comment submitted by LESNI A/S                                         PUBLIC        6/26/2023
OAR-2019-                                                                                   SUBMISSIONS
0178-0546
EPA-HQ-            1 Anonymous public comment                                               PUBLIC        6/26/2023
OAR-2019-                                                                                   SUBMISSIONS
0178-0547
EPA-HQ-            1 Comment submitted by Healthcare Supply Chain Association (HSCA)        PUBLIC        6/26/2023
OAR-2019-                                                                                   SUBMISSIONS
0178-0548
EPA-HQ-            1 Comment submitted by Bernadette Rose Smith                             PUBLIC        6/26/2023
OAR-2019-                                                                                   SUBMISSIONS
0178-0549
EPA-HQ-            1 Comment submitted by Bio Nebraska                                      PUBLIC        6/26/2023
OAR-2019-                                                                                   SUBMISSIONS
0178-0550
EPA-HQ-            2 Comment submitted by Gerald Buford                                     PUBLIC        6/21/2023
OAR-2019-                                                                                   SUBMISSIONS
0178-0551
EPA-HQ-            1 Comment submitted by Pennsylvania Department of Environmental          PUBLIC        6/26/2023
OAR-2019-            Protection (DEP)                                                       SUBMISSIONS
0178-0552


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EPA-HQ-            1 Comment submitted by Medical Alley                                         PUBLIC        6/26/2023
OAR-2019-                                                                                       SUBMISSIONS
0178-0553
EPA-HQ-            1 Comment submitted by Steri-Tech, Inc.                                      PUBLIC        6/26/2023
OAR-2019-                                                                                       SUBMISSIONS
0178-0554
EPA-HQ-            1 Comment submitted by HealthCare Institute of New Jersey (HINJ)             PUBLIC        6/26/2023
OAR-2019-                                                                                       SUBMISSIONS
0178-0555
EPA-HQ-            1 Comment submitted by Medical Device Manufacturers Association (MDMA)       PUBLIC        6/26/2023
OAR-2019-                                                                                       SUBMISSIONS
0178-0556
EPA-HQ-            3 Comment submitted by Daniels Welchester Neighborhood Association           PUBLIC        6/26/2023
OAR-2019-                                                                                       SUBMISSIONS
0178-0557
EPA-HQ-            1 Comment submitted by Mille Lacs Band of Ojibwe (Band)                      PUBLIC        6/23/2023
OAR-2019-                                                                                       SUBMISSIONS
0178-0558
EPA-HQ-            1 Comment submitted by Life Science Tennessee                                PUBLIC        6/27/2023
OAR-2019-                                                                                       SUBMISSIONS
0178-0559
EPA-HQ-            1 Comment submitted by Michigan Biosciences Industry Association (MichBio)   PUBLIC        6/27/2023
OAR-2019-                                                                                       SUBMISSIONS
0178-0560
EPA-HQ-            1 Comment submitted by Biocom California                                     PUBLIC        6/27/2023
OAR-2019-                                                                                       SUBMISSIONS
0178-0561
EPA-HQ-            1 Comment submitted by League of Women Voters United States (LWV)            PUBLIC        6/27/2023
OAR-2019-                                                                                       SUBMISSIONS
0178-0562


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EPA-HQ-            1 Comment submitted by Hemant Saria and Dorota Mazurek                      PUBLIC        6/27/2023
OAR-2019-                                                                                      SUBMISSIONS
0178-0563
EPA-HQ-            1 Comment submitted by Life Sciences Pennsylvania                           PUBLIC        6/27/2023
OAR-2019-                                                                                      SUBMISSIONS
0178-0564
EPA-HQ-            1 Comment submitted by Tennessee Department of Environment and              PUBLIC        6/27/2023
OAR-2019-            Conservation                                                              SUBMISSIONS
0178-0565
EPA-HQ-            1 Comment submitted by Medline Industries, LP                               PUBLIC        6/27/2023
OAR-2019-                                                                                      SUBMISSIONS
0178-0566
EPA-HQ-            1 Comment submitted by BioUtah                                              PUBLIC        6/27/2023
OAR-2019-                                                                                      SUBMISSIONS
0178-0567
EPA-HQ-            1 Comment submitted by Thermo Fisher Scientific                             PUBLIC        6/26/2023
OAR-2019-                                                                                      SUBMISSIONS
0178-0568
EPA-HQ-            1 Comment submitted by MedTech Association                                  PUBLIC        6/27/2023
OAR-2019-                                                                                      SUBMISSIONS
0178-0569
EPA-HQ-            1 Comment submitted by Tennessee Attorney General, et al.                   PUBLIC        6/27/2023
OAR-2019-                                                                                      SUBMISSIONS
0178-0570
EPA-HQ-            1 Comment submitted by North Carolina Biosciences Organization (ncbio)      PUBLIC        6/27/2023
OAR-2019-                                                                                      SUBMISSIONS
0178-0571
EPA-HQ-            1 Comment submitted by EDan-SA                                              PUBLIC        6/27/2023
OAR-2019-                                                                                      SUBMISSIONS
0178-0572


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EPA-HQ-            1 Comment submitted by Montrose Environmental Group, Inc.                      PUBLIC        6/27/2023
OAR-2019-                                                                                         SUBMISSIONS
0178-0573
EPA-HQ-            1 Comment submitted by Florida Medical Manufacturers Consortium (FMMC)         PUBLIC        6/27/2023
OAR-2019-                                                                                         SUBMISSIONS
0178-0574
EPA-HQ-            1 Comment submitted by Illinois Biotechnology Innovation Organization (iBIO)   PUBLIC        6/27/2023
OAR-2019-                                                                                         SUBMISSIONS
0178-0575
EPA-HQ-            1 Comment submitted by T. Wilson                                               PUBLIC        6/27/2023
OAR-2019-                                                                                         SUBMISSIONS
0178-0576
EPA-HQ-            1 Comment submitted by Medtronic Inc.                                          PUBLIC        6/27/2023
OAR-2019-                                                                                         SUBMISSIONS
0178-0577
EPA-HQ-            1 Comment submitted by Health Industry Distributors Association (HIDA)         PUBLIC        6/27/2023
OAR-2019-                                                                                         SUBMISSIONS
0178-0578
EPA-HQ-            1 Comment submitted by Combination Products Coalition (CPC)                    PUBLIC        6/27/2023
OAR-2019-                                                                                         SUBMISSIONS
0178-0579
EPA-HQ-            1 Comment submitted by League of Women Voters of Lake County, IL (LWV-LC)      PUBLIC        6/27/2023
OAR-2019-                                                                                         SUBMISSIONS
0178-0580
EPA-HQ-            1 Comment submitted by Texas Commission on Environmental Quality (TCEQ)        PUBLIC        6/27/2023
OAR-2019-                                                                                         SUBMISSIONS
0178-0581
EPA-HQ-            1 Comment submitted by Harris County Attorney's Office (HCA)                   PUBLIC        6/27/2023
OAR-2019-                                                                                         SUBMISSIONS
0178-0582


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EPA-HQ-            1 Comment submitted by Florida Department of Environmental Protection            PUBLIC        6/27/2023
OAR-2019-                                                                                           SUBMISSIONS
0178-0583
EPA-HQ-            1 Comment submitted by Federation of American Hospitals (FAH)                    PUBLIC        6/27/2023
OAR-2019-                                                                                           SUBMISSIONS
0178-0584
EPA-HQ-            1 Comment submitted by Bernadette Smith                                          PUBLIC        6/26/2023
OAR-2019-                                                                                           SUBMISSIONS
0178-0585
EPA-HQ-            1 Comment submitted by Missouri Clinicians for Climate Action (MOCCA)            PUBLIC        6/20/2023
OAR-2019-                                                                                           SUBMISSIONS
0178-0586
EPA-HQ-            1 Comment submitted by Mary M Yang                                               PUBLIC        6/27/2023
OAR-2019-                                                                                           SUBMISSIONS
0178-0587
EPA-HQ-            1 Comment submitted by American College of Cardiology (ACC) et al.               PUBLIC        6/27/2023
OAR-2019-                                                                                           SUBMISSIONS
0178-0588
EPA-HQ-            1 Comment submitted by Advanced Air Technologies, Inc. (AAT)                     PUBLIC        6/26/2023
OAR-2019-                                                                                           SUBMISSIONS
0178-0589
EPA-HQ-            1 Comment submitted by Picarro, Inc.                                             PUBLIC        6/27/2023
OAR-2019-                                                                                           SUBMISSIONS
0178-0590
EPA-HQ-            1 Comment submitted by U.S. Chamber of Commerce                                  PUBLIC        6/27/2023
OAR-2019-                                                                                           SUBMISSIONS
0178-0591
EPA-HQ-            1 Comment submitted by University of Pennsylvania's Center of Excellence in      PUBLIC        6/27/2023
OAR-2019-            Environmental Toxicology (CEET)                                                SUBMISSIONS
0178-0592


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EPA-HQ-            1 Comment submitted by American Society for Gastrointestinal Endoscopy      PUBLIC        6/27/2023
OAR-2019-            (ASGE)                                                                    SUBMISSIONS
0178-0593
EPA-HQ-            1 Comment submitted by Alliance of Nurses for Healthy Environments          PUBLIC        6/27/2023
OAR-2019-                                                                                      SUBMISSIONS
0178-0594
EPA-HQ-            1 Comment submitted by BioFlorida                                           PUBLIC        6/27/2023
OAR-2019-                                                                                      SUBMISSIONS
0178-0595
EPA-HQ-            1 Comment submitted by Northeast States for Coordinated Air Use             PUBLIC        6/27/2023
OAR-2019-            Management (NESCAUM)                                                      SUBMISSIONS
0178-0596
EPA-HQ-            1 Comment submitted by South Coast Air Quality Management District          PUBLIC        6/27/2023
OAR-2019-                                                                                      SUBMISSIONS
0178-0597
EPA-HQ-            2 Comment submitted by Monica Ramirez                                       PUBLIC        6/27/2023
OAR-2019-                                                                                      SUBMISSIONS
0178-0598
EPA-HQ-            2 Comment submitted by Rivergate Homeowners Association                     PUBLIC        6/14/2023
OAR-2019-                                                                                      SUBMISSIONS
0178-0599
EPA-HQ-            1 Comment submitted by Arizona Bioindustry Association (AZBio)              PUBLIC        6/27/2023
OAR-2019-                                                                                      SUBMISSIONS
0178-0600
EPA-HQ-            1 Comment submitted by Advanced Medical Technology Association              PUBLIC        6/27/2023
OAR-2019-            (AdvaMed)                                                                 SUBMISSIONS
0178-0601
EPA-HQ-            1 Comment submitted by Texas State Representative Armando Walle             PUBLIC        6/27/2023
OAR-2019-                                                                                      SUBMISSIONS
0178-0602


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EPA-HQ-            1 Comment submitted by Massachusetts Medical Device Industry Council      PUBLIC        6/27/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-0603
EPA-HQ-            5 Comment submitted by Melissa McGivney                                   PUBLIC        6/27/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-0604
EPA-HQ-            1 Comment submitted by American Lung Association et al.                   PUBLIC        6/27/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-0605
EPA-HQ-            1 Comment submitted by American Hospital Association (AHA)                PUBLIC        6/27/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-0606
EPA-HQ-            1 Comment submitted by Colorado BioScience Association (CBSA)             PUBLIC        6/27/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-0607
EPA-HQ-            1 Comment submitted by Silent Spring Institute                            PUBLIC        6/27/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-0608
EPA-HQ-            1 Comment submitted by Cosmed Group, Inc.                                 PUBLIC        6/27/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-0609
EPA-HQ-            1 Comment submitted by Elite Spice Inc.                                   PUBLIC        6/27/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-0610
EPA-HQ-            1 Comment submitted by Aileen Rivera                                      PUBLIC        6/27/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-0611
EPA-HQ-            1 Comment submitted by Denee Spencer                                      PUBLIC        6/27/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-0612


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EPA-HQ-            1 Comment submitted by Kwame Raoul et al.                                   PUBLIC        6/27/2023
OAR-2019-                                                                                      SUBMISSIONS
0178-0613
EPA-HQ-            1 Comment submitted by Premier Inc.                                         PUBLIC        6/27/2023
OAR-2019-                                                                                      SUBMISSIONS
0178-0614
EPA-HQ-            1 Comment submitted by Stop Sterigenics and Citizens 4 Clean Air IL         PUBLIC        6/27/2023
OAR-2019-                                                                                      SUBMISSIONS
0178-0615
EPA-HQ-            1 Comment submitted by Mallory Heights Community Development                PUBLIC        6/27/2023
OAR-2019-            Corporation (MHCDC)                                                       SUBMISSIONS
0178-0616
EPA-HQ-            1 Comment submitted by Terumo BCT, Inc. and Terumo BCT Sterilization        PUBLIC        6/27/2023
OAR-2019-            Services, Inc.                                                            SUBMISSIONS
0178-0617
EPA-HQ-            1 Comment submitted by Ethylene Oxide Sterilization Association (EOSA)      PUBLIC        6/27/2023
OAR-2019-                                                                                      SUBMISSIONS
0178-0618
EPA-HQ-            1 Comment submitted by Clinton Thompson                                     PUBLIC        6/27/2023
OAR-2019-                                                                                      SUBMISSIONS
0178-0619
EPA-HQ-            5 Comment submitted by Andersen Sterilizers, Inc.                           PUBLIC        6/27/2023
OAR-2019-                                                                                      SUBMISSIONS
0178-0620
EPA-HQ-            2 Comment submitted by South Metro Denver Chamber                           PUBLIC        6/15/2023
OAR-2019-                                                                                      SUBMISSIONS
0178-0621
EPA-HQ-            1 Comment submitted by Midwest Sterilization Corporation                    PUBLIC        6/27/2023
OAR-2019-                                                                                      SUBMISSIONS
0178-0622


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EPA-HQ-            3 Comment submitted by Memphis Community Against Pollution (MCAP) et al.       PUBLIC        6/27/2023
OAR-2019-                                                                                         SUBMISSIONS
0178-0623
EPA-HQ-            1 Comment submitted by American College of Emergency Physicians (ACEP)         PUBLIC        6/27/2023
OAR-2019-                                                                                         SUBMISSIONS
0178-0624
EPA-HQ-            1 Comment submitted by Vizient, Inc.                                           PUBLIC        6/27/2023
OAR-2019-                                                                                         SUBMISSIONS
0178-0625
EPA-HQ-            1 Comment submitted by Boston Scientific Corporation                           PUBLIC        6/27/2023
OAR-2019-                                                                                         SUBMISSIONS
0178-0626
EPA-HQ-            1 Comment submitted by Baxter                                                  PUBLIC        6/27/2023
OAR-2019-                                                                                         SUBMISSIONS
0178-0627
EPA-HQ-            1 Comment submitted by National Steering Committee (NSC) for the national      PUBLIC        6/27/2023
OAR-2019-            network of state Small Business Ombudsman (SBO)                              SUBMISSIONS
0178-0628
EPA-HQ-            1 Anonymous public comment                                                     PUBLIC        6/27/2023
OAR-2019-                                                                                         SUBMISSIONS
0178-0629
EPA-HQ-            1 Comment submitted by New York State Department of Environmental              PUBLIC        6/27/2023
OAR-2019-            Conservation (NYSDEC)                                                        SUBMISSIONS
0178-0630
EPA-HQ-            2 Comment submitted by Rita Beving                                             PUBLIC        6/27/2023
OAR-2019-                                                                                         SUBMISSIONS
0178-0631
EPA-HQ-            3 Comment submitted by Sterigenics U.S., LLC                                   PUBLIC        6/27/2023
OAR-2019-                                                                                         SUBMISSIONS
0178-0632


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EPA-HQ-            4 Comment submitted by American Chemistry Council (ACC)                     PUBLIC        6/27/2023
OAR-2019-                                                                                      SUBMISSIONS
0178-0633
EPA-HQ-            7 Comment submitted by Earthjustice et al.                                  PUBLIC        6/27/2023
OAR-2019-                                                                                      SUBMISSIONS
0178-0634
EPA-HQ-           12 Comment submitted by Becton, Dickinson and Company (BD)                   PUBLIC        6/27/2023
OAR-2019-                                                                                      SUBMISSIONS
0178-0635
EPA-HQ-            8 Comment submitted by Becton, Dickinson and Company (BD)                   PUBLIC        6/27/2023
OAR-2019-                                                                                      SUBMISSIONS
0178-0636
EPA-HQ-            3 Comment submitted by Becton, Dickinson and Company (BD)                   PUBLIC        6/27/2023
OAR-2019-                                                                                      SUBMISSIONS
0178-0637
EPA-HQ-            1 Comment submitted by Earthjustice et al.                                  PUBLIC        6/27/2023
OAR-2019-                                                                                      SUBMISSIONS
0178-0638
EPA-HQ-            1 Comment submitted by Ethylene Oxide Task Force (EOTF)                     PUBLIC        6/27/2023
OAR-2019-                                                                                      SUBMISSIONS
0178-0639
EPA-HQ-            2 Comment submitted by Advanced Air Technologies, Inc. (AAT)                PUBLIC        6/27/2023
OAR-2019-                                                                                      SUBMISSIONS
0178-0640
EPA-HQ-            2 Comment submitted by Adams County Regional Economic Partnership (AC-      PUBLIC        6/27/2023
OAR-2019-            REP)                                                                      SUBMISSIONS
0178-0641
EPA-HQ-            4 Comment submitted by Council Member Melissa R. Cigarroa                   PUBLIC        6/27/2023
OAR-2019-                                                                                      SUBMISSIONS
0178-0642


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EPA-HQ-            4 Comment submitted by Paul Hancock                                              PUBLIC        6/27/2023
OAR-2019-                                                                                           SUBMISSIONS
0178-0643
EPA-HQ-            6 Comment submitted by Rio Grande International Study Center (RGISC)             PUBLIC        6/28/2023
OAR-2019-                                                                                           SUBMISSIONS
0178-0644
EPA-HQ-            2 Comment submitted by Steri-Tech, Inc. (STI)                                    PUBLIC        6/26/2023
OAR-2019-                                                                                           SUBMISSIONS
0178-0645
EPA-HQ-            1 Anonymous public comment                                                       PUBLIC        6/26/2023
OAR-2019-                                                                                           SUBMISSIONS
0178-0646
EPA-HQ-            1 Comment submitted by Sierra Club's Lone Star Chapter                           PUBLIC        6/27/2023
OAR-2019-                                                                                           SUBMISSIONS
0178-0647
EPA-HQ-            2 Comment submitted by BioPhorum                                                 PUBLIC        6/23/2023
OAR-2019-                                                                                           SUBMISSIONS
0178-0648
EPA-HQ-               Email from Rep. Gooden staff dated June 9, 2023 regarding TX05 - EPA Policy   SUPPORTING    6/26/2023
OAR-2019-             on EtO                                                                        & RELATED
0178-0649                                                                                           MATERIALS
EPA-HQ-            1 Comment submitted by Julian James                                              PUBLIC         7/3/2023
OAR-2019-                                                                                           SUBMISSIONS
0178-0650
EPA-HQ-            1 Comment submitted by Daniel Connelly                                           PUBLIC         7/3/2023
OAR-2019-                                                                                           SUBMISSIONS
0178-0651
EPA-HQ-            1 Comment submitted by Betsy Altman Lewis                                        PUBLIC         7/3/2023
OAR-2019-                                                                                           SUBMISSIONS
0178-0652


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EPA-HQ-            1 Comment submitted by Mary Finsterwalder                                PUBLIC        7/3/2023
OAR-2019-                                                                                   SUBMISSIONS
0178-0653
EPA-HQ-            1 Comment submitted by Ann R. Purdue                                     PUBLIC        7/3/2023
OAR-2019-                                                                                   SUBMISSIONS
0178-0654
EPA-HQ-            1 Comment submitted by Bradford Burgess Jr.                              PUBLIC        7/3/2023
OAR-2019-                                                                                   SUBMISSIONS
0178-0655
EPA-HQ-            1 Comment submitted by Scott Flynn                                       PUBLIC        7/3/2023
OAR-2019-                                                                                   SUBMISSIONS
0178-0656
EPA-HQ-            1 Comment submitted by Kelli Zusho                                       PUBLIC        7/3/2023
OAR-2019-                                                                                   SUBMISSIONS
0178-0657
EPA-HQ-            1 Comment submitted by Jennifer Goss                                     PUBLIC        7/3/2023
OAR-2019-                                                                                   SUBMISSIONS
0178-0658
EPA-HQ-            1 Comment submitted by Jen Sipowicz-Neilands                             PUBLIC        7/3/2023
OAR-2019-                                                                                   SUBMISSIONS
0178-0659
EPA-HQ-            1 Comment submitted by Ranjana Bhandari                                  PUBLIC        7/3/2023
OAR-2019-                                                                                   SUBMISSIONS
0178-0660
EPA-HQ-            1 Comment submitted by Sara E. Carpenter                                 PUBLIC        7/3/2023
OAR-2019-                                                                                   SUBMISSIONS
0178-0661
EPA-HQ-            1 Comment submitted by Thomas Raper                                      PUBLIC        7/3/2023
OAR-2019-                                                                                   SUBMISSIONS
0178-0662


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EPA-HQ-            1 Comment submitted by Tracy Frisch                                      PUBLIC        7/3/2023
OAR-2019-                                                                                   SUBMISSIONS
0178-0663
EPA-HQ-            1 Comment submitted by Tom Ellis                                         PUBLIC        7/3/2023
OAR-2019-                                                                                   SUBMISSIONS
0178-0664
EPA-HQ-            1 Comment submitted by Shelton Panak                                     PUBLIC        7/3/2023
OAR-2019-                                                                                   SUBMISSIONS
0178-0665
EPA-HQ-            1 Comment submitted by Susan Pastin                                      PUBLIC        7/3/2023
OAR-2019-                                                                                   SUBMISSIONS
0178-0666
EPA-HQ-            1 Comment submitted by Lyn D. Chenier                                    PUBLIC        7/3/2023
OAR-2019-                                                                                   SUBMISSIONS
0178-0667
EPA-HQ-            1 Comment submitted by Colette Carter                                    PUBLIC        7/3/2023
OAR-2019-                                                                                   SUBMISSIONS
0178-0668
EPA-HQ-            1 Comment submitted by John Pitney                                       PUBLIC        7/3/2023
OAR-2019-                                                                                   SUBMISSIONS
0178-0669
EPA-HQ-            1 Comment submitted by Connie Conover                                    PUBLIC        7/3/2023
OAR-2019-                                                                                   SUBMISSIONS
0178-0670
EPA-HQ-            1 Comment submitted by Patricia Sills-Trausch                            PUBLIC        7/3/2023
OAR-2019-                                                                                   SUBMISSIONS
0178-0671
EPA-HQ-            1 Comment submitted by M. Kosugi                                         PUBLIC        7/3/2023
OAR-2019-                                                                                   SUBMISSIONS
0178-0672


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EPA-HQ-            1 Comment submitted by Lyman Peters, Jr.                                 PUBLIC         7/3/2023
OAR-2019-                                                                                   SUBMISSIONS
0178-0673
EPA-HQ-            1 Comment submitted by Caroline Crenna                                   PUBLIC         7/3/2023
OAR-2019-                                                                                   SUBMISSIONS
0178-0674
EPA-HQ-            1 Comment submitted by Mary Simun                                        PUBLIC         7/3/2023
OAR-2019-                                                                                   SUBMISSIONS
0178-0675
EPA-HQ-            1 Comment submitted by Christie Allen                                    PUBLIC         7/3/2023
OAR-2019-                                                                                   SUBMISSIONS
0178-0676
EPA-HQ-            1 Comment submitted by Janet Johnson-Schelvis                            PUBLIC         7/3/2023
OAR-2019-                                                                                   SUBMISSIONS
0178-0677
EPA-HQ-            1 Comment submitted by Randee Webb                                       PUBLIC         7/3/2023
OAR-2019-                                                                                   SUBMISSIONS
0178-0678
EPA-HQ-            1 Comment submitted by Suzanne Worcester                                 PUBLIC         7/3/2023
OAR-2019-                                                                                   SUBMISSIONS
0178-0679
EPA-HQ-            1 Comment submitted by Patricia Constantino                              PUBLIC         7/3/2023
OAR-2019-                                                                                   SUBMISSIONS
0178-0680
EPA-HQ-            1 Anonymous public comment                                               PUBLIC        7/11/2023
OAR-2019-                                                                                   SUBMISSIONS
0178-0681
EPA-HQ-            1 Comment submitted by Henretta Davis                                    PUBLIC        7/11/2023
OAR-2019-                                                                                   SUBMISSIONS
0178-0682


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EPA-HQ-              Comment submitted by Susan Rodriguez                                  PUBLIC        5/25/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0683
EPA-HQ-              Comment submitted by Angie Unruh                                      PUBLIC        5/25/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0684
EPA-HQ-              Comment submitted by Derek Benedict                                   PUBLIC        5/25/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0685
EPA-HQ-              Comment submitted by Rosemary Kean                                    PUBLIC        5/26/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0686
EPA-HQ-              Comment submitted by Elise Weinberg                                   PUBLIC        5/26/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0687
EPA-HQ-              Comment submitted by Connor Clarke                                    PUBLIC        5/26/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0688
EPA-HQ-              Comment submitted by Liz Szabo                                        PUBLIC        5/26/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0689
EPA-HQ-              Comment submitted by Sally Roberts Wilson                             PUBLIC        5/26/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0690
EPA-HQ-              Comment submitted by Sarah Propst                                     PUBLIC        5/26/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0691
EPA-HQ-              Comment submitted by Yeatoe Soukouna Dennis                           PUBLIC        5/26/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0692


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EPA-HQ-              Comment submitted by Susan Crampton                                   PUBLIC        5/26/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0693
EPA-HQ-              Comment submitted by Kaitlyn Carr                                     PUBLIC        5/26/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0694
EPA-HQ-              Comment submitted by Russell Freeland                                 PUBLIC        5/26/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0695
EPA-HQ-              Comment submitted by Lani Hummel                                      PUBLIC        5/27/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0696
EPA-HQ-              Comment submitted by Cynthia Mahoney                                  PUBLIC        5/27/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0697
EPA-HQ-              Comment submitted by Alice M Goss                                     PUBLIC        5/28/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0698
EPA-HQ-              Comment submitted by Liz Szabo                                        PUBLIC        5/28/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0699
EPA-HQ-              Comment submitted by Elaine Mayer                                     PUBLIC        5/28/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0700
EPA-HQ-              Comment submitted by FRED DAVIS                                       PUBLIC        5/28/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0701
EPA-HQ-              Comment submitted by Sharon Rogers                                    PUBLIC        5/28/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0702


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EPA-HQ-              Comment submitted by Tom Schwegler                                    PUBLIC        5/28/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0703
EPA-HQ-              Comment submitted by Carolyn Petrakis                                 PUBLIC        5/28/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0704
EPA-HQ-              Comment submitted by William Gawne, Jr.                               PUBLIC        5/29/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0705
EPA-HQ-              Comment submitted by Jen B.                                           PUBLIC        5/29/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0706
EPA-HQ-              Comment submitted by K. Danowski                                      PUBLIC        5/29/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0707
EPA-HQ-              Comment submitted by Carolynn Kohout                                  PUBLIC        5/29/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0708
EPA-HQ-              Comment submitted by Janis Sawyer                                     PUBLIC        5/29/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0709
EPA-HQ-              Comment submitted by Virginia Smedberg                                PUBLIC        5/29/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0710
EPA-HQ-              Comment submitted by Perry Kendall                                    PUBLIC        5/29/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0711
EPA-HQ-              Comment submitted by Janice Gintzler                                  PUBLIC        5/29/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0712


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EPA-HQ-               Comment submitted by Robert Essman                                    PUBLIC        5/29/2023
OAR-2019-                                                                                   SUBMISSIONS
0178-0713
EPA-HQ-            1 Comment submitted by American Spice Trade Association (ASTA)           PUBLIC         6/1/2023
OAR-2019-                                                                                   SUBMISSIONS
0178-0714
EPA-HQ-            1 Comment submitted by Jeffco EDC, Economic Development Corporation      PUBLIC         6/1/2023
OAR-2019-                                                                                   SUBMISSIONS
0178-0715
EPA-HQ-            1 Comment submitted by American Association of Orthopaedic Surgeons      PUBLIC         6/2/2023
OAR-2019-            (AAOS)                                                                 SUBMISSIONS
0178-0716
EPA-HQ-               Comment submitted by Paige Gray                                       PUBLIC         6/3/2023
OAR-2019-                                                                                   SUBMISSIONS
0178-0717
EPA-HQ-               Comment submitted by Dede Christopher                                 PUBLIC         6/4/2023
OAR-2019-                                                                                   SUBMISSIONS
0178-0718
EPA-HQ-               Comment submitted by Joshua Lopez                                     PUBLIC         6/5/2023
OAR-2019-                                                                                   SUBMISSIONS
0178-0719
EPA-HQ-               Comment submitted by Clean Air Engineering                            PUBLIC         6/5/2023
OAR-2019-                                                                                   SUBMISSIONS
0178-0720
EPA-HQ-               Comment submitted by John Vanellis                                    PUBLIC         6/5/2023
OAR-2019-                                                                                   SUBMISSIONS
0178-0721
EPA-HQ-               Comment submitted by Leon Van Steen                                   PUBLIC         6/5/2023
OAR-2019-                                                                                   SUBMISSIONS
0178-0722


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EPA-HQ-              Comment submitted by Sandra Barnhouse                                 PUBLIC        6/5/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0723
EPA-HQ-              Comment submitted by Dr. Demian (No first name provided)              PUBLIC        6/5/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0724
EPA-HQ-              Comment submitted by Edward Norkus                                    PUBLIC        6/5/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0725
EPA-HQ-              Comment submitted by Eva Simonsen                                     PUBLIC        6/5/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0726
EPA-HQ-              Comment submitted by MaryAnn and Frank Graffagnino                    PUBLIC        6/5/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0727
EPA-HQ-              Comment submitted by Niamh Crawford                                   PUBLIC        6/5/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0728
EPA-HQ-              Comment submitted by Daniela Gioseffi                                 PUBLIC        6/5/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0729
EPA-HQ-              Comment submitted by Dr. Amy Eisenberg                                PUBLIC        6/5/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0730
EPA-HQ-              Comment submitted by Deb Merchant                                     PUBLIC        6/5/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0731
EPA-HQ-              Comment submitted by Virginia Konz                                    PUBLIC        6/5/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0732


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EPA-HQ-              Comment submitted by Kent Opal                                        PUBLIC        6/5/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0733
EPA-HQ-              Comment submitted by Lloyd Williams                                   PUBLIC        6/5/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0734
EPA-HQ-              Comment submitted by Mary Baine Campbell                              PUBLIC        6/5/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0735
EPA-HQ-              Comment submitted by Laura Ziegler                                    PUBLIC        6/5/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0736
EPA-HQ-              Comment submitted by Em Holmes                                        PUBLIC        6/6/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0737
EPA-HQ-              Comment submitted by Renate Pealer                                    PUBLIC        6/6/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0738
EPA-HQ-              Comment submitted by Christopher Hamilton                             PUBLIC        6/6/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0739
EPA-HQ-              Comment submitted by Cheryl Mitchell                                  PUBLIC        6/6/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0740
EPA-HQ-              Comment submitted by Ed Wardwell                                      PUBLIC        6/6/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0741
EPA-HQ-              Comment submitted by Kelly Ricculli                                   PUBLIC        6/6/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0742


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EPA-HQ-              Comment submitted by David Zavala                                     PUBLIC        6/6/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0743
EPA-HQ-              Anonymous public comment                                              PUBLIC        6/6/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0744
EPA-HQ-              Anonymous public comment                                              PUBLIC        6/6/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0745
EPA-HQ-              Anonymous public comment                                              PUBLIC        6/6/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0746
EPA-HQ-              Comment submitted by Noah Severance                                   PUBLIC        6/6/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0747
EPA-HQ-              Anonymous public comment                                              PUBLIC        6/6/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0748
EPA-HQ-              Comment submitted by Joseph Rojas                                     PUBLIC        6/6/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0749
EPA-HQ-              Comment submitted by Ashley Peterson                                  PUBLIC        6/6/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0750
EPA-HQ-              Comment submitted by Josiah Easton                                    PUBLIC        6/6/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0751
EPA-HQ-              Anonymous public comment                                              PUBLIC        6/6/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0752


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EPA-HQ-              Anonymous public comment                                              PUBLIC        6/6/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0753
EPA-HQ-              Comment submitted by Karolyn Blake                                    PUBLIC        6/6/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0754
EPA-HQ-              Comment submitted by Daniel McCarter                                  PUBLIC        6/6/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0755
EPA-HQ-              Comment submitted by Katharine Smith                                  PUBLIC        6/6/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0756
EPA-HQ-              Anonymous public comment                                              PUBLIC        6/6/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0757
EPA-HQ-              Comment submitted by Rithika Ramakrishnan                             PUBLIC        6/6/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0758
EPA-HQ-              Comment submitted by Hunter Scheelar                                  PUBLIC        6/6/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0759
EPA-HQ-              Comment submitted by Kat Hsi                                          PUBLIC        6/6/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0760
EPA-HQ-              Comment submitted by A Martell (No First name provided)               PUBLIC        6/7/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0761
EPA-HQ-              Comment submitted by Jake Lawrence                                    PUBLIC        6/7/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0762


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EPA-HQ-              Comment submitted by Colin Townsend                                   PUBLIC         6/7/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0763
EPA-HQ-              Anonymous public comment                                              PUBLIC         6/7/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0764
EPA-HQ-              Comment submitted by Dawn Ritzler                                     PUBLIC         6/7/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0765
EPA-HQ-              Anonymous public comment                                              PUBLIC         6/7/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0766
EPA-HQ-              Anonymous public comment                                              PUBLIC         6/7/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0767
EPA-HQ-              Comment submitted by S. Olsen (No First name provided)                PUBLIC         6/7/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0768
EPA-HQ-              Comment submitted by Maria Gonzalez                                   PUBLIC         6/7/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0769
EPA-HQ-              Anonymous public comment                                              PUBLIC         6/7/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0770
EPA-HQ-              Comment submitted by Vivian Betshlimon                                PUBLIC         6/9/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0771
EPA-HQ-              Comment submitted by Gabriela Strobehn                                PUBLIC        6/10/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0772


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EPA-HQ-              Comment submitted by Angela Bogosh                                    PUBLIC        6/10/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0773
EPA-HQ-              Anonymous public comment                                              PUBLIC        6/18/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0774
EPA-HQ-              Anonymous public comment                                              PUBLIC        6/18/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0775
EPA-HQ-              Comment submitted by Betty Turner                                     PUBLIC        6/18/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0776
EPA-HQ-              Comment submitted by Whitney Woodward                                 PUBLIC        6/19/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0777
EPA-HQ-              Anonymous public comment                                              PUBLIC        6/19/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0778
EPA-HQ-              Comment submitted by Neale Montgomery                                 PUBLIC        6/19/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0779
EPA-HQ-              Comment submitted by JT Perry                                         PUBLIC        6/19/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0780
EPA-HQ-              Comment submitted by William Lennie                                   PUBLIC        6/19/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0781
EPA-HQ-              Comment submitted by Janis Tidwell                                    PUBLIC        6/20/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0782


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EPA-HQ-              Comment submitted by Katie Johnson                                    PUBLIC        5/1/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0783
EPA-HQ-              Comment submitted by Elizabeth Adams                                  PUBLIC        5/1/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0784
EPA-HQ-              Comment submitted by namhnguyen.org                                   PUBLIC        5/2/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0785
EPA-HQ-              Comment submitted by Patrena Gill                                     PUBLIC        5/2/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0786
EPA-HQ-              Comment submitted by Moms Clean Air Force                             PUBLIC        5/3/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0787
EPA-HQ-              Comment submitted by Lisa Snyder                                      PUBLIC        5/3/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0788
EPA-HQ-              Anonymous public comment                                              PUBLIC        5/4/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0789
EPA-HQ-              Comment submitted by Laura Hazelwood                                  PUBLIC        5/5/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0790
EPA-HQ-              Comment submitted by Linda Peete                                      PUBLIC        5/6/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0791
EPA-HQ-              Anonymous public comment                                              PUBLIC        5/7/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0792


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EPA-HQ-              Comment submitted by Susan Zingle                                     PUBLIC        5/8/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0793
EPA-HQ-              Anonymous public comment                                              PUBLIC        5/8/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0794
EPA-HQ-              Comment submitted by Catherine Kasmer                                 PUBLIC        5/8/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0795
EPA-HQ-              Comment submitted by Naomi Hershiser                                  PUBLIC        5/8/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0796
EPA-HQ-              Comment submitted by Mark Novotny                                     PUBLIC        5/8/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0797
EPA-HQ-              Comment submitted by Soh Tanaka                                       PUBLIC        5/8/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0798
EPA-HQ-              Comment submitted by Zachary Bloom                                    PUBLIC        5/8/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0799
EPA-HQ-              Comment submitted by Stephanie Deininger                              PUBLIC        5/8/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0800
EPA-HQ-              Comment submitted by Chad Deininger                                   PUBLIC        5/8/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0801
EPA-HQ-              Comment submitted by Emily Stavrou                                    PUBLIC        5/8/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0802


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EPA-HQ-              Anonymous public comment                                              PUBLIC        5/10/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0803
EPA-HQ-              Comment submitted by Wayne Taylor                                     PUBLIC        5/12/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0804
EPA-HQ-              Comment submitted by Sarah Crawford                                   PUBLIC        5/12/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0805
EPA-HQ-              Comment submitted by Kristyn White                                    PUBLIC        5/13/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0806
EPA-HQ-              Comment submitted by Patrick Schnell                                  PUBLIC        5/15/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0807
EPA-HQ-              Comment submitted by Fred Oswald                                      PUBLIC        5/15/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0808
EPA-HQ-              Comment submitted by Jenesis Medina                                   PUBLIC        5/20/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0809
EPA-HQ-              Comment submitted by Peggy Innes                                      PUBLIC        5/21/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0810
EPA-HQ-              Comment submitted by Patrena Gill                                     PUBLIC        5/21/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0811
EPA-HQ-              Comment submitted by Patrena Gill                                     PUBLIC        5/21/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0812


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EPA-HQ-              Comment submitted by Patrena Gill                                     PUBLIC        5/21/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0813
EPA-HQ-              Comment submitted by Patrena Gill                                     PUBLIC        5/21/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0814
EPA-HQ-              Comment submitted by Linda Thompsen                                   PUBLIC        5/23/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0815
EPA-HQ-              Comment submitted by Kristen Reser                                    PUBLIC        5/23/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0816
EPA-HQ-              Comment submitted by Kevin Preis                                      PUBLIC        5/23/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0817
EPA-HQ-              Comment submitted by Mona Young                                       PUBLIC        5/24/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0818
EPA-HQ-              Comment submitted by Robert Allenson                                  PUBLIC        5/24/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0819
EPA-HQ-              Comment submitted by Dawn R Casper                                    PUBLIC        5/24/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0820
EPA-HQ-              Comment submitted by Steve Liska                                      PUBLIC        5/24/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0821
EPA-HQ-              Comment submitted by Jon Blumenthal                                   PUBLIC        5/24/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0822


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EPA-HQ-              Comment submitted by Andrew Ashburn                                   PUBLIC        5/24/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0823
EPA-HQ-              Comment submitted by Robinson Kurth                                   PUBLIC        5/24/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0824
EPA-HQ-              Comment submitted by Randall Potts                                    PUBLIC        5/24/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0825
EPA-HQ-              Comment submitted by Dara Mark                                        PUBLIC        5/24/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0826
EPA-HQ-              Comment submitted by Bren Hardt                                       PUBLIC        5/24/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0827
EPA-HQ-              Comment submitted by Mary B Hall                                      PUBLIC        5/24/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0828
EPA-HQ-              Comment submitted by Cassandra Pierson                                PUBLIC        5/24/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0829
EPA-HQ-              Comment submitted by Stephen Duskin                                   PUBLIC        5/24/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0830
EPA-HQ-              Comment submitted by Jeanne Stangle                                   PUBLIC        5/24/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0831
EPA-HQ-              Comment submitted by Robert Essman                                    PUBLIC        5/24/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0832


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EPA-HQ-              Comment submitted by Yvonne Smith                                     PUBLIC        5/24/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0833
EPA-HQ-              Comment submitted by Isabella Rappaccioli                             PUBLIC        5/24/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0834
EPA-HQ-              Comment submitted by Paula Morrow                                     PUBLIC        5/24/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0835
EPA-HQ-              Comment submitted by Tim Brainerd                                     PUBLIC        5/24/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0836
EPA-HQ-              Comment submitted by Walter von Schonfeld                             PUBLIC        5/24/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0837
EPA-HQ-              Comment submitted by Heidi Lynn                                       PUBLIC        5/24/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0838
EPA-HQ-              Comment submitted by Elaine Mayer                                     PUBLIC        5/24/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0839
EPA-HQ-              Comment submitted by Carolyn Petrakis                                 PUBLIC        5/24/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0840
EPA-HQ-              Comment submitted by Jeri Langham                                     PUBLIC        5/24/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0841
EPA-HQ-              Comment submitted by Bill Oberjohn                                    PUBLIC        5/24/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0842


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EPA-HQ-              Comment submitted by Sandra Kuritzky                                  PUBLIC        5/24/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0843
EPA-HQ-              Comment submitted by Ronald Bishop                                    PUBLIC        5/24/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0844
EPA-HQ-              Comment submitted by Charlotte Fremaux                                PUBLIC        5/24/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0845
EPA-HQ-              Comment submitted by Sharon Baker                                     PUBLIC        5/24/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0846
EPA-HQ-              Comment submitted by Stephanie Kowalski                               PUBLIC        5/24/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0847
EPA-HQ-              Comment submitted by Perry Kendall                                    PUBLIC        5/24/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0848
EPA-HQ-              Comment submitted by MaryAnn and Frank Graffagnino                    PUBLIC        5/29/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0849
EPA-HQ-              Comment submitted by Barry Fass-Holmes                                PUBLIC        5/30/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0850
EPA-HQ-              Comment submitted by Sherrill Futrell                                 PUBLIC        5/30/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0851
EPA-HQ-              Comment submitted by Samuel Berg                                      PUBLIC        5/31/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0852


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EPA-HQ-              Comment submitted by Carly Bryant                                     PUBLIC        5/31/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0853
EPA-HQ-              Comment submitted by William Marchello                                PUBLIC        5/31/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0854
EPA-HQ-              Comment submitted by Michelle Maitland                                PUBLIC        5/31/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0855
EPA-HQ-              Anonymous public comment                                              PUBLIC        5/31/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0856
EPA-HQ-              Comment submitted by Sean McMahon                                     PUBLIC        5/31/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0857
EPA-HQ-              Comment submitted by Jeff Nevius                                      PUBLIC         6/1/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0858
EPA-HQ-              Comment submitted by Matt Carbajal                                    PUBLIC         6/1/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0859
EPA-HQ-              Comment submitted by Alma Fields                                      PUBLIC         6/1/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0860
EPA-HQ-              Comment submitted by Bruce Van Scoy                                   PUBLIC         6/1/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0861
EPA-HQ-              Comment submitted by Greg Clark                                       PUBLIC         6/1/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0862


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EPA-HQ-              Comment submitted by Andy Friedberg                                   PUBLIC        6/1/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0863
EPA-HQ-              Comment submitted by Charlene Love                                    PUBLIC        6/1/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0864
EPA-HQ-              Comment submitted by Robyn Lauster                                    PUBLIC        6/1/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0865
EPA-HQ-              Comment submitted by ann bley                                         PUBLIC        6/1/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0866
EPA-HQ-              Comment submitted by Betty Melcher                                    PUBLIC        6/1/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0867
EPA-HQ-              Comment submitted by Jean Vischulis                                   PUBLIC        6/1/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0868
EPA-HQ-              Comment submitted by Maureen Lattimore                                PUBLIC        6/2/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0869
EPA-HQ-              Comment submitted by Falguni Mehta                                    PUBLIC        6/2/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0870
EPA-HQ-              Comment submitted by Robert Rinker                                    PUBLIC        6/2/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0871
EPA-HQ-              Comment submitted by Joseph LaGreca                                   PUBLIC        6/2/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0872


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EPA-HQ-              Comment submitted by Janet Gilbert                                    PUBLIC        6/2/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0873
EPA-HQ-              Comment submitted by Julie Unruh                                      PUBLIC        6/5/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0874
EPA-HQ-              Comment submitted by Sabrina Caprioli                                 PUBLIC        6/6/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0875
EPA-HQ-              Anonymous public comment                                              PUBLIC        6/6/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0876
EPA-HQ-              Comment submitted by Summer Schneider                                 PUBLIC        6/6/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0877
EPA-HQ-              Comment submitted by Jake Nuzzi                                       PUBLIC        6/6/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0878
EPA-HQ-              Comment submitted by Lesley Boswell                                   PUBLIC        6/6/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0879
EPA-HQ-              Comment submitted by Antonio Diaz                                     PUBLIC        6/6/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0880
EPA-HQ-              Comment submitted by Spencer Reed                                     PUBLIC        6/7/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0881
EPA-HQ-              Comment submitted by K H (No first name and surname provided)         PUBLIC        6/7/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0882


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EPA-HQ-              Comment submitted by Shae Freeman                                     PUBLIC        6/7/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0883
EPA-HQ-              Anonymous public comment                                              PUBLIC        6/7/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0884
EPA-HQ-              Comment submitted by Jeff Slepak                                      PUBLIC        6/7/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0885
EPA-HQ-              Comment submitted by Cass O'Keefe                                     PUBLIC        6/7/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0886
EPA-HQ-              Comment submitted by Ashley Olesnevich                                PUBLIC        6/7/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0887
EPA-HQ-              Comment submitted by Nandita Seshadri                                 PUBLIC        6/7/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0888
EPA-HQ-              Comment submitted by Trevor Hobler                                    PUBLIC        6/7/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0889
EPA-HQ-              Anonymous public comment                                              PUBLIC        6/7/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0890
EPA-HQ-              Comment submitted by Stacey Diaz                                      PUBLIC        6/7/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0891
EPA-HQ-              Comment submitted by Matthew Derman                                   PUBLIC        6/7/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0892


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EPA-HQ-              Anonymous public comment                                              PUBLIC        6/7/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0893
EPA-HQ-              Comment submitted by Bethany Mostert                                  PUBLIC        6/7/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0894
EPA-HQ-              Comment submitted by Jools Bullock                                    PUBLIC        6/7/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0895
EPA-HQ-              Comment submitted by Ryan Schweitzer                                  PUBLIC        6/7/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0896
EPA-HQ-              Comment submitted by Rachael Cassidy                                  PUBLIC        6/7/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0897
EPA-HQ-              Comment submitted by Laura Smith                                      PUBLIC        6/7/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0898
EPA-HQ-              Comment submitted by Joshua Herbert                                   PUBLIC        6/7/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0899
EPA-HQ-              Comment submitted by Beth Mosall                                      PUBLIC        6/7/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0900
EPA-HQ-              Comment submitted by Aurora Escobar                                   PUBLIC        6/7/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0901
EPA-HQ-              Comment submitted by Ryan Poulin                                      PUBLIC        6/7/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0902


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EPA-HQ-              Comment submitted by Ben Rickles                                      PUBLIC        6/8/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0903
EPA-HQ-              Comment submitted by Jax Johnson                                      PUBLIC        6/8/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0904
EPA-HQ-              Comment submitted by Meagan Perkins                                   PUBLIC        6/8/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0905
EPA-HQ-              Comment submitted by Juli Kring                                       PUBLIC        6/8/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0906
EPA-HQ-              Comment submitted by Todd Bishop                                      PUBLIC        6/8/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0907
EPA-HQ-              Comment submitted by International Paper                              PUBLIC        6/8/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0908
EPA-HQ-              Comment submitted by Shane Minsey                                     PUBLIC        6/8/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0909
EPA-HQ-              Comment submitted by Christine Wight                                  PUBLIC        6/8/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0910
EPA-HQ-              Comment submitted by Jean-Marie Kauth                                 PUBLIC        6/8/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0911
EPA-HQ-              Comment submitted by Maggie Bowyer                                    PUBLIC        6/8/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0912


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EPA-HQ-              Comment submitted by Marissa T.                                       PUBLIC        6/8/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0913
EPA-HQ-              Comment submitted by A. Carpenter-Pierce                              PUBLIC        6/8/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0914
EPA-HQ-              Comment submitted by Erica Harmon                                     PUBLIC        6/8/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0915
EPA-HQ-              Comment submitted by Argon Clough                                     PUBLIC        6/8/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0916
EPA-HQ-              Comment submitted by Barbara Perle                                    PUBLIC        6/8/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0917
EPA-HQ-              Comment submitted by Jonas Rodriguez                                  PUBLIC        6/8/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0918
EPA-HQ-              Comment submitted by Joseph Mondello                                  PUBLIC        6/8/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0919
EPA-HQ-              Comment submitted by Cecelia Parks                                    PUBLIC        6/8/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0920
EPA-HQ-              Comment submitted by Casey Reyner                                     PUBLIC        6/8/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0921
EPA-HQ-              Comment submitted by Miles Butler                                     PUBLIC        6/8/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0922


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EPA-HQ-              Comment submitted by Beth Korn                                        PUBLIC        6/9/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0923
EPA-HQ-              Comment submitted by Concerned Citizen                                PUBLIC        6/9/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0924
EPA-HQ-              Comment submitted by Malcolm Pelletier                                PUBLIC        6/9/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0925
EPA-HQ-              Comment submitted by Malcolm Pelletier                                PUBLIC        6/9/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0926
EPA-HQ-              Comment submitted by Laura Allen                                      PUBLIC        6/9/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0927
EPA-HQ-              Comment submitted by Dani Cook                                        PUBLIC        6/9/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0928
EPA-HQ-              Comment submitted by Stephanie Rickmeier                              PUBLIC        6/9/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0929
EPA-HQ-              Comment submitted by Kelly Wallace                                    PUBLIC        6/9/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0930
EPA-HQ-              Comment submitted by Don Lavanway                                     PUBLIC        6/9/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0931
EPA-HQ-              Comment submitted by Kristen H (no surname provided)                  PUBLIC        6/9/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0932


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EPA-HQ-              Anonymous public comment                                              PUBLIC        6/9/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0933
EPA-HQ-              Comment submitted by Nola Hadley                                      PUBLIC        6/9/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0934
EPA-HQ-              Anonymous public comment                                              PUBLIC        6/9/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0935
EPA-HQ-              Anonymous public comment                                              PUBLIC        6/9/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0936
EPA-HQ-              Comment submitted by Melanie Brown                                    PUBLIC        6/9/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0937
EPA-HQ-              Comment submitted by Erin Cranney                                     PUBLIC        6/9/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0938
EPA-HQ-              Comment submitted by Ann K (no surname provided)                      PUBLIC        6/9/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0939
EPA-HQ-              Comment submitted by Rachel Miller                                    PUBLIC        6/9/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0940
EPA-HQ-              Comment submitted by Safe Air Nonprofit                               PUBLIC        6/9/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0941
EPA-HQ-              Comment submitted by Brittain Sobey                                   PUBLIC        6/9/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0942


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EPA-HQ-              Comment submitted by Paul Nudelman                                    PUBLIC        6/10/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0943
EPA-HQ-              Comment submitted by Mack Hunter                                      PUBLIC        6/10/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0944
EPA-HQ-              Comment submitted by Kelsey Berry                                     PUBLIC        6/10/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0945
EPA-HQ-              Comment submitted by Shannon Amiot                                    PUBLIC        6/10/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0946
EPA-HQ-              Anonymous public comment                                              PUBLIC        6/10/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0947
EPA-HQ-              Comment submitted by Jasmine Cole-Marrow                              PUBLIC        6/10/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0948
EPA-HQ-              Comment submitted by Wendy Loffredo                                   PUBLIC        6/10/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0949
EPA-HQ-              Comment submitted by Solete Dukes                                     PUBLIC        6/11/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0950
EPA-HQ-              Comment submitted by Alex Engel                                       PUBLIC        6/11/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0951
EPA-HQ-              Anonymous public comment                                              PUBLIC        6/11/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0952


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EPA-HQ-              Comment submitted by Sara Vinson                                      PUBLIC        6/12/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0953
EPA-HQ-              Comment submitted by Melissa Chen                                     PUBLIC        6/12/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0954
EPA-HQ-              Anonymous public comment                                              PUBLIC        6/12/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0955
EPA-HQ-              Comment submitted by D H (no surname provided)                        PUBLIC        6/12/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0956
EPA-HQ-              Comment submitted by Golden Rule                                      PUBLIC        6/13/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0957
EPA-HQ-              Comment submitted by Justine Leigh                                    PUBLIC        6/13/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0958
EPA-HQ-              Comment submitted by Neil S (no surname provided)                     PUBLIC        6/14/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0959
EPA-HQ-              Comment submitted by Margo Miller                                     PUBLIC        6/14/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0960
EPA-HQ-              Comment submitted by Douglas Ower                                     PUBLIC        6/14/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0961
EPA-HQ-              Comment submitted by Kathleen Welch                                   PUBLIC        6/14/2023
OAR-2019-                                                                                  SUBMISSIONS
0178-0962


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EPA-HQ-               Comment submitted by Jocelyn Koenig                                         PUBLIC        6/14/2023
OAR-2019-                                                                                         SUBMISSIONS
0178-0963
EPA-HQ-               Comment submitted by Whitney Richardson                                     PUBLIC        6/14/2023
OAR-2019-                                                                                         SUBMISSIONS
0178-0964
EPA-HQ-               Comment submitted by Darryl Etter                                           PUBLIC        6/14/2023
OAR-2019-                                                                                         SUBMISSIONS
0178-0965
EPA-HQ-               Comment submitted by Amy Allen                                              PUBLIC        6/14/2023
OAR-2019-                                                                                         SUBMISSIONS
0178-0966
EPA-HQ-               Comment submitted by Mary Ogle                                              PUBLIC        6/15/2023
OAR-2019-                                                                                         SUBMISSIONS
0178-0967
EPA-HQ-               Comment submitted by Brian McCammack                                        PUBLIC        6/15/2023
OAR-2019-                                                                                         SUBMISSIONS
0178-0968
EPA-HQ-               Comment submitted by Kayley Decker                                          PUBLIC        6/15/2023
OAR-2019-                                                                                         SUBMISSIONS
0178-0969
EPA-HQ-               Comment submitted by East Metro For Social Justice (East Atlanta, Ga)       PUBLIC        6/15/2023
OAR-2019-                                                                                         SUBMISSIONS
0178-0970
EPA-HQ-               Comment submitted by M. Cox                                                 PUBLIC        6/16/2023
OAR-2019-                                                                                         SUBMISSIONS
0178-0971
EPA-HQ-               Comment submitted by Sue Havens                                             PUBLIC        6/16/2023
OAR-2019-                                                                                         SUBMISSIONS
0178-0972


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EPA-HQ-               Comment submitted by Paula Noblitt                                     PUBLIC        6/16/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-0973
EPA-HQ-               Comment submitted by Stephanie Fitzpatrick                             PUBLIC        6/17/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-0974
EPA-HQ-               Anonymous public comment                                               PUBLIC        6/17/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-0975
EPA-HQ-               Anonymous public comment                                               PUBLIC        6/17/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-0976
EPA-HQ-               Comment submitted by Hanna Poole                                       PUBLIC        6/17/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-0977
EPA-HQ-               Comment submitted by Betty A. Brendel                                  PUBLIC        6/17/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-0978
EPA-HQ-               Comment submitted by Adrian Ellis                                      PUBLIC        6/17/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-0979
EPA-HQ-               Comment submitted by Mary Pérez                                        PUBLIC        6/17/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-0980
EPA-HQ-               Comment submitted by Bill Couch                                        PUBLIC        6/18/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-0981
EPA-HQ-               Comment submitted by Pamela Epps                                       PUBLIC        6/18/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-0982


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EPA-HQ-               Comment submitted by Bill Couch                                        PUBLIC        6/20/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-0983
EPA-HQ-               Comment submitted by Gretchen Harper                                   PUBLIC        6/20/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-0984
EPA-HQ-               Comment submitted by Ben Stetson                                       PUBLIC        6/20/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-0985
EPA-HQ-               Comment submitted by Nancy Shaw                                        PUBLIC        6/20/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-0986
EPA-HQ-               Comment submitted by Kelly DeVine                                      PUBLIC        6/20/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-0987
EPA-HQ-               Comment submitted by Daniel Safer                                      PUBLIC        6/20/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-0988
EPA-HQ-               Comment submitted by Rita Kovshun                                      PUBLIC        6/20/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-0989
EPA-HQ-               Comment submitted by Stacy S.                                          PUBLIC        6/20/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-0990
EPA-HQ-               Comment submitted by Bruce Sheffer                                     PUBLIC        6/20/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-0991
EPA-HQ-               Comment submitted by Eric Michelsen                                    PUBLIC        6/20/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-0992


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EPA-HQ-               Comment submitted by Henry Westmoreland MD                             PUBLIC        6/20/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-0993
EPA-HQ-               Comment submitted by Christin Sanchez                                  PUBLIC        6/20/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-0994
EPA-HQ-               Anonymous public comment                                               PUBLIC        6/20/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-0995
EPA-HQ-               Comment submitted by Anonymous Anonymous                               PUBLIC        6/20/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-0996
EPA-HQ-               Comment submitted by OurGreenChallenge.org                             PUBLIC        6/20/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-0997
EPA-HQ-               Comment submitted by Roblyn Jackson                                    PUBLIC        6/21/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-0998
EPA-HQ-               Comment submitted by Sarah Williams                                    PUBLIC        6/21/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-0999
EPA-HQ-               Comment submitted by Royal Graves                                      PUBLIC        6/21/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1000
EPA-HQ-               Comment submitted by Marie Macadam                                     PUBLIC        6/21/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1001
EPA-HQ-               Comment submitted by Eric Ferrara                                      PUBLIC        6/21/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1002


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EPA-HQ-               Anonymous public comment                                               PUBLIC        6/21/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1003
EPA-HQ-               Comment submitted by Juanita Carson                                    PUBLIC        6/21/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1004
EPA-HQ-               Comment submitted by Kira Sloop                                        PUBLIC        6/21/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1005
EPA-HQ-               Comment submitted by Jen Rund                                          PUBLIC        6/21/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1006
EPA-HQ-               Comment submitted by WASH CORP                                         PUBLIC        6/21/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1007
EPA-HQ-               Comment submitted by Tom Nesbitt                                       PUBLIC        6/22/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1008
EPA-HQ-               Comment submitted by Chris Hooper                                      PUBLIC        6/22/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1009
EPA-HQ-               Comment submitted by Dena Hong                                         PUBLIC        6/22/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1010
EPA-HQ-               Comment submitted by Kathy Ragland                                     PUBLIC        6/22/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1011
EPA-HQ-               Comment submitted by Michael Detar                                     PUBLIC        6/22/2023
OAR-2019-                                                                                    SUBMISSIONS
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EPA-HQ-               Comment submitted by Angie Long                                        PUBLIC        6/22/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1013
EPA-HQ-               Comment submitted by Kathleen and William Carik                        PUBLIC        6/22/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1014
EPA-HQ-               Comment submitted by Holly Borkowski                                   PUBLIC        6/22/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1015
EPA-HQ-               Comment submitted by Angela M                                          PUBLIC        6/22/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1016
EPA-HQ-               Comment submitted by Aliya Zuberi                                      PUBLIC        6/22/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1017
EPA-HQ-               Anonymous public comment                                               PUBLIC        6/22/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1018
EPA-HQ-               Comment submitted by Todd Snyder                                       PUBLIC        6/22/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1019
EPA-HQ-               Comment submitted by Terry Rivera                                      PUBLIC        6/23/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1020
EPA-HQ-               Comment submitted by Stanislav Jaracz                                  PUBLIC        6/23/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1021
EPA-HQ-               Comment submitted by Lindsey Boring                                    PUBLIC        6/23/2023
OAR-2019-                                                                                    SUBMISSIONS
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OAR-2019-                                                                                    SUBMISSIONS
0178-1023
EPA-HQ-               Anonymous public comment                                               PUBLIC        6/23/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1024
EPA-HQ-               Comment submitted by Shachar Oren                                      PUBLIC        6/23/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1025
EPA-HQ-               Comment submitted by Gary Stewart                                      PUBLIC        6/23/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1026
EPA-HQ-               Comment submitted by Mike Beggs                                        PUBLIC        6/23/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1027
EPA-HQ-               Comment submitted by Belen Brisco                                      PUBLIC        6/23/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1028
EPA-HQ-               Anonymous public comment                                               PUBLIC        6/23/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1029
EPA-HQ-               Comment submitted by D. Schoech                                        PUBLIC        6/24/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1030
EPA-HQ-               Comment submitted by Colleen McGowan                                   PUBLIC        6/24/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1031
EPA-HQ-               Comment submitted by Elizabeth Munoz                                   PUBLIC        6/24/2023
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EPA-HQ-               Anonymous public comment                                                 PUBLIC        6/24/2023
OAR-2019-                                                                                      SUBMISSIONS
0178-1033
EPA-HQ-               Comment submitted by Jim Derzon                                          PUBLIC        6/24/2023
OAR-2019-                                                                                      SUBMISSIONS
0178-1034
EPA-HQ-               Comment submitted by Olivia Moulds                                       PUBLIC        6/24/2023
OAR-2019-                                                                                      SUBMISSIONS
0178-1035
EPA-HQ-               Comment submitted by Climate Reality Project Memphis and Mid-South       PUBLIC        6/25/2023
OAR-2019-             Regional Chapter                                                         SUBMISSIONS
0178-1036
EPA-HQ-               Comment submitted by Mara Dolin                                          PUBLIC        6/25/2023
OAR-2019-                                                                                      SUBMISSIONS
0178-1037
EPA-HQ-               Comment submitted by Janet Mattern                                       PUBLIC        6/25/2023
OAR-2019-                                                                                      SUBMISSIONS
0178-1038
EPA-HQ-               Comment submitted by Samson Brock                                        PUBLIC        6/25/2023
OAR-2019-                                                                                      SUBMISSIONS
0178-1039
EPA-HQ-               Comment submitted by Jme Derbin                                          PUBLIC        6/25/2023
OAR-2019-                                                                                      SUBMISSIONS
0178-1040
EPA-HQ-               Comment submitted by Stephen Paskoff                                     PUBLIC        6/25/2023
OAR-2019-                                                                                      SUBMISSIONS
0178-1041
EPA-HQ-               Comment submitted by Bruce Flareau                                       PUBLIC        6/25/2023
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EPA-HQ-               Comment submitted by Levoyd Thomas                                     PUBLIC        6/25/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1043
EPA-HQ-               Comment submitted by Karen Couch                                       PUBLIC        6/25/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1044
EPA-HQ-               Comment submitted by Elizabeth Miller                                  PUBLIC        6/25/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1045
EPA-HQ-               Comment submitted by Sabrina H                                         PUBLIC        6/25/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1046
EPA-HQ-               Comment submitted by Todd Snyder                                       PUBLIC        6/25/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1047
EPA-HQ-               Comment submitted by Kristen G                                         PUBLIC        6/25/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1048
EPA-HQ-               Comment submitted by Kelly Smith                                       PUBLIC        6/26/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1049
EPA-HQ-               Comment submitted by Ricardo Jaramillo                                 PUBLIC        6/26/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1050
EPA-HQ-               Comment submitted by Ophelia Allen                                     PUBLIC        6/26/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1051
EPA-HQ-               Comment submitted by Jimmy Hosch                                       PUBLIC        6/26/2023
OAR-2019-                                                                                    SUBMISSIONS
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EPA-HQ-               Comment submitted by Clean Power Lake County                           PUBLIC        6/26/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1053
EPA-HQ-               Comment submitted by Daniela NobleNoble                                PUBLIC        6/26/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1054
EPA-HQ-               Comment submitted by Jessica Wakelyn                                   PUBLIC        6/26/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1055
EPA-HQ-               Comment submitted by Johnna Sheets                                     PUBLIC        6/26/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1056
EPA-HQ-               Anonymous public comment                                               PUBLIC        6/26/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1057
EPA-HQ-               Comment submitted by Maria Ramos                                       PUBLIC        6/26/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1058
EPA-HQ-               Comment submitted by Maria Ramos                                       PUBLIC        6/26/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1059
EPA-HQ-               Anonymous public comment                                               PUBLIC        6/26/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1060
EPA-HQ-               Comment submitted by Amjad Zuberi                                      PUBLIC        6/26/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1061
EPA-HQ-               Comment submitted by Amber Brace                                       PUBLIC        6/26/2023
OAR-2019-                                                                                    SUBMISSIONS
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EPA-HQ-               Comment submitted by Hays Hyre                                         PUBLIC        6/26/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1063
EPA-HQ-               Anonymous public comment                                               PUBLIC        6/26/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1064
EPA-HQ-               Comment submitted by Eric Pratt                                        PUBLIC        6/26/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1065
EPA-HQ-               Comment submitted by Maria Bolton-Joubert                              PUBLIC        6/26/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1066
EPA-HQ-               Comment submitted by Earnestine Hampton                                PUBLIC        6/26/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1067
EPA-HQ-               Comment submitted by Marsha Ellis                                      PUBLIC        6/27/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1068
EPA-HQ-               Comment submitted by Shenda Mosby                                      PUBLIC        6/27/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1069
EPA-HQ-               Comment submitted by Marcus Kelley                                     PUBLIC        6/27/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1070
EPA-HQ-               Comment submitted by Evangelical Christian School                      PUBLIC        6/27/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1071
EPA-HQ-               Comment submitted by Cynthia Klein                                     PUBLIC        6/27/2023
OAR-2019-                                                                                    SUBMISSIONS
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EPA-HQ-               Anonymous public comment                                               PUBLIC        6/27/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1073
EPA-HQ-               Comment submitted by Rex Harrison                                      PUBLIC        6/27/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1074
EPA-HQ-               Comment submitted by Applewood Valley Neighborhood Association         PUBLIC        6/27/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1075
EPA-HQ-               Comment submitted by Jeanne Roberts                                    PUBLIC        6/27/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1076
EPA-HQ-               Comment submitted by Charlotte Fremaux                                 PUBLIC        6/27/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1077
EPA-HQ-               Comment submitted by Rebecca Sinibaldi                                 PUBLIC        6/27/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1078
EPA-HQ-               Comment submitted by David McQuade                                     PUBLIC        6/27/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1079
EPA-HQ-               Comment submitted by Laurie Messina                                    PUBLIC        6/27/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1080
EPA-HQ-               Anonymous public comment                                               PUBLIC        6/27/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1081
EPA-HQ-               Comment submitted by Kimberley Harris                                  PUBLIC        6/27/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1082


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EPA-HQ-               Comment submitted by Nicole Wilson                                     PUBLIC        6/27/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1083
EPA-HQ-               Comment submitted by Nisha Sanjurjo                                    PUBLIC        6/27/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1084
EPA-HQ-               Comment submitted by Deidre Nelms                                      PUBLIC        6/27/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1085
EPA-HQ-               Comment submitted by Zimmer Biomet                                     PUBLIC        6/27/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1086
EPA-HQ-               Comment submitted by Suzanne Springer                                  PUBLIC        6/27/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1087
EPA-HQ-               Comment submitted by Cathy Colton                                      PUBLIC        6/27/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1088
EPA-HQ-               Comment submitted by Mary Decker                                       PUBLIC        6/27/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1089
EPA-HQ-               Comment submitted by Lisa Zhao                                         PUBLIC        6/27/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1090
EPA-HQ-               Comment submitted by Mary Jo Blake                                     PUBLIC        6/27/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1091
EPA-HQ-               Comment submitted by Kathryn Mahoney                                   PUBLIC        6/27/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1092


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EPA-HQ-               Comment submitted by International Sterilization Laboratory            PUBLIC        6/27/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1093
EPA-HQ-               Comment submitted by Ray Hanson                                        PUBLIC        6/27/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1094
EPA-HQ-               Comment submitted by Rita Beving                                       PUBLIC        6/27/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1095
EPA-HQ-               Comment submitted by KeShaun Pearson                                   PUBLIC        6/27/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1096
EPA-HQ-               Comment submitted by Vickie Mills                                      PUBLIC        6/27/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1097
EPA-HQ-               Comment submitted by East Metro for Social Justice                     PUBLIC        6/27/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1098
EPA-HQ-               Comment submitted by Allan Horton                                      PUBLIC        6/27/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1099
EPA-HQ-               Comment submitted by Patty Sharrock                                    PUBLIC        6/27/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1100
EPA-HQ-               Comment submitted by Sarah Lepa                                        PUBLIC        6/27/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1101
EPA-HQ-               Anonymous public comment                                               PUBLIC        6/27/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1102


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EPA-HQ-               Comment submitted by Duffy-Marie Arnoult                               PUBLIC        6/27/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1103
EPA-HQ-               Anonymous public comment                                               PUBLIC        6/27/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1104
EPA-HQ-               Anonymous public comment                                               PUBLIC        6/27/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1105
EPA-HQ-               Anonymous public comment                                               PUBLIC        6/27/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1106
EPA-HQ-               Comment submitted by D. Singleton                                      PUBLIC        6/27/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1107
EPA-HQ-               Comment submitted by Monica Darrah                                     PUBLIC        6/27/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1108
EPA-HQ-               Comment submitted by Scott Foti                                        PUBLIC        6/27/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1109
EPA-HQ-            1 Comment submitted by Michael Ripberger                                  PUBLIC         7/3/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1110
EPA-HQ-            1 Comment submitted by Elaine Loeffler                                    PUBLIC         7/3/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1111
EPA-HQ-            1 Comment submitted by Joseph Wagner                                      PUBLIC         7/3/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1112


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EPA-HQ-            1 Comment submitted by Lisa Adamson                                       PUBLIC        7/3/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1113
EPA-HQ-            1 Comment submitted by Jerry & Amp; Jolene Caruso                         PUBLIC        7/3/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1114
EPA-HQ-            1 Comment submitted by Mimi Carlson                                       PUBLIC        7/3/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1115
EPA-HQ-            1 Comment submitted by NK Button                                          PUBLIC        7/3/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1116
EPA-HQ-            1 Comment submitted by David Brandt                                       PUBLIC        7/3/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1117
EPA-HQ-            1 Comment submitted by John Forslin                                       PUBLIC        7/3/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1118
EPA-HQ-            1 Comment submitted by Wendy Alberg                                       PUBLIC        7/3/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1119
EPA-HQ-            1 Comment submitted by Pat O'Keefe                                        PUBLIC        7/3/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1120
EPA-HQ-            1 Comment submitted by Jo Anna Tobey                                      PUBLIC        7/3/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1121
EPA-HQ-            1 Comment submitted by Ruchi Stair                                        PUBLIC        7/3/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1122


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EPA-HQ-            1 Comment submitted by Shelley Minden                                     PUBLIC        7/3/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1123
EPA-HQ-            1 Comment submitted by Laura Shapiro                                      PUBLIC        7/3/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1124
EPA-HQ-            1 Comment submitted by Susan Orourke                                      PUBLIC        7/3/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1125
EPA-HQ-            1 Comment submitted by C. Men                                             PUBLIC        7/3/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1126
EPA-HQ-            1 Comment submitted by James Freeman                                      PUBLIC        7/3/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1127
EPA-HQ-            1 Comment submitted by Vasu Murti                                         PUBLIC        7/3/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1128
EPA-HQ-            1 Comment submitted by Emily Karrmarshall                                 PUBLIC        7/3/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1129
EPA-HQ-            1 Comment submitted by James Cunningham                                   PUBLIC        7/3/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1130
EPA-HQ-            1 Comment submitted by Gene Robertson                                     PUBLIC        7/3/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1131
EPA-HQ-            1 Comment submitted by Maureen Allen                                      PUBLIC        7/3/2023
OAR-2019-                                                                                    SUBMISSIONS
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EPA-HQ-            1 Comment submitted by Marianne Edain                                     PUBLIC        7/3/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1133
EPA-HQ-            1 Comment submitted by Doreen Chen Allen                                  PUBLIC        7/3/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1134
EPA-HQ-            1 Comment submitted by Elsie V.                                           PUBLIC        7/3/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1135
EPA-HQ-            1 Comment submitted by Chris Thomas                                       PUBLIC        7/3/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1136
EPA-HQ-            1 Comment submitted by Marlene Bicardi                                    PUBLIC        7/3/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1137
EPA-HQ-            1 Comment submitted by Shery L. Gerety                                    PUBLIC        7/3/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1138
EPA-HQ-            1 Comment submitted by Richard Johnson                                    PUBLIC        7/3/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1139
EPA-HQ-            1 Comment submitted by Susan Felshin                                      PUBLIC        7/3/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1140
EPA-HQ-            1 Comment submitted by Tim Guinee                                         PUBLIC        7/3/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1141
EPA-HQ-            1 Comment submitted by Irene Alexakos                                     PUBLIC        7/3/2023
OAR-2019-                                                                                    SUBMISSIONS
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EPA-HQ-            1 Comment submitted by Nancy Ariewitz                                     PUBLIC        7/3/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1143
EPA-HQ-            1 Comment submitted by Dawn R. Casper                                     PUBLIC        7/3/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1144
EPA-HQ-            1 Comment submitted by Linda Thompson                                     PUBLIC        7/3/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1145
EPA-HQ-            1 Comment submitted by Catherine Kappel                                   PUBLIC        7/3/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1146
EPA-HQ-            1 Comment submitted by Darrell Judd                                       PUBLIC        7/3/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1147
EPA-HQ-            1 Comment submitted by Jon Quinzani                                       PUBLIC        7/3/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1148
EPA-HQ-            1 Comment submitted by Justin Moss                                        PUBLIC        7/3/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1149
EPA-HQ-            1 Comment submitted by Cynthia Morton                                     PUBLIC        7/3/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1150
EPA-HQ-            1 Comment submitted by Shauna Junco                                       PUBLIC        7/3/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1151
EPA-HQ-            1 Comment submitted by Diane Glorvigen                                    PUBLIC        7/3/2023
OAR-2019-                                                                                    SUBMISSIONS
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EPA-HQ-            1 Comment submitted by Christine Vandover                                 PUBLIC        7/3/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1153
EPA-HQ-            1 Comment submitted by Steve Ditore                                       PUBLIC        7/3/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1154
EPA-HQ-            1 Comment submitted by Whitney Richardson                                 PUBLIC        7/3/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1155
EPA-HQ-            1 Comment submitted by Janet Smarr                                        PUBLIC        7/3/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1156
EPA-HQ-            1 Comment submitted by Chris deGruy Kennedy                               PUBLIC        7/3/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1157
EPA-HQ-            1 Comment submitted by Center for Truth in Science                        PUBLIC        7/3/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1158
EPA-HQ-            1 Comment submitted by Dan Wells                                          PUBLIC        7/3/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1159
EPA-HQ-            1 Comment submitted by T. Pierce                                          PUBLIC        7/3/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1160
EPA-HQ-            1 Comment submitted by Carole Shelton                                     PUBLIC        7/3/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1161
EPA-HQ-            1 Comment submitted by Pat Hyde                                           PUBLIC        7/3/2023
OAR-2019-                                                                                    SUBMISSIONS
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EPA-HQ-            1 Comment submitted by Chris Thomas                                       PUBLIC        7/3/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1163
EPA-HQ-            1 Comment submitted by Emily Herbert                                      PUBLIC        7/3/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1164
EPA-HQ-            1 Comment submitted by Laura Gil                                          PUBLIC        7/3/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1165
EPA-HQ-            1 Comment submitted by Doreen Chen Allen                                  PUBLIC        7/3/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1166
EPA-HQ-            1 Comment submitted by John Marotta                                       PUBLIC        7/3/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1167
EPA-HQ-            1 Comment submitted by Jeff Johnson                                       PUBLIC        7/3/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1168
EPA-HQ-            1 Comment submitted by Sue Stoudemire                                     PUBLIC        7/3/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1169
EPA-HQ-            1 Comment submitted y Fred R. Davaid                                      PUBLIC        7/3/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1170
EPA-HQ-            1 Comment submitted by Julie Carll                                        PUBLIC        7/3/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1171
EPA-HQ-            1 Comment submitted by Nancy Hansen                                       PUBLIC        7/3/2023
OAR-2019-                                                                                    SUBMISSIONS
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EPA-HQ-            1 Comment submitted by Nancy Hansen                                       PUBLIC         7/3/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1173
EPA-HQ-            1 Comment submitted by Jean Marie Naples                                  PUBLIC         7/3/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1174
EPA-HQ-            1 Comment submitted by Sierra Club Lone Star Chapter                      PUBLIC        6/27/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1175
EPA-HQ-            2 Comment submitted by Nikira Labs Inc.                                   PUBLIC         7/5/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1176
EPA-HQ-            2 Comment submitted by Clint Thompson                                     PUBLIC        6/27/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1177
EPA-HQ-            2 Comment submitted by Medical Device Manufacturers Association (MDMA)    PUBLIC        6/26/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1178
EPA-HQ-            2 Comment submitted by Denver Metro Chamber of Commerce (DMCC)            PUBLIC        6/28/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1179
EPA-HQ-            2 Comment submitted by City of Laredo Health Department, Texas            PUBLIC        6/27/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1180
EPA-HQ-            2 Comment submitted by LESNI A/S                                          PUBLIC        6/26/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1181
EPA-HQ-               Comment submitted by Lauren Grodnicki                                  PUBLIC        5/24/2023
OAR-2019-                                                                                    SUBMISSIONS
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EPA-HQ-               Comment submitted by Paul Meyers                                       PUBLIC        5/25/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1183
EPA-HQ-               Comment submitted by Patrick Conn                                      PUBLIC        5/25/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1184
EPA-HQ-               Comment submitted by Fred Davis                                        PUBLIC        5/25/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1185
EPA-HQ-               Comment submitted by Wallace Schultz                                   PUBLIC        5/25/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1186
EPA-HQ-               Comment submitted by Joe Frleta                                        PUBLIC        5/25/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1187
EPA-HQ-               Comment submitted by Peter Scheirer                                    PUBLIC        5/25/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1188
EPA-HQ-               Comment submitted by Carolynn Kohout                                   PUBLIC        5/25/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1189
EPA-HQ-               Comment submitted by Dawn Morse                                        PUBLIC        5/25/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1190
EPA-HQ-               Comment submitted by Annie Breckenfeld                                 PUBLIC        5/25/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1191
EPA-HQ-               Comment submitted by Nancy Campbell                                    PUBLIC        5/25/2023
OAR-2019-                                                                                    SUBMISSIONS
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EPA-HQ-               Comment submitted by S. F. Brown                                       PUBLIC        5/25/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1193
EPA-HQ-               Comment submitted by Kelly Doolittle                                   PUBLIC        5/25/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1194
EPA-HQ-               Comment submitted by S H. (no surname provided)                        PUBLIC        5/25/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1195
EPA-HQ-               Comment submitted by Kate Considine                                    PUBLIC        5/25/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1196
EPA-HQ-               Comment submitted by Darcy Johnson                                     PUBLIC        5/25/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1197
EPA-HQ-               Comment submitted by Laura R. Goldstein                                PUBLIC        5/25/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1198
EPA-HQ-               Comment submitted by Juli Kring                                        PUBLIC        5/25/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1199
EPA-HQ-               Comment submitted by Paula Holmes                                      PUBLIC        5/25/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1200
EPA-HQ-               Comment submitted by Jill Seiden                                       PUBLIC        5/25/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1201
EPA-HQ-               Comment submitted by Rise Siegel                                       PUBLIC        5/25/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1202


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EPA-HQ-               Comment submitted by Phyllis Lau                                       PUBLIC        5/25/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1203
EPA-HQ-               Comment submitted by Dan and Janet Blair                               PUBLIC        5/25/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1204
EPA-HQ-               Comment submitted by Ken Kurtz                                         PUBLIC        5/25/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1205
EPA-HQ-            1 Comment submitted by Andrea P. Thompson                                 PUBLIC        5/16/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1206
EPA-HQ-            1 Comment submitted by Brian Campbell                                     PUBLIC        5/16/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1207
EPA-HQ-            1 Comment submitted by Michael Ward                                       PUBLIC        5/16/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1208
EPA-HQ-            1 Comment submitted by Jon Sheehan                                        PUBLIC        5/16/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1209
EPA-HQ-            1 Comment submitted by Joan Maiers                                        PUBLIC        5/16/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1210
EPA-HQ-            1 Comment submitted by Barry Fass-Holmes                                  PUBLIC        5/16/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1211
EPA-HQ-            1 Comment submitted by Rebecca Richardson                                 PUBLIC        5/16/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1212


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EPA-HQ-               Mass Comment Campaign sponsoring organization unknown. Sample          PUBLIC        5/15/2023
OAR-2019-             attached (web)                                                         SUBMISSIONS
0178-1213
EPA-HQ-               Mass Comment Campaign sponsoring organization unknown. Sample          PUBLIC         6/5/2023
OAR-2019-             attached (web)                                                         SUBMISSIONS
0178-1214
EPA-HQ-               Mass Comment Campaign sponsoring organization unknown. Sample          PUBLIC        6/20/2023
OAR-2019-             attached (web)                                                         SUBMISSIONS
0178-1215
EPA-HQ-            1 Mass Comment Campaign sponsoring organization unknown. Sample           PUBLIC        6/21/2023
OAR-2019-            attached (web)                                                          SUBMISSIONS
0178-1216
EPA-HQ-            1 Mass Comment Campaign sponsoring organization unknown. Sample           PUBLIC        6/17/2023
OAR-2019-            attached (web)                                                          SUBMISSIONS
0178-1217
EPA-HQ-               Comment submitted by Jacob Pendleton                                   PUBLIC         6/6/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1218
EPA-HQ-               Anonymous public comment                                               PUBLIC         6/7/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1219
EPA-HQ-               Comment submitted by Mary Ames                                         PUBLIC        5/25/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1220
EPA-HQ-               Comment submitted by Pilar Barranco                                    PUBLIC        5/25/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1221
EPA-HQ-               Comment submitted by Brian Brady                                       PUBLIC        5/25/2023
OAR-2019-                                                                                    SUBMISSIONS
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EPA-HQ-               Comment submitted by Barry Fass-Holmes                                 PUBLIC        5/25/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1223
EPA-HQ-               Comment submitted by Elizabeth Edinger                                 PUBLIC        5/25/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1224
EPA-HQ-               Comment submitted by Bradley Smith                                     PUBLIC        5/25/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1225
EPA-HQ-               Comment submitted by Steven Chen                                       PUBLIC        5/25/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1226
EPA-HQ-               Comment submitted by Sisan Bryan                                       PUBLIC        5/25/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1227
EPA-HQ-               Comment submitted by Virginia Lee                                      PUBLIC        5/25/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1228
EPA-HQ-               Comment submitted by Carlo Provanzano                                  PUBLIC        5/25/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1229
EPA-HQ-               Comment submitted by Sheila Tahir                                      PUBLIC        5/25/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1230
EPA-HQ-               Comment submitted by Patricia Guarrera                                 PUBLIC        5/25/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1231
EPA-HQ-               Comment submitted by Mary D. Moderacki                                 PUBLIC        5/25/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1232


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EPA-HQ-               Anonymous public comment                                               PUBLIC        5/25/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1233
EPA-HQ-               Comment submitted by Copley Smoak                                      PUBLIC        5/25/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1234
EPA-HQ-               Comment submitted by James Roach                                       PUBLIC        5/25/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1235
EPA-HQ-               Comment submitted by Lesly Van Dame                                    PUBLIC        5/25/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1236
EPA-HQ-               Comment submitted by Mara Duncan                                       PUBLIC        5/25/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1237
EPA-HQ-               Comment submitted by Tony Mauro                                        PUBLIC        5/25/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1238
EPA-HQ-               Comment submitted by Kait Hatzidakis                                   PUBLIC        5/25/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1239
EPA-HQ-               Comment submitted by Ruth Shanen                                       PUBLIC        5/25/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1240
EPA-HQ-               Comment submitted by Catarina Miranda                                  PUBLIC         6/6/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1241
EPA-HQ-               Comment submitted by Sean Callihan                                     PUBLIC         6/6/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1242


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EPA-HQ-               Comment submitted by Perry Conner                                      PUBLIC        6/6/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1243
EPA-HQ-               Comment submitted by Isabella Willms-Jones                             PUBLIC        6/6/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1244
EPA-HQ-               Comment submitted by Samuel Shaffery                                   PUBLIC        6/6/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1245
EPA-HQ-               Comment submitted by Magdalen Powers                                   PUBLIC        6/6/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1246
EPA-HQ-               Comment submitted by Zachary Rymniak                                   PUBLIC        6/6/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1247
EPA-HQ-               Comment submitted by Jacob Marrer                                      PUBLIC        6/6/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1248
EPA-HQ-               Comment submitted by Jarrod Swann                                      PUBLIC        6/6/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1249
EPA-HQ-               Comment submitted by Abby L.                                           PUBLIC        6/6/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1250
EPA-HQ-               Comment submitted by Gavin Scouten                                     PUBLIC        6/6/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1251
EPA-HQ-               Comment submitted by Andrew Cristi                                     PUBLIC        6/6/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1252


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EPA-HQ-               Comment submitted by Crystal Chavez                                    PUBLIC        6/6/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1253
EPA-HQ-               Comment submitted by Christian Anderson                                PUBLIC        6/6/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1254
EPA-HQ-               Anonymous public comment                                               PUBLIC        6/6/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1255
EPA-HQ-               Comment submitted by Donly Chorn                                       PUBLIC        6/6/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1256
EPA-HQ-               Comment submitted by Nick Garcia                                       PUBLIC        6/6/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1257
EPA-HQ-               Anonymous public comment                                               PUBLIC        6/6/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1258
EPA-HQ-               Anonymous public comment                                               PUBLIC        6/6/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1259
EPA-HQ-               Comment submitted by Susan Zingle                                      PUBLIC        6/6/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1260
EPA-HQ-               Comment submitted by Ian Hunt                                          PUBLIC        6/6/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1261
EPA-HQ-               Anonymous public comment                                               PUBLIC        6/6/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1262


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EPA-HQ-               Comment submitted by Steve Cruz                                        PUBLIC        6/6/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1263
EPA-HQ-               Comment submitted by Forrest Thorne                                    PUBLIC        6/6/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1264
EPA-HQ-               Comment submitted by Marie Bouffard                                    PUBLIC        6/6/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1265
EPA-HQ-               Anonymous public comment                                               PUBLIC        6/7/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1266
EPA-HQ-               Comment submitted by Caitlin Allen                                     PUBLIC        6/7/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1267
EPA-HQ-               Comment submitted by William Brister                                   PUBLIC        6/7/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1268
EPA-HQ-               Anonymous public comment                                               PUBLIC        6/7/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1269
EPA-HQ-               Anonymous public comment                                               PUBLIC        6/7/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1270
EPA-HQ-               Comment submitted by Stephanie Hahn-Wagner                             PUBLIC        6/7/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1271
EPA-HQ-               Comment submitted by Logan Macias                                      PUBLIC        6/7/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1272


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EPA-HQ-            1 Comment submitted by Mary-Beth Wagner                                   PUBLIC        6/27/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1273
EPA-HQ-            1 Comment submitted by Vicken Totten                                      PUBLIC        6/27/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1274
EPA-HQ-            1 Comment submitted by Amanda Lockrem                                     PUBLIC        6/27/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1275
EPA-HQ-            1 Comment submitted by Karen Long MacLeod                                 PUBLIC        6/27/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1276
EPA-HQ-            1 Comment submitted by Jeanne Hart                                        PUBLIC        6/26/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1277
EPA-HQ-            1 Comment submitted by Joanne Lorenz                                      PUBLIC        6/26/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1278
EPA-HQ-            1 Comment submitted by Eric Goss                                          PUBLIC        6/26/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1279
EPA-HQ-            1 Comment submitted by Jennifer Harrison                                  PUBLIC        6/26/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1280
EPA-HQ-            1 Comment submitted by Lynn Johnson                                       PUBLIC        6/26/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1281
EPA-HQ-            1 Comment submitted by Robert Macek                                       PUBLIC        6/26/2023
OAR-2019-                                                                                    SUBMISSIONS
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EPA-HQ-            1 Comment submitted by Molly Matheson                                     PUBLIC        6/26/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1283
EPA-HQ-            1 Comment submitted by Kyra deGruy Kennedy                                PUBLIC        6/26/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1284
EPA-HQ-            1 Comment submitted by Cheryl Gillikin                                    PUBLIC        6/26/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1285
EPA-HQ-            1 Comment submitted by Peter Hooper                                       PUBLIC        6/26/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1286
EPA-HQ-            1 Comment submitted by Emma Schurman                                      PUBLIC        6/26/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1287
EPA-HQ-            1 Comment submitted by Julia Holsapple                                    PUBLIC        6/26/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1288
EPA-HQ-            1 Comment submitted by Beth Kreydatus                                     PUBLIC        6/26/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1289
EPA-HQ-            1 Comment submitted by Adam Charney                                       PUBLIC        6/26/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1290
EPA-HQ-            1 Comment submitted by Lynn Buffington                                    PUBLIC        6/26/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1291
EPA-HQ-            1 Comment submitted by Michael Nylan                                      PUBLIC        6/26/2023
OAR-2019-                                                                                    SUBMISSIONS
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EPA-HQ-            1 Comment submitted by Laurel Albrecht                                    PUBLIC        6/26/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1293
EPA-HQ-            1 Comment submitted by David Henry                                        PUBLIC        6/26/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1294
EPA-HQ-            1 Comment submitted by Ethan Gaddy                                        PUBLIC        6/26/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1295
EPA-HQ-            1 Comment submitted by Marvin Higgins                                     PUBLIC        5/16/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1296
EPA-HQ-            1 Comment submitted by Gail Barton                                        PUBLIC        5/16/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1297
EPA-HQ-            1 Comment submitted by Margaret Dowdy                                     PUBLIC        5/16/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1298
EPA-HQ-            1 Comment submitted by Ana Lois-Borzi                                     PUBLIC        5/16/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1299
EPA-HQ-            1 Comment submitted by Andrew Ashburn                                     PUBLIC        5/16/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1300
EPA-HQ-            1 Comment submitted by Paul Meyers                                        PUBLIC        5/16/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1301
EPA-HQ-            1 Comment submitted by Du Ng                                              PUBLIC        5/16/2023
OAR-2019-                                                                                    SUBMISSIONS
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EPA-HQ-            1 Comment submitted by Christine Johnson                                  PUBLIC        5/16/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1303
EPA-HQ-            1 Comment submitted by Sue Stoudemire                                     PUBLIC        5/16/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1304
EPA-HQ-            1 Comment submitted by M S Dillon III                                     PUBLIC        5/16/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1305
EPA-HQ-            1 Comment submitted by Janice Gintzler                                    PUBLIC        5/16/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1306
EPA-HQ-            1 Comment submitted by Kimberly Cushman                                   PUBLIC        5/16/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1307
EPA-HQ-            1 Comment submitted by Sophia Vassilakidis                                PUBLIC        5/16/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1308
EPA-HQ-            1 Comment submitted by Susan ORourke                                      PUBLIC        5/16/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1309
EPA-HQ-            1 Comment submitted by Janice Schuch                                      PUBLIC        5/16/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1310
EPA-HQ-            1 Comment submitted by Andrea Baer                                        PUBLIC        5/16/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1311
EPA-HQ-            1 Comment submitted by Tracy Heart                                        PUBLIC        5/16/2023
OAR-2019-                                                                                    SUBMISSIONS
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EPA-HQ-            1 Comment submitted by Deirdre Visser                                     PUBLIC        5/16/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1313
EPA-HQ-            1 Comment submitted by Tom Steinmetz                                      PUBLIC        5/16/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1314
EPA-HQ-            1 Comment submitted by Annie Capestany                                    PUBLIC        5/16/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1315
EPA-HQ-            1 Comment submitted by R Michael                                          PUBLIC        5/16/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1316
EPA-HQ-            1 Comment submitted by Sarah Clauser                                      PUBLIC        5/16/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1317
EPA-HQ-            1 Comment submitted by Doug Walter                                        PUBLIC        5/16/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1318
EPA-HQ-            1 Comment submitted by Seth Roseman                                       PUBLIC        5/16/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1319
EPA-HQ-            1 Comment submitted by Alex Tucker                                        PUBLIC        5/16/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1320
EPA-HQ-            1 Comment submitted by Linda Kade                                         PUBLIC        5/16/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1321
EPA-HQ-            1 Comment submitted by Stewart Pravda                                     PUBLIC        5/16/2023
OAR-2019-                                                                                    SUBMISSIONS
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EPA-HQ-            1 Comment submitted by Keith Thompson                                     PUBLIC        5/15/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1323
EPA-HQ-            1 Comment submitted by Gregory Moehl                                      PUBLIC        5/15/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1324
EPA-HQ-            1 Comment submitted by John Mateyko                                       PUBLIC        5/15/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1325
EPA-HQ-            1 Comment submitted by Victoria Mattingly                                 PUBLIC        5/15/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1326
EPA-HQ-            1 Comment submitted by Pat Munsch                                         PUBLIC        5/15/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1327
EPA-HQ-            1 Comment submitted by James Sweeney                                      PUBLIC        5/15/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1328
EPA-HQ-            1 Comment submitted by Mary Keim                                          PUBLIC        5/15/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1329
EPA-HQ-            1 Comment submitted by Crystal Brunelli                                   PUBLIC        5/15/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1330
EPA-HQ-            1 Comment submitted by Sylvie Karlsda                                     PUBLIC        5/15/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1331
EPA-HQ-            1 Comment submitted by Brenda Frey                                        PUBLIC        5/15/2023
OAR-2019-                                                                                    SUBMISSIONS
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EPA-HQ-            1 Comment submitted by Nikki Longaker                                     PUBLIC        5/15/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1333
EPA-HQ-            1 Comment submitted by Fred Davis                                         PUBLIC        5/15/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1334
EPA-HQ-            1 Comment submitted by Barbara Diederichs                                 PUBLIC        5/15/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1335
EPA-HQ-            1 Comment submitted by Dana Toomey                                        PUBLIC        5/15/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1336
EPA-HQ-            1 Comment submitted by Terry Barber                                       PUBLIC        5/15/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1337
EPA-HQ-            1 Comment submitted by Terry Hess                                         PUBLIC        5/15/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1338
EPA-HQ-            1 Comment submitted by Alice Nguyen                                       PUBLIC        5/15/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1339
EPA-HQ-            1 Comment submitted by Chris OMeara Dietrich                              PUBLIC        5/15/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1340
EPA-HQ-            1 Comment submitted by Sue Shimer                                         PUBLIC        5/15/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1341
EPA-HQ-            1 Comment submitted by Susan Kirschner                                    PUBLIC        5/15/2023
OAR-2019-                                                                                    SUBMISSIONS
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EPA-HQ-            1 Comment submitted by Greyson Peltier                                    PUBLIC        5/15/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1343
EPA-HQ-            1 Comment submitted by Steven Levison                                     PUBLIC        5/15/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1344
EPA-HQ-            1 Comment submitted by Susan Harris                                       PUBLIC        5/15/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1345
EPA-HQ-            1 Comment submitted by Diane Etoile Peers                                 PUBLIC        5/15/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1346
EPA-HQ-               Comment submitted by M. Lou Orr                                        PUBLIC        5/25/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1347
EPA-HQ-               Comment submitted by Ric Zarwell                                       PUBLIC        5/25/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1348
EPA-HQ-               Comment submitted by Faith Willcox                                     PUBLIC        5/25/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1349
EPA-HQ-               Comment submitted by Kari Pohl                                         PUBLIC        5/25/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1350
EPA-HQ-               Anonymous public comment                                               PUBLIC        6/25/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1351
EPA-HQ-               Anonymous public comment                                               PUBLIC        6/25/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1352


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EPA-HQ-               Comment submitted by Bella Mueller                                     PUBLIC        6/25/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1353
EPA-HQ-               Comment submitted by Stefanie Hussey                                   PUBLIC        6/25/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1354
EPA-HQ-               Anonymous public comment                                               PUBLIC        6/25/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1355
EPA-HQ-               Comment submitted by Anca Garner                                       PUBLIC        6/26/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1356
EPA-HQ-               Anonymous public comment                                               PUBLIC        6/26/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1357
EPA-HQ-               Anonymous public comment                                               PUBLIC        6/26/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1358
EPA-HQ-               Comment submitted by Vera Kendig                                       PUBLIC        6/26/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1359
EPA-HQ-               Comment submitted by Suzanne Seekins                                   PUBLIC        6/26/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1360
EPA-HQ-               Anonymous public comment                                               PUBLIC        6/26/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1361
EPA-HQ-               Comment submitted by Mary Gibbs                                        PUBLIC        6/26/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1362


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EPA-HQ-               Comment submitted by Molly Rooke                                      PUBLIC        6/26/2023
OAR-2019-                                                                                   SUBMISSIONS
0178-1363
EPA-HQ-               Anonymous public comment                                              PUBLIC        6/26/2023
OAR-2019-                                                                                   SUBMISSIONS
0178-1364
EPA-HQ-            1 Comment submitted by Stephen Miller                                    PUBLIC        6/26/2023
OAR-2019-                                                                                   SUBMISSIONS
0178-1365
EPA-HQ-            1 Comment submitted by Sholey Argani                                     PUBLIC        6/26/2023
OAR-2019-                                                                                   SUBMISSIONS
0178-1366
EPA-HQ-            1 Comment submitted by Robert Stark                                      PUBLIC        6/26/2023
OAR-2019-                                                                                   SUBMISSIONS
0178-1367
EPA-HQ-            1 Comment submitted by Kathleen Carr                                     PUBLIC        6/25/2023
OAR-2019-                                                                                   SUBMISSIONS
0178-1368
EPA-HQ-            1 Comment submitted by Victoria Henderson                                PUBLIC        6/25/2023
OAR-2019-                                                                                   SUBMISSIONS
0178-1369
EPA-HQ-            1 Comment submitted by Paula Pruner                                      PUBLIC        6/25/2023
OAR-2019-                                                                                   SUBMISSIONS
0178-1370
EPA-HQ-            1 Comment submitted by Anam El-Jabali                                    PUBLIC        6/25/2023
OAR-2019-                                                                                   SUBMISSIONS
0178-1371
EPA-HQ-            1 Anonymous public comment                                               PUBLIC        6/25/2023
OAR-2019-                                                                                   SUBMISSIONS
0178-1372


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EPA-HQ-            1 Comment submitted by Teresa Fry                                         PUBLIC        6/25/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1373
EPA-HQ-            1 Comment submitted by Elizabeth Mark                                     PUBLIC        6/24/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1374
EPA-HQ-            1 Comment submitted by William Heinrich                                   PUBLIC        6/24/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1375
EPA-HQ-            1 Comment on EPA-HQ-OAR-2019-0178-0154                                    PUBLIC        5/27/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1376
EPA-HQ-            1 Comment submitted by Emily Hammond                                      PUBLIC         7/3/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1377
EPA-HQ-            1 Comment submitted by John Lucas                                         PUBLIC        5/17/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1378
EPA-HQ-            1 Comment submitted by Bruce Connery                                      PUBLIC        5/16/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1379
EPA-HQ-            1 Comment submitted by Pamela A. Lowry                                    PUBLIC        5/16/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1380
EPA-HQ-            1 Comment submitted by Vasu Murti                                         PUBLIC        5/16/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1381
EPA-HQ-            1 Comment submitted by Wallace Elton                                      PUBLIC        5/17/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1382


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EPA-HQ-               Comment submitted by Bart Everson                                      PUBLIC        4/20/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1383
EPA-HQ-               Comment submitted by Rev. James VanderWeele                            PUBLIC        4/20/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1384
EPA-HQ-               Comment submitted by Erik Assadourian                                  PUBLIC        4/24/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1385
EPA-HQ-               Comment submitted by Olka Forster                                      PUBLIC        4/24/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1386
EPA-HQ-               Comment submitted by Nike Stevens                                      PUBLIC        5/15/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1387
EPA-HQ-               Comment submitted by Richard Solomon                                   PUBLIC        5/15/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1388
EPA-HQ-               Comment submitted by Eric Burr                                         PUBLIC        5/15/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1389
EPA-HQ-               Comment submitted by Russell Weisz                                     PUBLIC        5/15/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1390
EPA-HQ-               Comment submitted by David Pedersen                                    PUBLIC        5/15/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1391
EPA-HQ-               Comment submitted by Caleb Merendino                                   PUBLIC        5/15/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1392


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EPA-HQ-               Comment submitted by Robert Sullivan                                   PUBLIC        5/15/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1393
EPA-HQ-               Comment submitted by Malgorzata Schmidt                                PUBLIC        5/15/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1394
EPA-HQ-               Comment submitted by David S. Blakely                                  PUBLIC        5/15/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1395
EPA-HQ-               Comment submitted by Gail C. Richardson                                PUBLIC        5/15/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1396
EPA-HQ-               Comment submitted by Todd Monson                                       PUBLIC        5/15/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1397
EPA-HQ-               Comment submitted by David Williams                                    PUBLIC        5/16/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1398
EPA-HQ-               Comment submitted by Danielle Barcilon                                 PUBLIC        5/16/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1399
EPA-HQ-               Comment submitted by Francine Dolins                                   PUBLIC        5/16/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1400
EPA-HQ-               Comment submitted by Jim Derzon                                        PUBLIC        5/16/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1401
EPA-HQ-               Comment submitted by Christopher Hamilton                              PUBLIC        5/16/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1402


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EPA-HQ-               Comment submitted by Maureen Lahiff                                    PUBLIC        5/16/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1403
EPA-HQ-               Comment submitted by Laura Hanks                                       PUBLIC        5/17/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1404
EPA-HQ-               Comment submitted by Martin Donohoe                                    PUBLIC        5/18/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1405
EPA-HQ-               Comment submitted by Roxana M.                                         PUBLIC        5/18/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1406
EPA-HQ-               Comment submitted by Ashley Lee                                        PUBLIC        5/19/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1407
EPA-HQ-               Comment submitted by Martin Wipf                                       PUBLIC        5/19/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1408
EPA-HQ-               Comment submitted by Aleyda Espinoza                                   PUBLIC        5/20/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1409
EPA-HQ-               Comment submitted by Patricia Espinoza                                 PUBLIC        5/20/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1410
EPA-HQ-               Comment submitted by Anca Garner                                       PUBLIC        6/26/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1411
EPA-HQ-               Comment submitted by Montessori School of Fort Myers                   PUBLIC        6/26/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1412


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EPA-HQ-               Comment submitted by Rick McMurtry                                     PUBLIC        6/26/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1413
EPA-HQ-               Comment submitted by James Moulds                                      PUBLIC        6/26/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1414
EPA-HQ-               Comment submitted by Rebecca Bornhorst                                 PUBLIC        6/26/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1415
EPA-HQ-               Anonymous public comment                                               PUBLIC        6/26/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1416
EPA-HQ-               Comment submitted by Jessica Atwood                                    PUBLIC        6/26/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1417
EPA-HQ-               Comment submitted by Jennifer Crawford                                 PUBLIC        6/26/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1418
EPA-HQ-               Comment submitted by Robert Fusinato                                   PUBLIC        6/26/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1419
EPA-HQ-               Comment submitted by Sabina Vidal                                      PUBLIC        6/26/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1420
EPA-HQ-               Comment submitted by Steven McDonald                                   PUBLIC        6/26/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1421
EPA-HQ-            1 Comment submitted by Karen Kluttz                                       PUBLIC        6/26/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1422


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EPA-HQ-            1 Comment submitted by James Scisciani                                    PUBLIC        6/26/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1423
EPA-HQ-            1 Comment submitted by Deborah Strauss                                    PUBLIC        6/22/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1424
EPA-HQ-            1 Comment submitted by Felicia Weiner                                     PUBLIC        6/22/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1425
EPA-HQ-            1 Comment submitted by Holly Hakes                                        PUBLIC        6/22/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1426
EPA-HQ-            1 Comment submitted by Joe Tierney, Jr.                                   PUBLIC        6/22/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1427
EPA-HQ-            1 Comment submitted by Joe Sabol                                          PUBLIC        6/21/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1428
EPA-HQ-            1 Comment submitted by Christopher Brummer                                PUBLIC        6/21/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1429
EPA-HQ-            1 Comment submitted by George Odell                                       PUBLIC        6/21/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1430
EPA-HQ-            1 Comment submitted by Pat Hyde                                           PUBLIC        6/21/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1431
EPA-HQ-            1 Comment submitted by Daniel Callahan                                    PUBLIC        6/21/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1432


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EPA-HQ-            1 Comment submitted by Gwyneth Homer                                      PUBLIC        6/21/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1433
EPA-HQ-            1 Comment submitted by Alan Meyer                                         PUBLIC        6/21/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1434
EPA-HQ-            1 Comment submitted by Vonny Eckman                                       PUBLIC        6/21/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1435
EPA-HQ-            1 Comment submitted by Edward and Beatrice Simpson                        PUBLIC        6/21/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1436
EPA-HQ-            1 Comment submitted by Frederick Klein                                    PUBLIC        6/21/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1437
EPA-HQ-            1 Comment submitted by Kris Anderson                                      PUBLIC        6/21/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1438
EPA-HQ-            1 Comment submitted by Kathleen Martinez                                  PUBLIC        6/21/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1439
EPA-HQ-            1 Comment submitted by Stephanie Bey-Cass                                 PUBLIC        6/21/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1440
EPA-HQ-            1 Comment submitted by Pamela Chewning-Bravard                            PUBLIC        6/21/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1441
EPA-HQ-            1 Comment submitted by Kay Hudson                                         PUBLIC        6/21/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1442


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EPA-HQ-            1 Comment submitted by Timothy Brainerd                                   PUBLIC        6/21/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1443
EPA-HQ-            1 Comment submitted by Cynthia Stewart                                    PUBLIC        6/21/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1444
EPA-HQ-            1 Comment submitted by Jana Birch                                         PUBLIC        6/21/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1445
EPA-HQ-            1 Comment submitted by Erika Cunningham                                   PUBLIC        6/21/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1446
EPA-HQ-            1 Comment submitted by Paula Atkinson                                     PUBLIC        6/21/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1447
EPA-HQ-            1 Comment submitted by Charles Towne                                      PUBLIC        6/21/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1448
EPA-HQ-            1 Comment submitted by Alison Laurio                                      PUBLIC        6/21/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1449
EPA-HQ-            1 Comment submitted by Angela Terry                                       PUBLIC        6/18/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1450
EPA-HQ-            1 Comment submitted by Sue Havens                                         PUBLIC        6/16/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1451
EPA-HQ-            1 Comment submitted by Jack Baron                                         PUBLIC        6/15/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1452


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EPA-HQ-            1 Comment submitted by Gary and Reva Colliver                             PUBLIC        6/15/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1453
EPA-HQ-            1 Comment submitted by Rhonda Baron                                       PUBLIC        6/14/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1454
EPA-HQ-            1 Comment submitted by Whitney (no surname provided)                      PUBLIC        6/14/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1455
EPA-HQ-            1 Comment submitted by Jodi Marcheschi                                    PUBLIC        6/14/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1456
EPA-HQ-            1 Comment submitted by Tiffany McEachern                                  PUBLIC        5/26/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1457
EPA-HQ-            1 Comment submitted by McEachern                                          PUBLIC        5/26/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1458
EPA-HQ-            1 Comment submitted by Adrienne Kimbrough                                 PUBLIC        5/23/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1459
EPA-HQ-            1 Comment submitted by Patrena Gill                                       PUBLIC        5/21/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1460
EPA-HQ-            1 Comment submitted by Kouyan Rajabi                                      PUBLIC        5/21/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1461
EPA-HQ-            1 Comment submitted by Sam Inabinet                                       PUBLIC         7/3/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1462


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EPA-HQ-            1 Comment submitted by Steve and Erica Davidson                           PUBLIC        5/18/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1463
EPA-HQ-            1 Comment submitted by Brett Robert                                       PUBLIC        5/18/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1464
EPA-HQ-            1 Comment submitted by Kevin Flynn                                        PUBLIC        5/18/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1465
EPA-HQ-            1 Comment submitted by Kevin Flynn                                        PUBLIC        5/18/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1466
EPA-HQ-            1 Comment submitted by Lillian Mayers                                     PUBLIC        5/17/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1467
EPA-HQ-            1 Comment submitted by Greg Grady                                         PUBLIC        5/15/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1468
EPA-HQ-            1 Comment submitted by Jill Stephenson                                    PUBLIC        5/15/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1469
EPA-HQ-            1 Comment submitted by Elizabeth Turner Wallace                           PUBLIC        5/15/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1470
EPA-HQ-            1 Comment submitted by Judy Schultz                                       PUBLIC        5/15/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1471
EPA-HQ-            1 Comment submitted by Liz Amsden                                         PUBLIC        5/15/2023
OAR-2019-                                                                                    SUBMISSIONS
0178-1472


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EPA-HQ-            1 Comment submitted by Gerald Manning                                               PUBLIC        5/15/2023
OAR-2019-                                                                                              SUBMISSIONS
0178-1473
EPA-HQ-            1 Comment submitted by Erica Ehrhardt                                               PUBLIC        5/15/2023
OAR-2019-                                                                                              SUBMISSIONS
0178-1474
EPA-HQ-            1 Comment submitted by Gail Camhi                                                   PUBLIC        5/15/2023
OAR-2019-                                                                                              SUBMISSIONS
0178-1475
EPA-HQ-            1 Comment submitted by Tyler Arrowsmith                                             PUBLIC        6/18/2023
OAR-2019-                                                                                              SUBMISSIONS
0178-1476
EPA-HQ-            1 Comment submitted by Cindy Castevens                                              PUBLIC        5/15/2023
OAR-2019-                                                                                              SUBMISSIONS
0178-1477
EPA-HQ-            1 Comment submitted by C.A. Dutch Ruppersberger, Member of Congress, U. S.          PUBLIC        6/12/2023
OAR-2019-            House of Representatives                                                          SUBMISSIONS
0178-1480
EPA-HQ-               National Emission Standards for Hazardous Air Pollutants: Ethylene Oxide         RULES          4/5/2024
OAR-2019-             Emissions Standards for Sterilization Facilities Residual Risk and Technology
0178-1482             Review
EPA-HQ-            1 Record of U.S. EPA Public Meeting: Sterilization Services of Virginia, Henrico,   SUPPORTING    2/26/2024
OAR-2019-            VA (September 7, 2023)                                                            & RELATED
0178-1483                                                                                              MATERIALS
EPA-HQ-            1 Record of U.S. EPA Public Meeting: ETO at Elite Spice in Hanover and Jessup       SUPPORTING    2/26/2024
OAR-2019-            Maryland (June 8, 2023)                                                           & RELATED
0178-1484                                                                                              MATERIALS
EPA-HQ-            2 Public Hearing Transcript (May 2 - 4, 2023)                                       SUPPORTING    2/26/2024
OAR-2019-                                                                                              & RELATED
0178-1485                                                                                              MATERIALS


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EPA-HQ-               Letter from Representative Ruppersberger to USEPA Administrator Regan;           SUPPORTING   2/26/2024
OAR-2019-             June 12, 2023                                                                    & RELATED
0178-1486                                                                                              MATERIALS
EPA-HQ-               Ethylene Oxide Continuous Emissions Monitoring Systems A Performance             SUPPORTING   2/26/2024
OAR-2019-             Based Approach (USEPA Presentation)                                              & RELATED
0178-1487                                                                                              MATERIALS
EPA-HQ-               Optically Enhanced "WaveRunIRTM-EXT45" Targeting Ethylene Oxide                  SUPPORTING   2/26/2024
OAR-2019-             (Spectrum Presentation)                                                          & RELATED
0178-1488                                                                                              MATERIALS
EPA-HQ-               Performance Evaluations of Picarro CRDS-Based Ethylene Oxide Monitoring          SUPPORTING   2/26/2024
OAR-2019-             Systems for Workplace and CEMS Applications (Picarro Presentation)               & RELATED
0178-1489                                                                                              MATERIALS
EPA-HQ-               Applying OE-FTIR for Compliance with Ethylene Oxide Emissions Test Methods SUPPORTING         2/26/2024
OAR-2019-             (ThermoFisher Presentation)                                                & RELATED
0178-1490                                                                                        MATERIALS
EPA-HQ-               Voluntary Consensus Standard Results for National Emission Standards for         SUPPORTING   2/26/2024
OAR-2019-             Hazardous Air Pollutants: Ethylene Oxide Emissions Standards for Sterilization   & RELATED
0178-1491             Facilities Residual Risk and Technology Review                                   MATERIALS
EPA-HQ-               Summary of Public Comments and Responses for the Risk and Technology             SUPPORTING   2/27/2024
OAR-2019-             Review for Miscellaneous Organic Chemical Manufacturing. May 2020                & RELATED
0178-1493                                                                                              MATERIALS
EPA-HQ-               Summary of Public Comments and Responses for the Reconsideration of the          SUPPORTING   2/27/2024
OAR-2019-             2020 National Emission Standards for Hazardous Air Pollutants: Miscellaneous     & RELATED
0178-1494             Organic Chemical Manufacturing Residual Risk and Technology Review.              MATERIALS
                      December 2022
EPA-HQ-            1 Evaluation of the Inhalation Carcinogenicity of Ethylene Oxide In Support of      SUPPORTING   2/27/2024
OAR-2019-            Summary Information on the Integrated Risk Information System (IRIS).             & RELATED
0178-1495            USEPA ORD. December 2016                                                          MATERIALS




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EPA-HQ-               Peer Review Handbook - 4th Edition. Science and Technology Policy Council.      SUPPORTING    2/27/2024
OAR-2019-             October 2015                                                                    & RELATED
0178-1496                                                                                             MATERIALS
EPA-HQ-               EPA Response to TCEQ Request Concerning NASEM Review of Ethylene Oxide.         SUPPORTING    2/27/2024
OAR-2019-             May 2022.                                                                       & RELATED
0178-1497                                                                                             MATERIALS
EPA-HQ-               Proposed Ethylene Oxide Carcinogenic Dose-Response Assessment. TCEQ.            SUPPORTING    2/27/2024
OAR-2019-             June 28, 2019.                                                                  & RELATED
0178-1498                                                                                             MATERIALS
EPA-HQ-               Ethylene Oxide Carcinogenic Dose-Response Assessment. TCEQ. May 15,             SUPPORTING    2/27/2024
OAR-2019-             2020.                                                                           & RELATED
0178-1499                                                                                             MATERIALS
EPA-HQ-               Final Report for Letter Peer Review of Ethylene Oxide Carcinogenic Dose-        SUPPORTING    2/27/2024
OAR-2019-             Response Assessment Development Support Document. University of                 & RELATED
0178-1500             Cincinnati. April 30, 2020.                                                     MATERIALS
EPA-HQ-               Science Advisory Board Review of the EPA's Evaluation of the Inhalation         SUPPORTING    2/27/2024
OAR-2019-             Carcinogenicity of Ethylene Oxide (Revised External Review Draft - August       & RELATED
0178-1501             2014). August 7, 2015.                                                          MATERIALS
EPA-HQ-               Request for Correction under the Information Quality Act: 2014 National Air     SUPPORTING    2/27/2024
OAR-2019-             Toxics Assessment (NATA). ACC. September 20, 2018                               & RELATED
0178-1502                                                                                             MATERIALS
EPA-HQ-            1 Response to RFC 18003 EPA's response to the ACC's Request for Correction         SUPPORTING    2/27/2024
OAR-2019-            submitted regarding use of the EtO IRIS URE in EPA's National Air Toxics         & RELATED
0178-1503            Assessment. December 13, 2021.                                                   MATERIALS
EPA-HQ-               Request for Reconsideration of Agency Denial of Information Quality Act         SUPPORTING    2/27/2024
OAR-2019-             Request for Correction of 2014 National Air Toxics Assessment (NATA); RFC       & RELATED
0178-1504             #18003. ACC. March 14, 2022                                                     MATERIALS




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EPA-HQ-               EPA's Response to RFR 18003A U.S. EPA. EPA's Response to American               SUPPORTING    2/27/2024
OAR-2019-             Chemistry Council (ACC)'s "Request for Reconsideration of Agency Denial of      & RELATED
0178-1505             Information Quality Act Request for Correction of 2014 National Air Toxics      MATERIALS
                      Assessment (NATA); RFC #18003." July 22, 2022
EPA-HQ-               EPA's Work to Understand Background Levels of Ethylene Oxide. October           SUPPORTING    2/27/2024
OAR-2019-             2021.                                                                           & RELATED
0178-1506                                                                                             MATERIALS
EPA-HQ-               Review of the Environmental Protection Agency's Draft IRIS Assessment of        SUPPORTING    2/27/2024
OAR-2019-             Formaldehyde (2011). National Research Council.                                 & RELATED
0178-1507                                                                                             MATERIALS
EPA-HQ-               Review of EPA's Integrated Risk Information System (IRIS) Process (2014).       SUPPORTING    2/27/2024
OAR-2019-             National Research Council.                                                      & RELATED
0178-1508                                                                                             MATERIALS
EPA-HQ-               Progress Toward Transforming the Integrated Risk Information System (IRIS)      SUPPORTING    2/27/2024
OAR-2019-             Program: A 2018 Evaluation (2018). National Academies of Sciences,              & RELATED
0178-1509             Engineering, and Medicine.                                                      MATERIALS
EPA-HQ-               Review of U.S. EPA's ORD Staff Handbook for Developing IRIS Assessments:        SUPPORTING    2/27/2024
OAR-2019-             2020 Version (2022). National Academies of Sciences, Engineering, and           & RELATED
0178-1510             Medicine.                                                                       MATERIALS
EPA-HQ-               Site Visit Report for Andersen Scientific facility in Morrisville, NC           SUPPORTING    2/27/2024
OAR-2019-                                                                                             & RELATED
0178-1511                                                                                             MATERIALS
EPA-HQ-               Site Visit Report for STERIS facility in Spartanburg, SC                        SUPPORTING    2/27/2024
OAR-2019-                                                                                             & RELATED
0178-1512                                                                                             MATERIALS
EPA-HQ-            1 Email correspondence regarding meeting between USEPA representatives             SUPPORTING    2/27/2024
OAR-2019-            and EarthJustice.                                                                & RELATED
0178-1513                                                                                             MATERIALS




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EPA-HQ-            2 Tribal Consultation Letter. April 13, 2023.                                       SUPPORTING    2/27/2024
OAR-2019-                                                                                              & RELATED
0178-1514                                                                                              MATERIALS
EPA-HQ-               Reevaluation of Historical Exposures to Ethylene Oxide Among U.S.                SUPPORTING     3/1/2024
OAR-2019-             Sterilization Workers in the National Institute of Occupational Safety and       & RELATED
0178-1516             Health (NIOSH) Study Cohort. Bogen et al. 2019                                   MATERIALS
EPA-HQ-               Guidelines for Carcinogen Risk Assessment. USEPA. 2005                           SUPPORTING     3/1/2024
OAR-2019-                                                                                              & RELATED
0178-1517                                                                                              MATERIALS
EPA-HQ-               Derivation of Endogenous Equivalent Values to Support Risk Assessment and        SUPPORTING     3/1/2024
OAR-2019-             Risk Management Decisions for an Endogenous Carcinogen: Ethylene Oxide.          & RELATED
0178-1518             Kirman and Hays. 2017                                                            MATERIALS
EPA-HQ-               Ethylene Oxide Review: Characterization of Total Exposure Via Endogenous         SUPPORTING     3/1/2024
OAR-2019-             and Exogenous Pathways and their Implications to Risk Assessment and Risk        & RELATED
0178-1519             Management. Kirman et al. 2021                                                   MATERIALS
EPA-HQ-               Ethylene Oxide and Breast Cancer Incidence in a Cohort Study of 7576             SUPPORTING     3/1/2024
OAR-2019-             Women (United States). Steenland et al. 2003                                     & RELATED
0178-1520                                                                                              MATERIALS
EPA-HQ-               Mortality Analyses in a Cohort of 18 235 Ethylene Oxide Exposed Workers:         SUPPORTING     3/1/2024
OAR-2019-             Follow up Extended from 1987 to 1998. Steenland et al. 2004                      & RELATED
0178-1521                                                                                              MATERIALS
EPA-HQ-               ATSDR Toxicological Profile for Ethylene Oxide. CDC. 2022                        SUPPORTING     3/1/2024
OAR-2019-                                                                                              & RELATED
0178-1522                                                                                              MATERIALS
EPA-HQ-               ATSDR Clinician Brief: Ethylene Oxide. CDC. 2022                                 SUPPORTING     3/1/2024
OAR-2019-                                                                                              & RELATED
0178-1523                                                                                              MATERIALS
EPA-HQ-               IARC Monographs on the Evaluation of Carcinogenic Risks to Humans. Volume        SUPPORTING     3/1/2024
OAR-2019-             100F. IARC. 2012                                                                 & RELATED
0178-1524                                                                                              MATERIALS


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EPA-HQ-            6 Government Accountability Office, High-Risk Series: Efforts Made to Achieve       SUPPORTING    3/1/2024
OAR-2019-            Progress Need to Be Maintained and Expanded to Fully Address All Areas,           & RELATED
0178-1525            GAO-23-106203 (Washington, D.C.: April 20, 2023)                                  MATERIALS
EPA-HQ-               Statistical Model for Prediction of Retrospective Exposure to Ethylene Oxide     SUPPORTING    3/1/2024
OAR-2019-             in an Occupational Mortality Study. Hornung et al. 1994                          & RELATED
0178-1526                                                                                              MATERIALS
EPA-HQ-            1 Evaluation of the Inhalation Carcinogenicity of Ethylene Oxide - In Support of    SUPPORTING    3/1/2024
OAR-2019-            Summary Information on the Integrated Risk Information System (IRIS).             & RELATED
0178-1527            USEPA. August 2014                                                                MATERIALS
EPA-HQ-               Science Advisory Board (SAB) Draft Report (January 7, 2015) to Assist Meeting    SUPPORTING    3/1/2024
OAR-2019-             Deliberations                                                                    & RELATED
0178-1528                                                                                              MATERIALS
EPA-HQ-               Science Advisory Board (SAB) Draft Report (April 27, 2015) for SAB Quality       SUPPORTING    3/1/2024
OAR-2019-             Review                                                                           & RELATED
0178-1529                                                                                              MATERIALS
EPA-HQ-               Dose-Response Relationships for N7-(2-Hydroxyethyl)Guanine Induced by            SUPPORTING    3/1/2024
OAR-2019-             Low-Dose [14C]Ethylene Oxide: Evidence for a Novel Mechanism of                  & RELATED
0178-1530             Endogenous Adduct Formation. Marsden et al. 2009                                 MATERIALS
EPA-HQ-               Thresholds in genotoxicity responses. Henderson et al. 2000                      SUPPORTING    3/1/2024
OAR-2019-                                                                                              & RELATED
0178-1531                                                                                              MATERIALS
EPA-HQ-               Mechanistic Influences for Mutation Induction Curves after Exposure to DNA-      SUPPORTING    3/1/2024
OAR-2019-             Reactive Carcinogens. Doak et al. 2007                                           & RELATED
0178-1532                                                                                              MATERIALS
EPA-HQ-               Understanding the Importance of Low-Molecular Weight (Ethylene Oxide-            SUPPORTING    3/1/2024
OAR-2019-             and Propylene Oxide-induced) DNA Adducts and Mutations in Risk                   & RELATED
0178-1533             Assessment: Insights from 15 years of Research and Collaborative Discussions.    MATERIALS
                      Pottenger et al. 2019




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EPA-HQ-               Bacterial Ethylene Synthesis from 2-0x0-4-thiobutyric Acid and from               SUPPORTING    3/1/2024
OAR-2019-             Methionine. Mansouri and Bunch. 1989                                              & RELATED
0178-1534                                                                                               MATERIALS
EPA-HQ-               Unsaturated lipids and intestinal bacteria as sources of endogenous               SUPPORTING    3/1/2024
OAR-2019-             production of ethene and ethylene oxide. Törnqvist et al. 1989                    & RELATED
0178-1535                                                                                               MATERIALS
EPA-HQ-               In vivo hemoglobin dosimetry of malonaldehyde and ethene in mice after            SUPPORTING    3/1/2024
OAR-2019-             induction of lipid peroxidation. Effects of membrane lipid fatty acid             & RELATED
0178-1536             composition. Kautianen et al. 1991                                                MATERIALS
EPA-HQ-               Ethylene, an early marker of systemic inflammation in humans. Paardekooper        SUPPORTING    3/1/2024
OAR-2019-             et al. 2017                                                                       & RELATED
0178-1537                                                                                               MATERIALS
EPA-HQ-               Monitored and Modeled Ambient Air Concentrations of Ethylene Oxide:               SUPPORTING    3/1/2024
OAR-2019-             Contextualizing Health Risk for Potentially Exposed Populations in Georgia.       & RELATED
0178-1538             Lewis et al. 2022                                                                 MATERIALS
EPA-HQ-               Ethylene Oxide Exposure in U.S. Populations Residing Near Sterilization and       SUPPORTING    3/1/2024
OAR-2019-             Other Industrial Facilities: Context Based on Endogenous and Total Equivalent     & RELATED
0178-1539             Concentration Exposures. Sheehan et al. 2021                                      MATERIALS
EPA-HQ-               Ethylene oxide and risk of lympho-hematopoietic cancer and breast cancer: a       SUPPORTING    3/1/2024
OAR-2019-             systematic literature review and meta-analysis. Marsh et al. 2019                 & RELATED
0178-1540                                                                                               MATERIALS
EPA-HQ-               The role of endogenous versus exogenous sources in the exposome of                SUPPORTING    3/1/2024
OAR-2019-             putative genotoxins and consequences for risk assessment. Rietjens et al.         & RELATED
0178-1541             2022                                                                              MATERIALS
EPA-HQ-               Attenuation of exposure-response curves in occupational cohort studies at         SUPPORTING    3/1/2024
OAR-2019-             high exposure levels. Stayner et al. 2003.                                        & RELATED
0178-1542                                                                                               MATERIALS
EPA-HQ-               Cancer Incidence and Mortality in Swedish Sterilant Workers Exposed to            SUPPORTING    3/1/2024
OAR-2019-             Ethylene Oxide: Updated Cohort Study Findings 1972–2006. Mikoczy et al.           & RELATED
0178-1543             2011.                                                                             MATERIALS


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EPA-HQ-               Associations between observed concentrations of ethylene oxide in whole         SUPPORTING    3/1/2024
OAR-2019-             blood and smoking, exposure to environmental tobacco smoke, and cancers         & RELATED
0178-1544             including breast cancer: data for US children, adolescents, and adults. Jain.   MATERIALS
                      2020.
EPA-HQ-               The Healthy Worker Effect in Cancer Incidence Studies. Kirkeleit et al. 2012.   SUPPORTING    3/1/2024
OAR-2019-                                                                                             & RELATED
0178-1545                                                                                             MATERIALS
EPA-HQ-               Ethylene Oxide: Cancer Evidence Integration and Dose–Response                   SUPPORTING    3/1/2024
OAR-2019-             Implications. Vincent et al. 2019.                                              & RELATED
0178-1546                                                                                             MATERIALS
EPA-HQ-               Mortality of workers exposed to ethylene oxide: extended follow up of a         SUPPORTING    3/1/2024
OAR-2019-             British cohort. Coggon et al. 2004.                                             & RELATED
0178-1547                                                                                             MATERIALS
EPA-HQ-               Cancer Incidence in a Group of Workers Potentially Exposed to Ethylene          SUPPORTING    3/1/2024
OAR-2019-             Oxide. Norman et al. 1995.                                                      & RELATED
0178-1548                                                                                             MATERIALS
EPA-HQ-               Is There a Healthy Worker Effect for Cancer Incidence Among Women in            SUPPORTING    3/1/2024
OAR-2019-             Sweden? Gridley et al. 1999.                                                    & RELATED
0178-1549                                                                                             MATERIALS
EPA-HQ-            3 MACT Floor and Beyond the Floor Analysis for Ethylene Oxide Commercial           SUPPORTING    3/1/2024
OAR-2019-            Sterilization – Chamber Exhaust Vents and Room Air Emission Sources -            & RELATED
0178-1551            Promulgation                                                                     MATERIALS
EPA-HQ-               Use of the Upper Prediction Limit for Calculating MACT Floors. January 2024     SUPPORTING    3/1/2024
OAR-2019-                                                                                             & RELATED
0178-1552                                                                                             MATERIALS
EPA-HQ-               Evaluation of In-Chamber EtO Concentration Best Management Practice as a        SUPPORTING    3/1/2024
OAR-2019-             Generally Available Control Technology Commercial Sterilization NESHAP          & RELATED
0178-1553             Review Task Order: 29; Project No.: 0217382.048                                 MATERIALS




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EPA-HQ-               Performance Specification 19 - Performance Specifications and Test               SUPPORTING   3/1/2024
OAR-2019-             Procedures for Ethylene Oxide (EtO) Continuous Monitoring Systems (Final)        & RELATED
0178-1554                                                                                              MATERIALS
EPA-HQ-               Procedure 7 Quality Assurance Requirements for Gaseous Ethylene Oxide            SUPPORTING   3/1/2024
OAR-2019-             (EtO) Continuous Monitoring Systems Used for Compliance Determination            & RELATED
0178-1555             (Final)                                                                          MATERIALS
EPA-HQ-               Redline/Strikeout for final amendments to 40 CFR 63 Subpart O: Ethylene          SUPPORTING   3/1/2024
OAR-2019-             Oxide Emissions Standards for Sterilization Facilities                           & RELATED
0178-1556                                                                                              MATERIALS
EPA-HQ-            1 Regulatory Impact Analysis for the Final National Emission Standards for          SUPPORTING   3/1/2024
OAR-2019-            Hazardous Air Pollutants: Ethylene Oxide Commercial Sterilization and             & RELATED
0178-1557            Fumigation Operations                                                             MATERIALS
EPA-HQ-               Final Regulatory Flexibility Analysis for National Emission Standards for        SUPPORTING   3/1/2024
OAR-2019-             Hazardous Air Pollutants: Ethylene Oxide Emissions Standards for Sterilization   & RELATED
0178-1558             Facilities Residual Risk and Technology Review Final Rule                        MATERIALS
EPA-HQ-               AIHA Emergency Response Planning Guideline Values (ERPGs). Spring 2022.          SUPPORTING   3/1/2024
OAR-2019-                                                                                              & RELATED
0178-1559                                                                                              MATERIALS
EPA-HQ-               USEPA Webpage: Community Engagement on Ethylene Oxide (EtO). Captured            SUPPORTING   3/1/2024
OAR-2019-             March 1, 2024                                                                    & RELATED
0178-1560                                                                                              MATERIALS
EPA-HQ-               Risk and Technology Review (RTR) Risk Assessment Methodologies: For              SUPPORTING   3/1/2024
OAR-2019-             Review by the EPA's Science Advisory Board Case Studies – MACT I Petroleum       & RELATED
0178-1561             Refining Sources Portland Cement Manufacturing                                   MATERIALS
EPA-HQ-               Screening Methodologies to Support Risk and Technology Reviews (RTR): A          SUPPORTING   3/1/2024
OAR-2019-             Case Study Analysis. EPA. 2017                                                   & RELATED
0178-1562                                                                                              MATERIALS
EPA-HQ-               Review of EPA's draft technical report entitled Screening Methodologies to       SUPPORTING   3/1/2024
OAR-2019-             Support Risk and Technology Reviews (RTR): A Case Study Analysis. EPA SAB.       & RELATED
0178-1563             2018                                                                             MATERIALS


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EPA-HQ-               USEPA Webpage: Ethylene Oxide (EtO) Risks and Your Health. Captured               SUPPORTING   3/1/2024
OAR-2019-             March 1, 2024                                                                     & RELATED
0178-1564                                                                                               MATERIALS
EPA-HQ-               Exploring the general equilibrium costs of sector-specific environmental          SUPPORTING   3/1/2024
OAR-2019-             regulations. Marten et al. 2019                                                   & RELATED
0178-1565                                                                                               MATERIALS
EPA-HQ-               SAGE Model Documentation version 2.1.0. 2023                                      SUPPORTING   3/1/2024
OAR-2019-                                                                                               & RELATED
0178-1566                                                                                               MATERIALS
EPA-HQ-               SAB Advice on the Use of Economy-Wide Models in Evaluating the Social             SUPPORTING   3/1/2024
OAR-2019-             Costs, Benefits, and Economic Impacts of Air Regulations. EPA SAB. 2017.          & RELATED
0178-1567                                                                                               MATERIALS
EPA-HQ-               Transmittal of the Science Advisory Board Report titled Technical Review of       SUPPORTING   3/1/2024
OAR-2019-             EPA's Computable General Equilibrium Model, SAGE. EPA SAB. 2020                   & RELATED
0178-1568                                                                                               MATERIALS
EPA-HQ-               Evaluating Economy-wide Effects of Power Sector Regulations Using the SAGE        SUPPORTING   3/1/2024
OAR-2019-             Model (Working Paper). Schreiber et al. 2023                                      & RELATED
0178-1569                                                                                               MATERIALS
EPA-HQ-               2019 AirToxScreen National Cancer Risk by Pollutant                               SUPPORTING   3/1/2024
OAR-2019-                                                                                               & RELATED
0178-1570                                                                                               MATERIALS
EPA-HQ-            1 Cost Memorandum. February 2023.                                                    SUPPORTING   3/1/2024
OAR-2019-                                                                                               & RELATED
0178-1571                                                                                               MATERIALS
EPA-HQ-               Input Modeling File for EtO Commercial Sterilization Facilities Source Category   SUPPORTING   3/1/2024
OAR-2019-                                                                                               & RELATED
0178-1572                                                                                               MATERIALS
EPA-HQ-               Output Risk Modeling File of Impacts for EtO Commercial Sterilization             SUPPORTING   3/1/2024
OAR-2019-             Facilities Source Category                                                        & RELATED
0178-1573                                                                                               MATERIALS


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EPA-HQ-               Workbook of Supporting Calculations for the Final Rule Preamble for the          SUPPORTING    3/1/2024
OAR-2019-             Ethylene Oxide Commercial Sterilization Source Category Risk and Technology      & RELATED
0178-1574             Review                                                                           MATERIALS
EPA-HQ-               Ample Margin of Safety Analysis for Ethylene Oxide Commercial Sterilization -    SUPPORTING    3/1/2024
OAR-2019-             Promulgation Rule Review for the Ethylene Oxide Commercial Sterilization         & RELATED
0178-1575             Source Category                                                                  MATERIALS
EPA-HQ-           10 Residual Risk Assessment for the Commercial Sterilization Facilities Source       SUPPORTING    3/1/2024
OAR-2019-            Category in Support of the 2024 Risk and Technology Review Final Rule             & RELATED
0178-1576                                                                                              MATERIALS
EPA-HQ-               2018 ERPG/WEEL Handbook                                                          SUPPORTING    3/1/2024
OAR-2019-                                                                                              & RELATED
0178-1577                                                                                              MATERIALS
EPA-HQ-               Assessing the Human Health Risks of Trichloroethylene: Key Scientific Issues     SUPPORTING    3/1/2024
OAR-2019-             (2006)                                                                           & RELATED
0178-1578                                                                                              MATERIALS
EPA-HQ-               Assessment of the permissible exposure level to manganese in workers             SUPPORTING    3/1/2024
OAR-2019-             exposed to manganese dioxide dust                                                & RELATED
0178-1579                                                                                              MATERIALS
EPA-HQ-               Comparison of Cancer Slope Factors Using Different Statistical Approaches        SUPPORTING    3/1/2024
OAR-2019-                                                                                              & RELATED
0178-1580                                                                                              MATERIALS
EPA-HQ-               Contribution of Magnetic Resonance Microscopy in the 12-Week                     SUPPORTING    3/1/2024
OAR-2019-             Neurotoxicity Evaluation of Carbonyl Sulfide in Fischer 344 Rats                 & RELATED
0178-1581                                                                                              MATERIALS
EPA-HQ-               Daily consumption of wild fish and game: Exposures of high end recreationists    SUPPORTING    3/1/2024
OAR-2019-                                                                                              & RELATED
0178-1582                                                                                              MATERIALS
EPA-HQ-               IARC Monographs on the Evaluation of Carcinogenic Risks to Humans,               SUPPORTING    3/1/2024
OAR-2019-             Chromium, Nickel, and Welding, Volume 49.                                        & RELATED
0178-1583                                                                                              MATERIALS


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EPA-HQ-               Inhalational Exposure to Carbonyl Sulfide Produces Altered Brainstem           SUPPORTING    3/1/2024
OAR-2019-             Auditory and Somatosensory-Evoked Potentials in Fischer 344N Rats              & RELATED
0178-1584                                                                                            MATERIALS
EPA-HQ-               National-Scale Air Toxics Assessment for 1996.                                 SUPPORTING    3/1/2024
OAR-2019-                                                                                            & RELATED
0178-1585                                                                                            MATERIALS
EPA-HQ-               Neurotoxicity of carbonyl sulfide in F344 rats following inhalation exposure   SUPPORTING    3/1/2024
OAR-2019-             for up to 12 weeks                                                             & RELATED
0178-1586                                                                                            MATERIALS
EPA-HQ-               Repeated Exposure to Acrolein Vapour: Subacute Studies in Hamsters, Rats,      SUPPORTING    3/1/2024
OAR-2019-             and Rabbits                                                                    & RELATED
0178-1587                                                                                            MATERIALS
EPA-HQ-               Respiratory Tract Responses in Male Rats Following Subchronic Acrolein         SUPPORTING    3/1/2024
OAR-2019-             Inhalation                                                                     & RELATED
0178-1588                                                                                            MATERIALS
EPA-HQ-               Science and Judgment in Risk Assessment (1994)                                 SUPPORTING    3/1/2024
OAR-2019-                                                                                            & RELATED
0178-1589                                                                                            MATERIALS
EPA-HQ-               Scientific Committee on Health and Environmental Risks (Scher). Opinion on     SUPPORTING    3/1/2024
OAR-2019-             Risk Assessment Report on NICKEL (CAS-NO.: 7440-02-0, EINECS-NO.: 231-         & RELATED
0178-1590             111-4), NICKEL CARBONATE (CAS-NO.: 3333-67-3, EINECS-NO.: 222-068-2),          MATERIALS
                      NICKEL CHLORIDE (CAS-NO.: 7718-54-9, EINECS-NO.: 231-743-0), NICKEL
                      DINITRATE (CAS-NO.: 13138-45-9, EINECS-NO.: 236-068-5), NICKEL SULPHATE
                      (CAS-NO.: 7786-81-4, EINECS-NO.: 232-104-9)

EPA-HQ-            2 Risk and Technology Review - Analysis of Demographic Factors For                SUPPORTING    3/1/2024
OAR-2019-            Populations Living Near Commercial Ethylene Oxide Sterilization Operations      & RELATED
0178-1591                                                                                            MATERIALS
EPA-HQ-            1 Approach for Applying the Lower Prediction Limit to Limited Datasets            SUPPORTING    3/1/2024
OAR-2019-                                                                                            & RELATED
0178-1592                                                                                            MATERIALS


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EPA-HQ-               Final ICR Draft EtO Compliance Report Template - Initial Compliance Report   SUPPORTING    3/1/2024
OAR-2019-                                                                                          & RELATED
0178-1593                                                                                          MATERIALS
EPA-HQ-               Final ICR Draft EtO Compliance Report Template - Quarterly Compliance        SUPPORTING    3/1/2024
OAR-2019-             Report                                                                       & RELATED
0178-1594                                                                                          MATERIALS
EPA-HQ-               Summary of Public Comments and Responses for Risk and Technology Review      SUPPORTING    3/1/2024
OAR-2019-             for Ethylene Oxide Commercial Sterilization Facilities                       & RELATED
0178-1595                                                                                          MATERIALS




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